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                    EXHIBIT 3
Deposition of Designee of AffinityLifeStyles.Com,
  Inc. d/b/a Real Alkalized Water (Blain Jones)
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                 Condensed Transcript of the
                       Testimony of

                             Blain Jones
                                  Volume I


                         Date: October 20, 2016


      Grecia Echevarria-Hernandez v. Affinitylifestyles.com, Inc.
                 Case No. 2:16-cv-00943-GMN-VCF




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                       1                  UNITED STATES DISTRICT COURT                  1             INDEX
                       2                       DISTRICT OF NEVADA                       2   WITNESS: BLAIN JONES
                       3    GRECIA                       )
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                                            Plaintiff,   )                                  Examination By Ms. Ginapp                     208
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                                       vs.               ) No. 2:16-cv-00943-GMN-VCF    6
                       6                                 )                              7                INDEX TO EXHIBITS
                            AFFINITYLIFESTYLES.COM,      )                              8   Exhibit                             Page
                       7    INC. d/b/a REAL ALKALIZED    )
                            WATER, a Nevada              )                              9     1        Plaintiff's Amended Notice of      8
                       8    corporation; DOES I-X; and )                                              Taking Deposition of
                            ROE BUSINESS ENTITIES I-X, )                               10             Designee(s) of Defendant
                       9    inclusive,                   )                                            Affinitylifestyles.com, Inc.
                                                         )                             11             d/b/a Real Alkalized Water
                      10                    Defendants. )                                             Pursuant to Fed. R. Civ. P.
                            ____________________________)
                      11
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                      3         MAIER GUTIERREZ AYON                                    3             beginning with Bates label
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                     1    (A discussion was held off the record between the court  1     today?
                     2    reporter and counsel, wherein counsel present agreed to  2        A No.
                     3    waive the reporter requirements as set forth under NRCP  3        Q Is there any other reason why you would not be
                     4    Rule 30(b)(4) or FRCP Rule 30(b)(5), as applicable.)     4     able to give me your full, complete, and truthful
                     5                  BLAIN JONES,                               5     answers to my questions today?
                     6    having been first duly sworn to testify to the truth,    6        A No.
                     7    the whole truth and nothing but the truth, was examined  7        Q From time to time, your counsel is going to
                     8    and testified as follows:                                8     put objections onto the record. Unless she
                     9                                                             9     specifically instructs you not to answer, I'm still
                    10                  EXAMINATION                               10     going to expect you to answer the question. Do you
                    11    BY MS. BARRAZA:                                         11     understand that?
                    12       Q Can you please state and spell your last name      12        A Uh-huh.
                    13    for the record?                                         13        Q Okay. You're here today as the designee for
                    14       A Jones, J-O-N-E-S.                                  14     Real Water -- and when I say "Real Water," I'm
                    15       Q Please give me your full name. Sorry about         15     referring to the Defendant in this action -- also known
                    16    that.                                                   16     as Affinitylifestyles.com, Inc., doing business as Real
                    17       A Okay. Blain, B-L-A-I-N, Jones, J-O-N-E-S.          17     Alkalized Water. Do you understand that?
                    18       Q Thank you.                                         18        A Yes.
                    19          Mr. Jones, have you ever had your deposition      19        Q Do you understand that the answers you give me
                    20    taken before?                                           20     today, unless you or I indicate otherwise, are going to
                    21       A No.                                                21     be on behalf of Real Water and they will bind the
                    22       Q I'm going to go through a few things. Your         22     company?
                    23    attorney might have already gone through them with you, 23        A Uh-huh.
                    24    but just very briefly.                                  24        Q Is that a "yes"?
                    25          Do you understand that the oath you just took     25        A Yes.
                                                                       Page 6                                                         Page 8
                     1    is the same oath that you would take as if you were in     1          MS. BARRAZA: This is Exhibit 1.
                     2    a court, meaning you're subject to the penalties of        2               (Exhibit 1 marked)
                     3    perjury?                                                   3   BY MS. BARRAZA:
                     4       A Yes.                                                  4      Q Do you recognize this document?
                     5       Q So all we're asking you to do today is tell           5      A Yes. Uh-huh.
                     6    the truth, not to speculate, just to give your best        6      Q Okay. I've given you Exhibit 1, which is
                     7    testimony based on the recollection of the events in       7   marked as Plaintiff's Amended Notice of Taking
                     8    question. Do you understand that?                          8   Deposition of Designee of Defendant Real Water. Is
                     9       A Yes.                                                  9   that what you understand this document to be?
                    10       Q Okay. Please wait for me to finish each              10      A Yes.
                    11    question before you start answering, and I'm going to     11      Q Okay. When did you first get notice regarding
                    12    try my best to wait for you to completely finish your     12   this deposition for Real Water?
                    13    answer before going on to another question, as we have    13          MS. GINAPP: Are you asking for communications
                    14    a court reporter here and it's very difficult for her     14   with his attorney?
                    15    to write down what we're saying if we're talking other    15          MS. BARRAZA: No.
                    16    each other. Do you --                                     16   BY MS. BARRAZA:
                    17       A Okay.                                                17      Q I'm asking when, approximately which date you
                    18       Q -- understand that?                                  18   first became aware that Real Water was going to be
                    19       A Sounds good.                                         19   deposed in this matter?
                    20       Q Good, there we go.                                   20      A Soon after this was filed.
                    21          Can we agree that if you answer a question,         21      Q Okay. I understand there have been a few
                    22    you understood the question?                              22   notices.
                    23       A Sure.                                                23          I'm going to point you to page 2 of Exhibit 1.
                    24       Q Are you currently on any medications that            24   Do you see that there's a list, which goes on to page
                    25    would affect your ability to give accurate testimony      25   3, of subjects laid out on those pages?

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                                                                        Page 9                                                       Page 11
                     1        A Yep, I do.                                            1   ordering materials, running the production crews,
                     2        Q Have you read and reviewed all 17 of those            2   getting the orders delivered.
                     3     subjects?                                                  3         I then was needed to help in accounting. And
                     4        A Yes.                                                  4   so I took over the accounting for a year and a half,
                     5        Q Are you prepared to testify here today                5   two years. And then ended up finding a replacement for
                     6     regarding all 17 of those subjects?                        6   me for that, and became the vice president of
                     7        A Yes.                                                  7   operations, which in our -- my company is over
                     8        Q Are there any subjects that you feel you are          8   accounting, production and quality control. And I
                     9     not prepared to testify on?                                9   oversaw those areas of the company.
                    10        A No.                                                  10         At that point, I was doing that for a year,
                    11        Q Okay. Have you ever been arrested for any            11   maybe two. And then I moved over to doing sales, and
                    12     crimes involving fraud or dishonesty?                     12   was over our sales and distributors for the company for
                    13        A No.                                                  13   nine months or so. And shortly after that, became more
                    14        Q Where did you go to high school?                     14   involved with the marketing and doing in-store
                    15        A First three years were in Ojai, California, at       15   demonstrations throughout central, and northern
                    16     Nordhoff High School. And my senior year where I          16   California, southern California, Arizona, New Mexico,
                    17     graduated was Boulder City High School.                   17   Colorado, where I actually personally did in-store
                    18        Q What year was that?                                  18   demonstrations, probably over 300 or so of those. I
                    19        A Graduated in 2005.                                   19   also oversaw other product demonstrators that would be
                    20        Q Did you go to college after high school?             20   in stores and traveling and doing those. And then did
                    21        A I did some college at a community college in         21   that for a little over a year.
                    22     Ventura, called Ventura College. And then I also did      22         And then at that point, I moved back over to
                    23     some at College of Southern Nevada.                       23   operations because it was needed at that time, and took
                    24        Q What kind of courses did you take?                   24   over the accounting, production, and quality control
                    25        A Business management, and obviously                   25   aspects of the company again. And did that for -- I
                                                                      Page 10                                                        Page 12
                      1    prerequisites, and that type of thing, too.                1   don't know, nine months to a year.
                      2       Q Okay. Did you graduate from either Ventura            2         And then currently -- and then moved up to my
                      3    College or CSN?                                            3   current position which is the executive vice president
                      4       A No, I never finished my degree.                       4   of operations, which is pretty much over the whole
                      5       Q What year was your last year of attending             5   entire company, but my main focus is still operations.
                      6    college courses?                                           6      Q When did you move into your current position
                      7       A 2009.                                                 7   of executive vice president of operations?
                      8       Q When did you start working for Real Water?            8      A Two years ago, thereabouts.
                      9       A I started working for Affinity Lifestyles when        9      Q Who do you report to in your current position?
                     10    I was 12 or 13 after school.                              10      A Brent Jones.
                     11       Q Okay. Going forward, if you refer to                 11      Q Aside from your history of going to Ventura
                     12    Affinity Lifestyles, you're talking about the Defendant   12   College and CSN, are you involved in any other -- are
                     13    in this action?                                           13   you involved in any professional associations?
                     14       A Correct. Affinitylifestyles.com, Inc. is the         14      A Can you clarify as far as what a professional
                     15    legal name of the company.                                15   association is?
                     16       Q Okay. Briefly explain to me your work history        16      Q Just professional -- are you involved in any
                     17    with Real Water.                                          17   kind of business associations aside from working at
                     18       A Well, when we started going by Real Water, was       18   Real Water?
                     19    a little over eight years ago. I started by working on    19         MS. GINAPP: I'm going to object to form. Go
                     20    the production line as just a single employee on the      20   ahead.
                     21    production line. I then ended up needing to               21         THE WITNESS: Are you asking if I have another
                     22    familiarize myself with the bottling equipment and        22   job? I'm not sure what you're asking.
                     23    being able to run that. Became the lead of the            23   BY MS. BARRAZA:
                     24    production team that would run the line. I then became    24      Q Are you currently involved in any kind of
                     25    the head over the production division, which is           25   groups or associations that are business oriented?

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                      1          MS. GINAPP: Objection. Form. Go ahead.               1      Q Besides any conversations that took place with
                      2          THE WITNESS: I can't think of any. Running           2   your attorney, have you spoken with Aimee Jones
                      3    my own business takes up quite a bit of time.              3   regarding her deposition?
                      4    BY MS. BARRAZA:                                            4      A Just briefly, a couple things.
                      5       Q What did you do, besides any communications           5      Q What did she tell you?
                      6    you had with your attorney, to prepare for your            6      A She felt it was odd asking about her personal
                      7    deposition today?                                          7   relationship with my father, as far as some of the
                      8       A Reviewed certain employment histories;                8   questions in that. And then she also said that it went
                      9    obviously, reviewed the -- what happened with,             9   fine other than that.
                     10    particular with Grecia, and what happened with her        10      Q Same question: Aside from any conversations
                     11    because I wasn't involved with the decision-making        11   that took place with your attorney present, have you
                     12    process at the time she was terminated, and so I had to   12   spoken with Frank Consiglio regarding his deposition?
                     13    review the findings and evidence of why she was           13      A Briefly, yes.
                     14    terminated; and reviewed some of our employment           14      Q What did he tell you?
                     15    agreements and type of legal documentation that we get    15      A Same thing. He said it went fine, minus the
                     16    from our human resources company.                         16   questions about his personal life.
                     17       Q Have you reviewed the Complaint that was filed       17      Q Okay. Did either of them give you any
                     18    for this lawsuit?                                         18   substantive details about what they testified to at
                     19       A Yes.                                                 19   their depositions?
                     20       Q Okay. What's your understanding of what the          20      A No, not particularly.
                     21    allegations are in that Complaint?                        21      Q Okay. When was Real Water formed?
                     22          MS. GINAPP: Objection. Form. Foundation.            22      A Affinitylifestyles.com, Inc., was formed, I
                     23    Go ahead.                                                 23   think, around 2000. Actually, earlier than that, maybe
                     24          THE WITNESS: Religious discrimination, citing       24   1998, if I remember correctly. We filed for "the doing
                     25    a movie, "The Secret."                                    25   business as," fictitious firm name "Real Water" eight
                                                                       Page 14                                                      Page 16
                     1     BY MS. BARRAZA:                                            1   years ago, or something like that.
                     2        Q Have you reviewed the written discovery that          2      Q Briefly describe for me the business model and
                     3     was propounded on Real Water? When I say "written          3   purpose of Real Water.
                     4     discovery," I'm talking about questions that were asked    4         MS. GINAPP: Objection. Form.
                     5     to Real Water in this litigation.                          5         THE WITNESS: Prior to us filing and starting
                     6        A I'm not sure I understand exactly what you're         6   doing business as Real Water, or after?
                     7     referring to.                                              7   BY MS. BARRAZA:
                     8        Q Do you recall any interrogatories or Requests         8      Q Let's go with prior.
                     9     for Admissions or Requests for Production of documents     9      A Prior we were an online internet marketing
                    10     that were propounded on Real Water?                       10   sales company with vitamins, nutrients, weight loss
                    11        A Yeah, I'm familiar with the requests. I'm not        11   products, health products basically. An individual
                    12     extremely familiar with the actual forms, what            12   would go online, place an order. We would take their
                    13     everything was asked, and everything like that. But I     13   order and ship them their various products that they
                    14     am familiar that there was a request for some             14   ordered. We had around 20 -- anywhere between 20 and
                    15     documents.                                                15   30 products at any given time over that period.
                    16        Q In your preparation for this deposition, did         16         We then transitioned to being more of a --
                    17     you review any of Real Water's responses to those         17   well, basically we would buy those products from
                    18     requests?                                                 18   manufacturers and then, you know, resale them. When we
                    19        A I reviewed what was submitted --                     19   started doing Real Water, we transitioned to being a
                    20        Q Did you review --                                    20   manufacturer where we actually manufactured our own
                    21        A -- what documents were submitted.                    21   products, and got rid of the business of the other
                    22        Q Okay. Have you reviewed any of the deposition        22   vitamins sales and health product sales, and switched
                    23     transcripts from Aimee Jones' deposition or from Frank    23   our business model completely over to being a
                    24     Consiglio's deposition?                                   24   manufacturer and selling to main-line distributors
                    25        A No.                                                  25   through conventional channels.

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                                                                     Page 17                                                       Page 19
                      1       Q Aside from Brent Jones, who else was involved        1   position, vice president of operations. And then we
                      2    in forming the company originally?                        2   have the executive vice president of operations. I
                      3       A There was a few people that were around in the       3   hold the executive vice president of operations
                      4    beginning. However, I don't know of many of them since    4   position. Frank Consiglio holds the vice president of
                      5    it was such a long time ago. I do know of one             5   operations currently.
                      6    gentleman -- his name is Steve Wright -- that was         6   BY MS. BARRAZA:
                      7    around in the beginning. That was nearly 20 years ago     7      Q Okay. In 2015, were there any other just
                      8    now.                                                      8   vice presidents of operations?
                      9       Q How many employees did Real Water have when it       9      A I believe Aimee held that position at that
                     10    first -- back when it first started out?                 10   time.
                     11           MS. GINAPP: Objection. Form. Are you              11      Q Anybody else?
                     12    talking about when it was Affinity Lifestyles?           12      A Not that I recall.
                     13           MS. BARRAZA: Yes, I'm talking about when it       13      Q Okay. When did you first meet Grecia?
                     14    was Affinity Lifestyles.                                 14      A Probably when she was brought around for her
                     15           THE WITNESS: I'm not sure --                      15   orientation checklist. The company, when she --
                     16           MS. GINAPP: I'm going to object as beyond the     16   shortly around when she first started working, I was
                     17    scope of the deposition notice. But if you know, you     17   introduced to her, said "hello." And that was pretty
                     18    can answer.                                              18   much the extent of the conversation. Part of our
                     19           THE WITNESS: I don't know. That's over --         19   procedure when we hire somebody is, we want them to be
                     20    about 20 years ago.                                      20   introduced to as many people as possible and make them
                     21    BY MS. BARRAZA:                                          21   feel welcome.
                     22       Q Okay. What about in the year 2015, how many         22      Q Are you aware of who interviewed Grecia for
                     23    employees did Real Water have?                           23   her position at Affinity Lifestyles?
                     24       A 40s, in that range.                                 24      A I believe it was somewhat of a combination
                     25       Q Were all the employees located in Las Vegas,        25   between Jeramy Edgel mostly and Bonnie Mercado.
                                                                     Page 18                                                       Page 20
                     1     Nevada, or elsewhere?                                     1      Q Are you familiar with what Grecia's job
                     2        A Employees of Affinity Lifestyles, yes, all of        2   position was?
                     3     them were located in Las Vegas, Nevada, during that       3      A Very familiar.
                     4     time period.                                              4      Q What was her position?
                     5        Q Time period being 2015; correct?                     5      A She was one of our in-store product
                     6        A Correct.                                             6   demonstrators. She would be asked to travel to stores
                     7        Q In 2015, how many locations did Real Water           7   that would sell our product, or that do sell our
                     8     have?                                                     8   product, and basically demonstrate the product to
                     9        A Business locations?                                  9   customers and also the staff that worked at that
                    10        Q Yes.                                                10   individual retail store educating them on the product,
                    11        A Affinity Lifestyles had the one location in         11   having them try it, taste it, and, in essence, you
                    12     Las Vegas, Nevada, on Desert Inn Road.                   12   know, trying to get them to buy the product, and
                    13        Q Since then, has it acquired any other               13   understand why it's a good product.
                    14     locations?                                               14      Q Is a store product demonstrator also known as
                    15        A No.                                                 15   a brand ambassador?
                    16        Q So am I correct that back in 2015, you were         16      A Yes, similar title.
                    17     employed in what is your current position, being the     17      Q Do you know who Grecia's supervisor was while
                    18     vice president of operations?                            18   she was working at Affinity Lifestyles?
                    19        A Correct.                                            19      A Bonnie Mercado.
                    20           MS. GINAPP: Objection. Form. You're the            20      Q What was Bonnie Mercado's job title at that
                    21     executive vice president; right?                         21   time?
                    22           THE WITNESS: Yes.                                  22      A Head brand ambassador, something in that
                    23           MS. GINAPP: Okay. I just want to make a            23   regard. She would also do in-store demonstrations, but
                    24     distinction, because I think there is one; right?        24   she oversaw Grecia as well, made her schedule, ensured
                    25           THE WITNESS: Yeah, there is. We have one           25   that she was doing her job adequately.

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                                                                      Page 21                                                       Page 23
                      1      Q When did Bonnie Mercado start working at              1      A Coordinating with her with different store
                      2    Affinity Lifestyles?                                      2   chains or retail locations that we were wanting to
                      3      A I believe she's been with us for almost four          3   focus on to grow sales in; and at times opening up
                      4    years now.                                                4   different areas of, say, southern California, or some
                      5      Q Do you know if Bonnie Mercado started out as a        5   other area of distribution; and making sure that the
                      6    brand ambassador?                                         6   product demonstrations were actually resulting in
                      7      A I do, and she did.                                    7   increase in sales.
                      8      Q Do you know approximately when Bonnie Mercado         8      Q You mentioned that you first met Grecia around
                      9    moved into the position of the head brand ambassador?     9   the time she was doing her orientation; is that
                     10      A Two or three years ago, shortly -- or somewhat       10   correct?
                     11    shortly after she had started. She does an excellent     11      A Yes.
                     12    job at being a brand ambassador and demonstrating in     12      Q After that, how much contact did you have with
                     13    the stores. She's great with customers, very friendly,   13   Grecia in the workplace?
                     14    approachable, and she does a great job.                  14      A Nothing.
                     15      Q In 2015, how many brand ambassadors were             15      Q You never saw her again after that day?
                     16    employed at Affinity Lifestyles?                         16      A I might have seen her once, maybe twice, over
                     17      A Over the whole time period of the year?              17   the time period that she was there. I don't think I
                     18      Q Yes.                                                 18   ever said anything to her, or we ever had a
                     19      A On and off, there were, I think, about three         19   conversation more than "hello."
                     20    or four. Not all at the same time, but throughout that   20      Q Have you had any contact or attempted to have
                     21    whole year-long time period.                             21   any contact with Grecia following her termination from
                     22      Q Aside from Grecia -- you understand when I say       22   Real Water?
                     23    "Grecia," I'm referring to the Plaintiff in this         23      A No.
                     24    action?                                                  24         MS. BARRAZA: Let's mark this as Exhibit 2.
                     25      A Yeah.                                                25               (Exhibit 2 marked)
                                                                      Page 22                                                       Page 24
                     1        Q Okay. Aside from Grecia, can you give me the         1   BY MS. BARRAZA:
                     2     names of the other brand ambassadors from 2015?           2      Q I just handed you what's been marked as
                     3        A I don't recall their names right now. I would        3   Exhibit 2. I'll give you a second to look through it.
                     4     have to look up our employment history to know            4   Let me know when you're done.
                     5     specifically.                                             5      A Okay.
                     6        Q Do you know if any of the brand ambassadors          6      Q Okay. It looks like to me in this packet,
                     7     that were working in 2015 are still currently working     7   there are two marked employment agreements.
                     8     for Real Water?                                           8      A Uh-huh.
                     9        A Bonnie.                                              9      Q Is that your understanding?
                    10        Q Anybody else?                                       10      A Yes.
                    11        A No.                                                 11      Q Are these employment agreements that Grecia
                    12        Q Were all three or four of the brand                 12   signed and reviewed?
                    13     ambassadors working in 2015 being supervised by Bonnie   13      A Seems to be by her initials and signature at
                    14     Mercado?                                                 14   each location.
                    15        A Yes. She held the position of lead brand            15      Q I'm going to start with the document marked as
                    16     ambassador, the manager of the brand ambassadors.        16   the employment agreement on page RW-16.
                    17        Q Did Bonnie Mercado supervise anybody else           17         In 2015, when do Real Water employees sign
                    18     aside from the brand ambassadors?                        18   these agreements? Is it their first day at work?
                    19        A No.                                                 19      A Before they start; correct.
                    20        Q In 2015, who did Bonnie Mercado report to?          20      Q Okay. Would this be the first thing they
                    21        A Jeramy Edgel.                                       21   would do when they come in for the first day?
                    22        Q What was his job title at that time?                22      A Depends on what part of the hiring process.
                    23        A At that time, he was our director of sales.         23   There's usually the application and interview process
                    24        Q What were his duties as far as supervising          24   where they'll fill out an application. And that would
                    25     Bonnie Mercado?                                          25   usually be the first thing that they do when they come

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                      1    into the office for the first time. But once they are      1     A    Last spring, late spring, somewhere in there.
                      2    selected as someone that we actually do want to hire,      2     Q    Are you talking about late spring 2015?
                      3    this is one of the first documents that they are given     3     A    No, of this year.
                      4    to review.                                                 4     Q    Okay, 2016.
                      5       Q In 2015, was Real Water only accepting written        5         Does Clare LaHara still work at Real Water?
                      6    applications, or did it also accept online applications    6      A No.
                      7    for employment?                                            7      Q Do you have any contact information for Clare
                      8       A Written.                                              8   LaHara?
                      9       Q Do you know how Grecia came to be hired at            9      A I believe I have her phone number still.
                     10    Real Water?                                               10      Q Why did Clare LaHara leave employment for
                     11       A I believe she replied to an online ad that was       11   Real Water?
                     12    posted, and she was one of a few candidates, and went     12      A She decided she wanted to move back to the
                     13    through an interview process.                             13   east coast to be closer to her children.
                     14       Q Who interviewed her?                                 14      Q Okay. What about Melissa Nava, how long was
                     15       A Most likely, the initial stages were done by         15   she in the HR department at Real Water?
                     16    Clare LaHara, or whoever was in charge of human           16      A Nine months to a year, somewhere around that
                     17    resources, and then Jeramy Edgel probably took over at    17   time period, before she was working as a sales
                     18    that point to get more in-depth questions answered as     18   assistant.
                     19    it pertained to the specific job position that was        19      Q Approximately when did Melissa Nava leave her
                     20    being offered.                                            20   position as an HR representative for Real Water?
                     21       Q Did Clare LaHara or Jeramy Edgel personally          21      A Around the spring of 2015.
                     22    know Grecia prior to her applying for the position at     22      Q Do you know if it was before or after Clare --
                     23    Real Water?                                               23   it was before Clare LaHara, correct, left?
                     24       A Not to my knowledge.                                 24      A No, because Clare wasn't the head person over
                     25          MS. GINAPP: Objection. Form. Foundation.            25   human resources. She was just somebody that would
                                                                      Page 26                                                        Page 28
                      1    BY MS. BARRAZA:                                            1   help.
                      2      Q Okay. Who made the decision that Grecia was            2      Q Okay. What was Clare's -- did Clare have a
                      3    going to be hired?                                         3   specific job title in 2015?
                      4      A It was probably a consensus among Jeramy Edgel         4      A I don't recall what her specific title was.
                      5    and the person in charge of human resources at the         5   She would facilitate and help things in the human
                      6    time. But most likely, Jeramy has the most weight in       6   resources department. She would also help facilitate
                      7    regards to that decision because it's an employee that     7   in other areas of the company depending on what we
                      8    will be working under him.                                 8   needed.
                      9      Q All right. I think you mentioned that back             9      Q In 2015, at the time Grecia was hired, was any
                     10    when Grecia was hired, Clare LaHara was the HR            10   employee of Real Water specifically designated as a
                     11    representative for Real Water; is that correct?           11   human resources --
                     12      A Uh-huh. She did work in the human resources           12      A Melissa Nava.
                     13    division, but she wasn't the only one that was there.     13      Q Okay.
                     14    She helped with paperwork, and different things like      14         MS. GINAPP: Make sure you let her finish her
                     15    that. But we had another person, Melissa Nava, that       15   question.
                     16    was there as well that did more of the submitting --      16         THE WITNESS: Okay.
                     17    posting job ads, our job ads, handling responses to the   17   BY MS. BARRAZA:
                     18    job ads, reviewing resumés, selecting the people to       18      Q -- specifically designated as the human
                     19    pass on to the next round of interviews, that type of     19   resources department representative?
                     20    thing.                                                    20      A Melissa Nava.
                     21      Q Okay. How long was Clare LaHara in the HR             21         MS. GINAPP: You have to remember lawyers
                     22    department at Real Water?                                 22   might change it up at the end.
                     23      A Around a year.                                        23   BY MS. BARRAZA:
                     24      Q Do you know approximately when she left that          24      Q I think you mentioned that Melissa Nava left
                     25    position?                                                 25   the HR department in approximately the spring of 2015;

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                      1   is that correct?                                          1      A I have the records she provided at the time,
                      2       A Yes.                                                2   yes.
                      3       Q Did she leave the whole company at that time        3      Q Looking back to the employment agreement which
                      4   as well?                                                  4   starts on page RW-16, who at Real Water would have
                      5       A Correct.                                            5   given this employment agreement to Grecia to review and
                      6       Q Why did she leave the company?                      6   sign?
                      7       A She had a newborn baby, and wanted to dedicate      7      A According to the page where it was signed as a
                      8   more of her time to starting a family.                    8   witness, it was Clare LaHara --
                      9       Q Do you have Melissa Nava's contact                  9      Q Okay.
                     10   information?                                             10      A -- or, excuse me -- the witness was Jeramy
                     11       A Possibly. I could look it up. I don't know         11   Edgel, but the human resources designee at the time was
                     12   if it's current.                                         12   Clare LaHara. So one of them, most likely.
                     13       Q Okay. So after Melissa Nava left in the            13      Q For the employment agreement that starts on
                     14   spring of 2015, which employee of Real Water stepped     14   page RW-20, is it your understanding that Jeramy Edgel
                     15   into the human resources department?                     15   would have been the one to give Grecia that document
                     16       A We then hired somebody -- I don't think it was     16   and witness her reviewing it and initialing it?
                     17   immediately, like the next day after, but with some      17          MS. GINAPP: Objection. Foundation.
                     18   time passing -- Christian Pantelakis.                    18          THE WITNESS: It's possible; correct.
                     19       Q Had Christian Pantelakis already been working      19   BY MS. BARRAZA:
                     20   at Real Water prior to that, or did she get hired just   20      Q In 2015, did Real Water have anybody
                     21   to start out working in the HR department?               21   designated to be a person who gives new employees the
                     22       A No, she, I believe -- I believe she was            22   employment agreements?
                     23   working as my father's assistant, Brent Jones'           23      A Other than the people we already discussed?
                     24   assistant.                                               24      Q Other than Jeramy Edgel?
                     25       Q And that was prior to the spring of 2015?          25      A No, he was not the person that was designated
                                                                    Page 30                                                        Page 32
                     1       A Correct. And then we began to transition her         1   the person to give. We discussed the human resources
                     2    into that position as we needed somebody.                 2   positions that we had, Melissa Nava, Clare LaHara, and
                     3       Q How long was Christian Pantelakis in the HR          3   Christian Pantelakis, throughout that time period.
                     4    department of Real Water?                                 4       Q So the human resources department was
                     5       A Six to nine months.                                  5   responsible in 2015 for making --
                     6       Q Are you aware if Christian Pantelakis was in         6       A Yeah, ultimately they are responsible for
                     7    the HR department at the time Grecia was terminated       7   maintaining the records.
                     8    from Real Water?                                          8       Q Okay. I'm wondering -- as you can see here,
                     9       A I believe she was, yes, at least operating           9   it looks like there are two separate agreements. Do
                    10    some of the functions within that division.              10   you know, why does Real Water have two separate
                    11       Q Aside from Christian Pantelakis, Clare LaHara,      11   documents marked as employment agreements?
                    12    and Melissa Nava, were there any other employees of      12       A When Grecia started, it was during a
                    13    Real Water in the human resources department at any      13   transition period from the first employment agreement
                    14    time from March of 2015 through October of 2015?         14   that is in this exhibit to the next one. And the
                    15       A I don't believe so, no.                             15   people that were having her fill out her paperwork
                    16       Q Does Christian Pantelakis still work at             16   probably just had her do both by mistake instead of
                    17    Real Water?                                              17   doing one or the other.
                    18       A No.                                                 18       Q What led to Real Water changing its employment
                    19       Q When did she leave?                                 19   agreements at this time, around this time?
                    20       A Late last year, early this year.                    20       A Honestly, most of it is pretty much the same.
                    21       Q Why did she leave Real Water?                       21   However, we did start working with ADP and their human
                    22       A She quit because she wanted to find other           22   resources consulting service of TotalSource. And they
                    23    employment.                                              23   reviewed our employment agreement, made it look a
                    24       Q Do you still have Christian Pantelakis'             24   little prettier with adding our logo to it, and that
                    25    contact information?                                     25   type of thing.

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                      1      Q Okay. So ADP made --                                  1      A Prior to them signing employment agreements?
                      2      A They recommended the changes.                         2      Q Yes.
                      3      Q And we're talking about for the second                3      A The procedure -- we don't have any steps in
                      4   agreement which starts on page RW-20?                      4   our hiring procedure where we give them information
                      5      A Correct.                                              5   about the Management Technology.
                      6      Q Okay. So did Real Water start doing business          6      Q Okay.
                      7   with ADP in 2015?                                          7      A If they ask, we are more than happy to answer
                      8      A No.                                                   8   any questions, show them anything that they want to
                      9      Q When did Real Water start doing business with         9   know more about. But, you know, as anybody knows when
                     10   ADP?                                                      10   they're getting hired for a position, there's usually
                     11      A 2009, 2010, thereabouts, with ADP as our             11   lots of paperwork, and people don't like to read books,
                     12   payroll processing company, which is separate from the    12   and all that kind of stuff, so we don't bombard them
                     13   service of TotalSource that has human resources           13   with things at that time other than the legal
                     14   consulting services.                                      14   requirements that we need.
                     15      Q When did Real Water start using the                  15      Q Understood.
                     16   TotalSource aspect of ADP?                                16         Aside from any potential documents, did
                     17      A I believe it was around 2015. I don't have           17   Real Water have any policy in 2015 regarding verbally
                     18   the exact date memorized.                                 18   explaining to new hires exactly what the L. Ron Hubbard
                     19      Q All right. I want to point your attention to         19   Management Technology and business system entailed?
                     20   Section 3 of the employment agreement, the first one,     20         MS. GINAPP: Objection. Form.
                     21   starts on page RW-16. Can you read that to yourself       21         THE WITNESS: Other than what's stated in the
                     22   and let me know when you're done?                         22   employment agreement, no, no one was instructed to say
                     23      A Okay.                                                23   anything in regards to that. But if someone had a
                     24      Q What's your understanding of what Section 3          24   question, they were, of course, wanted to or required
                     25   states?                                                   25   to have the question answered to the best of their

                                                                     Page 34                                                        Page 36
                      1          MS. GINAPP: Objection. Form. Foundation.            1   ability. And if they couldn't answer the question to
                      2   Go ahead.                                                  2   the person's satisfaction, then, you know, the policy
                      3          THE WITNESS: Section 3 is informing the             3   was always to have the question answered.
                      4   prospective employee that we use a Management              4   BY MS. BARRAZA:
                      5   Technology or a set of tools and procedures that was       5      Q Is there any specific reason why Real Water
                      6   created by a person named L. Ron Hubbard, and also         6   felt the need to include Section 3 in its employment
                      7   pointing out that he was also the creator of a religion    7   agreement?
                      8   called Scientology. However, the Management Technology     8      A Basically to lay out that there is a
                      9   and the religion are quite distinct and separate. And      9   difference, and make sure people are aware that there
                     10   it's just laying that out there in the beginning for      10   is a difference between the Management Technology that
                     11   the employee to understand and acknowledge, and being     11   we use and the religion of Scientology, because,
                     12   up front and honest.                                      12   unfortunately, sometimes people like to muddy the
                     13   BY MS. BARRAZA:                                           13   waters and think that they're all the same thing when
                     14       Q At the time that Grecia signed this employment      14   it's not the truth, that it isn't the same thing.
                     15   agreement back in 2015, had Real Water given Grecia any   15      Q How did Real Water become informed that the
                     16   documents reflecting exactly what the Management          16   Management Technology aspect of L. Ron Hubbard's
                     17   Technology would be?                                      17   teachings is not the same thing as the Scientology
                     18       A Based on the procedure of our hiring                18   aspect?
                     19   procedure, most likely not. However, I can't speak for    19          MS. GINAPP: Objection. Form.
                     20   the event because I wasn't the one doing it myself.       20          THE WITNESS: Yeah, can you -- I don't
                     21       Q Okay. Does Real Water -- back in 2015, did          21   understand your question. Can you clarify?
                     22   Real Water have any kind of policy regarding giving new   22   BY MS. BARRAZA:
                     23   hires any kind of documents which detail exactly what     23      Q Okay. You just explained to me that Section 3
                     24   the L. Ron Hubbard Management Technology is prior to      24   is included in here because employees don't always
                     25   having them sign any employment agreements?               25   understand right away that the Management Technology is

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                      1   completely separate from the Scientology aspect of         1      Q Exactly, okay. You're just talking about
                      2   L. Ron Hubbard; is that correct?                           2   retail side of promotion?
                      3       A Yes.                                                 3      A Sales.
                      4       Q How did Real Water come to that understanding        4      Q Okay. Sales, okay.
                      5   itself?                                                    5          Why in 2015 did Real Water utilize the
                      6           MS. GINAPP: Objection. Form.                       6   Management Technology formed by L. Ron Hubbard?
                      7           THE WITNESS: I don't know specifically. The        7      A Because the majority of the shareholders and
                      8   company has been around for almost 20 years now. And I     8   the board of directors determined that it had value,
                      9   think it was probably something during the beginning       9   and in being able to help the operations and efficiency
                     10   forming ages possibly, or -- I can't speak of exact       10   of the company.
                     11   time and place when we -- when the company became aware   11      Q What individuals were involved in that
                     12   of that.                                                  12   decision?
                     13   BY MS. BARRAZA:                                           13      A At what time period?
                     14       Q Do you know of anybody who would be able to         14      Q At the time period that Real Water first
                     15   testify about that?                                       15   decided to implement L. Ron Hubbard's business
                     16       A Possibly Brent Jones.                               16   Management Technology teachings into the company?
                     17       Q Okay. I want to point you to -- I guess we'll       17      A Probably Brent Jones and my mother, Lori
                     18   call it the second employment agreement, which starts     18   Jones.
                     19   on page RW-20, specifically Section 3 and Section 4.      19      Q Approximately what year would that be?
                     20   I'll let you read those to yourself.                      20      A I honestly couldn't say. It was before --
                     21           Let me know when you're done.                     21   definitely longer than 10 years ago.
                     22       A Okay.                                               22      Q Is Brent Jones a practicing Scientologist?
                     23       Q Explain to me what the purpose of Section 3 is      23      A Yes.
                     24   on this document.                                         24      Q Do you have knowledge of how Brent Jones first
                     25       A Similar to Section 3 of the previous document,      25   became aware of L. Ron Hubbard's Management Technology

                                                                     Page 38                                                        Page 40
                      1   being up front and honest with the prospective             1   system?
                      2   employee, and letting them know that we use the            2         MS. GINAPP: I'm going to object that it's
                      3   Management Technology of procedures and techniques and     3   beyond the scope of the deposition notice. You can
                      4   tools that was created or founded by L. Ron Hubbard,       4   answer if you know.
                      5   who is also the founder of Scientology. However, there     5         THE WITNESS: I believe he attended some
                      6   is a distinct difference, and the Management Technology    6   business organizational courses at the Hubbard College
                      7   that we use does not get into the religious aspects of     7   of Administration in Los Angeles.
                      8   Scientology in any regard.                                 8   BY MS. BARRAZA:
                      9      Q What about Section 4? What's the purpose of           9      Q When was that?
                     10   Section 4?                                                10         MS. GINAPP: Same objection. Foundation.
                     11      A Giving a very concise and brief explanation of       11         THE WITNESS: I don't know. I'm not sure.
                     12   what the Management Technology is, and how it relates     12   BY MS. BARRAZA:
                     13   to the operations of an organization or company. And      13      Q Would you say it's more than 10 years ago?
                     14   the word "promotion" there is not job enhancement. It     14      A Most likely, yes.
                     15   is getting products known.                                15      Q More than 20 years ago?
                     16      Q Okay. You're referring to in Section 4, how          16      A Probably not.
                     17   it states, "Promotion" --                                 17      Q Okay. Aside from the disclaimers that are
                     18      A Yes. Because I know that was one of the              18   made in the two employment agreements we just went
                     19   allegations in the lawsuit, that's why I just wanted to   19   over, at the time that Grecia was hired, did anybody
                     20   point it out.                                             20   verbally explain to her what role, if any, Scientology
                     21      Q You're clarifying that that term "Promotion"         21   would have at Real Water?
                     22   in Section 4 means "job enhancement"?                     22      A Of course not, because Scientology did not
                     23      A No, not "job enhancement."                           23   have any role with her employment at Real Water.
                     24      Q Not "job enhancement," okay.                         24      Q So there was no verbal discussion whatsoever
                     25      A Getting products known.                              25   about Scientology; correct?

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                     1          MS. GINAPP: Objection. Foundation.                   1      Q I'm referring to -- are you aware of any
                     2          THE WITNESS: I wasn't there during her hiring        2   Real Water new hire who came in and reviewed the
                     3    process, so I can't speak to those events, person.         3   employment agreements and then posed a question
                     4    BY MS. BARRAZA:                                            4   regarding Scientology after reading them?
                     5       Q What about -- Real Water has no policy, is            5      A No, not aware of it.
                     6    that correct, regarding having its HR representatives      6      Q Okay. I want to point your attention to
                     7    give any kind of verbal discussions about Scientology;     7   Section 8 of the first employment agreement, which is
                     8    is that correct?                                           8   on page RW-18. Let me know when you're done reading
                     9          MS. GINAPP: Objection. Form.                         9   that to yourself.
                    10          THE WITNESS: To initiate conversations?             10         THE WITNESS: What's the policy on bathroom
                    11    BY MS. BARRAZA:                                           11   breaks?
                    12       Q Correct.                                             12         MS. GINAPP: Do you need one?
                    13       A No. They're not supposed to do that.                 13         THE WITNESS: I'd like one.
                    14       Q What about if a new hire, after reviewing the        14         MS. BARRAZA: That's fine. There's no
                    15    employment agreement, were to bring up any concerns       15   question, so that's fine.
                    16    about Scientology at that time?                           16                  (Recess)
                    17          MS. GINAPP: Objection. Incomplete                   17   BY MS. BARRAZA:
                    18    hypothetical. Form. Foundation. Go ahead.                 18      Q Before we went on break, I asked you to read
                    19          THE WITNESS: They were instructed to answer         19   Section 8 of the first employment agreement located on
                    20    any questions that a new hire might have in regards to    20   page RW-18. Have you had time to do that?
                    21    their employment from job description, pay, what          21      A No.
                    22    they're going to be doing, anything that consists in      22      Q Go ahead and let me know when you're done.
                    23    this employment agreement, and make sure that that        23         MS. GINAPP: Sorry, RW-18?
                    24    person understands exactly what they're agreeing to, to   24         MS. BARRAZA: 18.
                    25    the best of their ability, should the applicant have      25         THE WITNESS: Okay.
                                                                      Page 42                                                       Page 44
                     1    questions.                                                 1   BY MS. BARRAZA:
                     2    BY MS. BARRAZA:                                            2      Q What's the purpose of Section 8 in this
                     3       Q And should the applicant have questions about         3   agreement?
                     4    Scientology specifically, would the HR representative      4      A To define and express that the staff and
                     5    then report that up the chain, or would they be solely     5   executives of the company are not trying to encroach
                     6    responsible for handling it at that time?                  6   upon one's freedom or right to their own beliefs and
                     7          MS. GINAPP: Same objections.                         7   their own religion; and that the Management Technology
                     8          THE WITNESS: No, they would be -- there was          8   that is used in the company is not an effort to enforce
                     9    no policy of them to report that to any seniors or         9   or promote religious beliefs upon any of its employees;
                    10    people in the company, no policy in regards to that       10   and that if they do feel any type of encroachment upon
                    11    whatsoever. If they could not answer a question that      11   their beliefs, that they agree and understand that the
                    12    was being asked, or did not have the information and      12   policy is to report it in writing to their senior or
                    13    they could not find that on their own through their own   13   supervisor at once.
                    14    research or the documentation that we have, yeah, they    14      Q What policies and procedures did Real Water
                    15    are wanted to provide the applicant with the              15   have in place in 2015 to prevent any kind of religious
                    16    information as much as possible so they can make an       16   discrimination from taking place?
                    17    informed decision on working at our company. So it's      17      A Other than what's put here in the employment
                    18    possible that at some point at one time or another        18   agreement, it's pretty comprehensive and to the point
                    19    somebody did ask a question in regards to that.           19   of what the procedure was.
                    20    BY MS. BARRAZA:                                           20      Q So there's no other kind of special training
                    21       Q Do you have any knowledge of anybody asking          21   that took place, or videos, or documents of any sort
                    22    such a question about Scientology at the time that they   22   that the employees were given regarding how Real Water
                    23    were reviewing the employment agreement?                  23   takes steps to prevent religious discrimination; is
                    24       A When you say "somebody," what are you                24   that correct?
                    25    referring to?                                             25         MS. GINAPP: Objection. Form.

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                     1          THE WITNESS: Other than what's laid out in           1   checklist is having the new employee watch those films.
                     2    this employment agreement, in this document, possibly      2      Q Okay. Is there any kind of policy as far as
                     3    there were times that it was verbally gone over that we    3   whether those films are watched before or after the
                     4    don't want to encroach upon someone's freedom of           4   employees have already signed their employment
                     5    religion, and we need to follow this agreement, but it     5   agreements, back in 2015?
                     6    was always pointing it back to this.                       6      A I would have to review the exact order of the
                     7    BY MS. BARRAZA:                                            7   new hiring checklist. I believe, I feel that they
                     8       Q Is there any kind of document which would             8   would sign these agreements, then watch the videos.
                     9    reflect that Real Water has a policy of verbally           9      Q I'm just trying to ascertain whether in 2015,
                    10    speaking with its employees regarding Real Water's        10   prior to the time the new hires had to sign any kind of
                    11    religious discrimination policies?                        11   employment agreements, they were put on any kind of
                    12          MS. GINAPP: Objection. Misstates testimony.         12   notice that some of the videos they would have to watch
                    13    Form.                                                     13   would include "The Secret" or "The Way to Happiness"?
                    14          THE WITNESS: No. Because, again, this is the        14      A No, I don't believe we have any notices,
                    15    document. This is the procedure. This is the policy.      15   because the order of the procedure is to have them sign
                    16    BY MS. BARRAZA:                                           16   the employment agreement so they understand that what
                    17       Q Okay. In your review of employment                   17   they're going to be doing is -- accept all the
                    18    agreements, such as the first two that Grecia signed,     18   different parts -- but particularly for this one, since
                    19    did the employment agreements actually lay out what       19   this is the one we're focusing on -- that we are not
                    20    specific courses the employees will have to participate   20   trying to encroach upon their religious freedom and
                    21    in that have anything to do with L. Ron Hubbard's         21   their rights to choose what they believe in, and then
                    22    teachings?                                                22   they would be asked to watch the films.
                    23       A Can you clarify --                                   23      Q Just to clarify, the films, "The Secret" and
                    24          MS. GINAPP: Objection.                              24   "The Way to Happiness," were those optional for the
                    25          THE WITNESS: Sorry.                                 25   employees to watch, or were those required?
                                                                      Page 46                                                       Page 48
                      1         MS. GINAPP: That's okay. Go ahead.                   1      A Optional. If they had an issue or a problem
                      2         THE WITNESS: The beginning of the question?          2   with watching one of them, they did not have to watch
                      3   BY MS. BARRAZA:                                            3   them. I don't think it's ever been -- I can't honestly
                      4      Q Sure.                                                 4   say that I've ever heard of anybody saying, "No, I
                      5         Do any of the employment agreements that new         5   don't want to get paid to watch a video," though.
                      6   hires sign specifically lay out exactly what kind of --    6      Q All right. Did you have any part in
                      7   exactly which courses the employees will have the          7   responding to Real Water's written discovery? Do you
                      8   option of taking part in that have anything to do with     8   remember how we talked about the interrogatories and
                      9   L. Ron Hubbard's teachings?                                9   the Request for Admissions earlier?
                     10         MS. GINAPP: Objection. Form.                        10      A Yes.
                     11         THE WITNESS: During what time period?               11      Q Did you have any part in formulating the
                     12   BY MS. BARRAZA:                                           12   answers to those questions?
                     13      Q 2015.                                                13      A I can't speak to the answers that you're
                     14      A These are the documents.                             14   referring to because I don't know those documents by
                     15      Q Okay. Did Real Water, back in 2015, give its         15   heart.
                     16   employees any documents upon their hire which explained   16      Q Okay. Now, I want to go over "The Secret" and
                     17   that they will have to watch "The Secret" or "The Way     17   "The Way to Happiness". Are those part of videos that
                     18   to Happiness"?                                            18   are watched in the orientation period of, once an
                     19      A Documents? No.                                       19   employee starts working at Real Water; is that correct?
                     20      Q What about, does Real Water have any kind of         20      A Correct.
                     21   policy which says that the new hires are to be verbally   21      Q What other videos, if any, aside from "The
                     22   informed that they're going to have to watch "The         22   Secret" and "The Way to Happiness," fall into that
                     23   Secret" and "The Way to Happiness"?                       23   orientation portion?
                     24      A We have what's called, what we refer to as a         24      A We have a video of a gentleman named Art
                     25   hiring checklist. And one of the steps on the hiring      25   Williams, who I believe is a Christian business leader.

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                                                                     Page 49                                                         Page 51
                      1   I think he's from Georgia, if I remember correctly.        1   gentleman gave that was filmed. And so I don't think
                      2   And the title of the video is "Just Do It." It's a         2   there was ever -- like, he didn't say, "This is the
                      3   short video. And it's -- kind of puts the principle or     3   title of my speech." But it's commonly referred to as
                      4   the idea of, don't worry about the problems that you       4   "Just Do It," I believe.
                      5   might face in life or on your job, or what have you,       5          MS. GINAPP: Sorry. My apologies.
                      6   just figure out a way to get it done, and just do it.      6          THE WITNESS: Three, four years ago maybe.
                      7         There's another video called "Message to             7   BY MS. BARRAZA:
                      8   Garcia." That is a reading of a typed, or a written        8       Q So it's fair to say that the "Just Do It"
                      9   passage, I believe, of the same title, "Message to         9   video would have been part of Grecia's orientation
                     10   Garcia," that was written in the early 20th century,      10   viewing?
                     11   and kind of goes over a similar principle of, don't get   11       A Yeah.
                     12   mired down in the reasons why something can't get done,   12       Q Okay. How long approximately is that video?
                     13   just find a way to achieve the goal.                      13       A Five minutes, approximately.
                     14      Q Okay. Any other videos besides those two you         14       Q Do the new hires have a video review that they
                     15   just described to me?                                     15   fill out that's associated with the "Just Do It" video?
                     16      A "The Secret" and "The Way to Happiness."             16       A I don't believe there is one, but I'm not a
                     17      Q How about you give me a brief overview of "The       17   hundred percent certain on that, if we've ever had a
                     18   Secret"?                                                  18   review of that video. But because it's so short and
                     19      A "The Secret" is a video that portrays a way of       19   there's not really much to it, I don't think we have
                     20   thinking about life in a positive manner, and to give     20   one.
                     21   somebody a tool or a way to attract different things,     21       Q All right. So we've gone through "Just Do
                     22   or conditions, or happiness in their life that they       22   It," "Message to Garcia," "The Secret," and "The Way to
                     23   want. It's been used and promoted by many different       23   Happiness." Any other videos that were part of the
                     24   people, including Oprah, other companies. I've heard      24   2015 orientation?
                     25   that they use it as a motivational type tool for their    25       A We do have two, what we call, "Real Water
                                                                     Page 50                                                         Page 52
                     1    employees.                                                 1   Culture" videos that give people a little bit of an
                     2        Q Why don't you briefly describe to me "The Way        2   understanding of the Management Technology, and the
                     3    to Happiness"?                                             3   ideas, principles, tools, policies, procedures, type
                     4        A "The Way to Happiness" is a set of principles        4   things, that we have that we use at the company.
                     5    or guides for living a happy life, everything from eat     5      Q Aside from those videos that we've gone over,
                     6    correctly, brush your teeth, don't do drugs -- type of     6   any other videos that need to be added to the list of
                     7    things like that -- down to, you know, respect the         7   orientation videos?
                     8    religious beliefs of others. I mean, there's even          8      A No.
                     9    don't murder, things like that in there. It's sort of      9      Q Okay. Before we move on from what's been
                    10    a simple guideline of how somebody can live a happy       10   marked Exhibit 2, I'm going to ask you to go to page
                    11    life.                                                     11   RW-18, which looks like it's part of the first
                    12        Q We're going to come back and discuss these          12   employment agreement. Can you read Section 10 to
                    13    videos in more detail when we go over Grecia's video      13   yourself? Let me know when you're done.
                    14    reviews. I just want to make sure I get this              14      A Okay.
                    15    orientation list we had started completely filled out.    15      Q What's the purpose of Section 10?
                    16           I think you mentioned "Just Do It". When was       16         MS. GINAPP: Objection. Calls for a legal
                    17    that video first introduced into the orientation          17   conclusion. Form. Foundation. Beyond the scope of
                    18    section for Real Water?                                   18   the deposition notice.
                    19           MS. GINAPP: Objection. Form. I believe the         19         MS. BARRAZA: I'll put on the record that we
                    20    title is called, "Do It."                                 20   believe this is not beyond the scope as it goes to the
                    21           THE WITNESS: What was that?                        21   religion discrimination claims.
                    22           MS. GINAPP: Is it "Just Do It"?                    22         THE WITNESS: Can you ask the question again?
                    23           THE WITNESS: I think it's "Just Do It."            23   BY MS. BARRAZA:
                    24           MS. GINAPP: Oh, it's "Just," oh, okay.             24      Q Sure. What's the purpose of Section 10?
                    25           THE WITNESS: Well, it's a speech that the          25         MS. GINAPP: Same objections.

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                                                                      Page 53                                                       Page 55
                     1           THE WITNESS: The purpose is to have the             1      Q I'll give you a chance to look over it. To
                     2    employee agree and acknowledge that should they have       2   me, it looks like Sections 12 through 17 all deal with
                     3    any objections or feel that they were discriminated        3   Real Water's arbitration policies. So I'll let you
                     4    against, their civil rights encroached upon at any time    4   look through that, and let me know if that's also your
                     5    during their employment, that they have the right to go    5   understanding.
                     6    to a binding arbitration with a mediation step prior to    6          MS. GINAPP: 12 through 17?
                     7    that, and that they agree to take that avenue of           7          MS. BARRAZA: Yes.
                     8    resolution instead of the legal court system.              8          MS. GINAPP: I'm going to object to form.
                     9    BY MS. BARRAZA:                                            9   Calls for a legal conclusion. Foundation.
                    10       Q So this would include if an employee felt he         10          THE WITNESS: Okay.
                    11    or she was being religiously discriminated against,       11   BY MS. BARRAZA:
                    12    they would go to the binding arbitration that you just    12      Q Would you agree with me that the sections you
                    13    described; is that correct?                               13   just read from the second employment, being Sections 12
                    14           MS. GINAPP: Objection. Calls for a legal           14   through 17, is not the exact same language as the
                    15    conclusion. The document speaks for itself. Outside       15   section on arbitration in the first agreement,
                    16    the scope of the notice.                                  16   Section 10?
                    17           THE WITNESS: If the --                             17          MS. GINAPP: Objection. The document speaks
                    18           MS. GINAPP: Foundation. Go ahead.                  18   for itself. Calls for a legal conclusion. Outside the
                    19           THE WITNESS: Sorry.                                19   scope of the notice.
                    20           MS. GINAPP: No, go ahead.                          20          THE WITNESS: Can you clarify your question?
                    21           THE WITNESS: If the procedures that we have        21   BY MS. BARRAZA:
                    22    in place to, you know, handle any sort of feelings of     22      Q My question is: Would you agree with me that
                    23    religious discrimination, including reporting it to       23   Section 10 in the first agreement is not the exact same
                    24    their immediate senior in writing, if they then don't     24   as the arbitration sections in the second agreement,
                    25    get anywhere there, reporting it to the human resources   25   being Sections 12 through 17?
                                                                      Page 54                                                       Page 56
                     1    department, or their senior's senior, their boss' boss,    1          MS. GINAPP: Same objections.
                     2    all of that, don't get anywhere, and aren't able to        2          THE WITNESS: The second employment agreement
                     3    resolve the situation, and they feel so aggrieved or       3   that was signed by Grecia is more extensive in the
                     4    that there is such a problem beyond those remedies that    4   explanation of the same idea, yes.
                     5    have already been taken, then they have the right to an    5   BY MS. BARRAZA:
                     6    arbitration.                                               6      Q Okay. Is there any kind of document which
                     7    BY MS. BARRAZA:                                            7   explains to Grecia whether the arbitration terms in the
                     8        Q Why was the arbitration provision included in        8   first agreement she signed or the arbitration terms in
                     9    the employment agreement?                                  9   the second agreement she signed would be the ones that
                    10           MS. GINAPP: Objection. Foundation. Beyond          10   would be imposed on her?
                    11    the scope of the notice.                                  11          MS. GINAPP: Objection. Calls for a legal
                    12           THE WITNESS: I think it's pretty standard in       12   conclusion. Outside of the scope of the notice.
                    13    employment agreements. And so it was added because        13   Foundation.
                    14    it's kind of a common thing that companies do.            14          THE WITNESS: Nothing is being imposed on her.
                    15    However, I think the underlying reason of why was         15   She's agreeing to follow those procedures.
                    16    because the legal court system is a costly drain on       16   BY MS. BARRAZA:
                    17    society, and there's other ways to handle problems and    17      Q Okay. Is there anything that would explain to
                    18    find proper remedies to solutions where both parties      18   Grecia -- is there any evidence or knowledge that you
                    19    can be happy and move forward outside of the legal        19   have that Grecia was talked to about whether Section 10
                    20    court system.                                             20   of the first agreement is what she's bound by, or
                    21    BY MS. BARRAZA:                                           21   Sections 12 through 17 of the second agreement is what
                    22        Q I want to point you to the second employment        22   she's bound by?
                    23    agreement in your packet located at page RW-24 and        23          MS. GINAPP: Same objections.
                    24    RW-25. I would ask you to read Sections 12 and 13.        24          THE WITNESS: She agreed to both of them.
                    25        A Okay.                                               25   /////

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                                                                     Page 57                                                        Page 59
                     1    BY MS. BARRAZA:                                            1         THE WITNESS: It's pretty clear what it says
                     2       Q Is it Real Water's position that Grecia will          2   there. As far as the interpretation of, I'm not an
                     3    be bound by both agreements?                               3   attorney, so I can't give my interpretation.
                     4          MS. GINAPP: Objection. Calls for a legal             4   BY MS. BARRAZA:
                     5    conclusion. Argumentative. Beyond the scope of the         5      Q Explain to me what the difference is between
                     6    notice. Just generally form and foundation.                6   the option in Option A and Option B.
                     7          THE WITNESS: She agreed to both of the               7         MS. GINAPP: Objection. Beyond the scope of
                     8    agreements.                                                8   the deposition notice. Calls for a legal conclusion.
                     9    BY MS. BARRAZA:                                            9   The document speaks for itself.
                    10       Q Okay. Do you know why the arbitration                10         THE WITNESS: I'm not well versed in law. I'm
                    11    language in the second agreement is more extensive than   11   not an attorney.
                    12    the language in the first agreement?                      12   BY MS. BARRAZA:
                    13          MS. GINAPP: Objection to the form of the            13      Q Okay. Would you say Grecia would be able to
                    14    question in general. Calls for a legal conclusion.        14   make an informed decision about whether she should
                    15    Beyond the scope of the notice. Foundation.               15   select Option A or Option B?
                    16          THE WITNESS: To explain the idea more               16         MS. GINAPP: Objection. Calls for
                    17    thoroughly.                                               17   speculation. Beyond the scope of the notice. What
                    18    BY MS. BARRAZA:                                           18   else? Form. Foundation, just in general.
                    19       Q Did ADP come up with the more extensive              19         THE WITNESS: I don't know Grecia's
                    20    arbitration language?                                     20   experience. I've had two words, "hi" and "bye,"
                    21          MS. GINAPP: Objection to the form of the            21   communicated between her. So I can't speak to her
                    22    question.                                                 22   experience or knowledge.
                    23          THE WITNESS: They consulted and suggested           23   BY MS. BARRAZA:
                    24    language.                                                 24      Q Okay.
                    25    /////                                                     25      A However, the standard policy is if someone has
                                                                     Page 58                                                        Page 60
                     1    BY MS. BARRAZA:                                            1   a question or an issue with one of these, it's
                     2        Q All right. Were the arbitration provisions           2   obviously to be addressed.
                     3    that Grecia signed in the first and second agreements,     3      Q Did anyone ever explain to Grecia at the time
                     4    were they negotiable?                                      4   she was signing these employment agreements that either
                     5           MS. GINAPP: Objection. Form. Foundation.            5   of the arbitration provisions could be modified?
                     6           THE WITNESS: In the second agreement, she           6          MS. GINAPP: Objection. Calls for
                     7    clearly has an option between two choices in Section 13    7   speculation.
                     8    that she's given.                                          8          THE WITNESS: Can you refer me to where
                     9    BY MS. BARRAZA:                                            9   they're being modified?
                    10        Q Let's go over Section 13 of the second              10   BY MS. BARRAZA:
                    11    agreement, page RW-25. What's the first option that       11      Q I'm just saying, at the time Grecia signed the
                    12    she has?                                                  12   first agreement and the second agreement, was there any
                    13           MS. GINAPP: Objection. The document speaks         13   Real Water policy to have her put on notice that either
                    14    for itself. Calls for a legal conclusion. Form.           14   of the arbitration provisions could be potentially
                    15    Foundation. Beyond the scope of the notice.               15   modified?
                    16           THE WITNESS: It says there what the option         16          MS. GINAPP: I'm going to object. Foundation.
                    17    is.                                                       17          THE WITNESS: I don't think I'm totally
                    18    BY MS. BARRAZA:                                           18   understanding your question. It seems very
                    19        Q Okay. Am I correct that Option A, if she were       19   hypothetical. So is your question, is there a document
                    20    to select that option, it means that she's agreeing       20   that would explain to Grecia or any employee that if
                    21    that any and all Title VII claims are resolved by         21   something was changed, they would -- I don't
                    22    binding arbitration?                                      22   understand.
                    23           MS. GINAPP: Objection. The document speaks         23   BY MS. BARRAZA:
                    24    for itself. Calls for a legal conclusion. Beyond the      24      Q That's fine. I'll reword it.
                    25    scope of the notice.                                      25          Back in 2015, did Real Water have any policy

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                     1    of informing its new hires, when they're going over        1       A Again, there's no procedure that specifically
                     2    these employment agreements, that any of the               2   addresses the arbitration clause of the employment
                     3    arbitration language can be modified?                      3   agreement. There is a procedure, however, that the
                     4          MS. GINAPP: I'm going to object. It assumes          4   employment agreement needs to be fully filled out and
                     5    facts not in evidence. Foundation.                         5   completed prior to the commencement of employment.
                     6          THE WITNESS: I don't understand the question,        6       Q Why didn't Real Water have Grecia sign an
                     7    because basically in order for somebody to be held to      7   arbitration agreement which was its own separate
                     8    an agreement they made, they would actually have to        8   agreement separate and apart from her employment
                     9    make that agreement, and if -- there's nothing in this     9   agreement?
                    10    document that says that we can change it whenever we      10         MS. GINAPP: Objection. Form. Foundation.
                    11    want, and because you're signing here, you agree to       11         THE WITNESS: Because, again, usually when a
                    12    anything that we want -- I don't understand where         12   person starts employment at a company, there's a lot of
                    13    you're trying to go.                                      13   forms and different things that need to be filled out,
                    14    BY MS. BARRAZA:                                           14   signed, agreed to. And instead of making each
                    15       Q Let me ask you this: Is there any Real Water         15   section a separate agreement, we decided to make one
                    16    policy in 2015 that that the HR representatives who are   16   agreement.
                    17    giving the employee the employment agreements to look     17   BY MS. BARRAZA:
                    18    over are to give any kind of special instructions         18       Q Would you agree with me that the arbitration
                    19    regarding the agreement?                                  19   agreement in the first agreement, Section 10, is in the
                    20       A No. Other than asking any questions that they        20   same kind of font and not in any way distinguishable
                    21    might have in respect to the agreement, they're not       21   from the other sections of the agreement?
                    22    instructed or there is no policy for the human            22         MS. GINAPP: Objection. Form. Foundation.
                    23    resources department to initiate interpretation of a      23   Beyond the scope of the notice.
                    24    document.                                                 24         THE WITNESS: No, there is a clear difference.
                    25       Q Okay. Are these two employment agreements            25   It's emboldened in certain sections, and in the attempt
                                                                     Page 62                                                        Page 64
                     1    seen as take-it-or-leave-it offers for employment?         1   to draw a person's attention to that so they actually
                     2          MS. GINAPP: Objection as to form.                    2   review it, so they know what they're agreeing to when
                     3          THE WITNESS: Generally, when somebody wants          3   they agree to it.
                     4    to be employed by a company, they have to agree to the     4   BY MS. BARRAZA:
                     5    conditions and procedures and policies that the company    5      Q All right. Is there any kind of reason why
                     6    has in regards to employment. If they have an issue        6   the arbitration provision is at the very end of the
                     7    with something, they have -- they are well within their    7   entire agreement?
                     8    rights to not be employed by that company.                 8         MS. GINAPP: Objection. Calls for
                     9    BY MS. BARRAZA:                                            9   speculation. Beyond the scope of the notice.
                    10       Q Would you agree with me that Grecia's                10   Generally, form and foundation.
                    11    employment was conditioned on her accepting the           11         THE WITNESS: Why the person that fully wrote
                    12    arbitration provisions in agreement one and agreement     12   this document did it that way, I can't say to his
                    13    two?                                                      13   personal belief. But if I had to give you my opinion,
                    14          MS. GINAPP: Objection. Form. Foundation.            14   I would say because the document starts with giving a
                    15          THE WITNESS: It's never been an issue. We           15   description of their employment, what the company
                    16    don't have a set procedure as far as someone objecting    16   expects of them, and sort of a brief explanation of
                    17    to the agreement of arbitration. And it's never came      17   their employment at the company, the arbitration is at
                    18    up as an issue with any employee over the life history    18   the end because it wants to give a person the
                    19    of Affinity Lifestyles.                                   19   understanding that if they have any issues with what
                    20    BY MS. BARRAZA:                                           20   was mentioned before, they have the right to an
                    21       Q Aside from it ever being an issue, am I              21   arbitration.
                    22    correct that the new hires had to sign off on the         22   BY MS. BARRAZA:
                    23    arbitration provision portions of the employment          23      Q Okay. I just want to clarify, in the second
                    24    agreements if they wanted to actually get hired at        24   agreement, Section 13, how there are the two options,
                    25    Real Water?                                               25   is there any policy for Real Water to verbally explain

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                     1    to the new hires exactly what the differences are          1   document or not.
                     2    between Option A and Option B?                             2      Q Okay.
                     3           MS. GINAPP: Objection. Asked and answered.          3      A I'm not --
                     4           THE WITNESS: To initiate an interpretation          4      Q That's fine.
                     5    explanation of? No.                                        5         Would you agree with me that "Just Do It" is
                     6    BY MS. BARRAZA:                                            6   part of the orientation videos in 2015?
                     7        Q Okay. Do you see how some Real Water                 7      A Yes, "Just Do It," as we've already discussed,
                     8    applicants might find Option A and Option B confusing?     8   is one of the orientation videos.
                     9           MS. GINAPP: Objection. Calls for                    9      Q Okay. I want to point you to Request No. 9.
                    10    speculation. Beyond the scope of the notice. Form.        10   Can you read into the record the second sentence of
                    11    Foundation.                                               11   Response to Request for Admission No. 9?
                    12           THE WITNESS: I could see how someone could be      12         MS. GINAPP: I'm going to object based upon
                    13    confused by some of -- there -- but, again, they always   13   the fact that the question hasn't been entered into the
                    14    have the option to ask questions and clarify things.      14   record. And I'm also going to reassert the objections
                    15    And if they truly wish, have -- hire counsel to explain   15   stated in the response to the Request for Admission
                    16    it to them.                                               16   No. 9.
                    17    BY MS. BARRAZA:                                           17         THE WITNESS: So you're asking me to read that
                    18        Q Okay. I want to go back to the orientation          18   question aloud, or that sentence aloud?
                    19    videos that you had talked to me about.                   19         MS. BARRAZA: Sure, yes.
                    20           I believe -- correct me if I'm wrong -- is it      20         MS. GINAPP: Same objections.
                    21    Real Water's position that the orientation videos are     21         THE WITNESS: I thought I was supposed to
                    22    not required?                                             22   answer questions, not --
                    23           MS. GINAPP: Objection. Asked and answered.         23         MS. BARRAZA: That is part of my question.
                    24           THE WITNESS: State your question again,            24         MS. GINAPP: Go ahead. It's a question.
                    25    please.                                                   25         THE WITNESS: "Admit that Real Water employees
                                                                     Page 66                                                        Page 68
                     1    BY MS. BARRAZA:                                            1   were not allowed" --
                     2       Q Are the orientation videos -- and when I say          2         MS. GINAPP: No, actually, she wants you to
                     3    "the orientation videos," I'm referring to the ones        3   read just the second sentence.
                     4    we've gone over, being "The Secret," "The Way to           4         THE WITNESS: Of the Response to Request for
                     5    Happiness," "Message to Garcia", ""Real Water              5   Admission No. 9?
                     6    Culture"," and "Just Do It" -- are those required          6         "Without waiving and subject to said
                     7    videos for the new employees to watch?                     7   objections, Defendant admits that employees are not
                     8       A No.                                                   8   allowed to decline" --
                     9          MS. BARRAZA: Okay. Let's do this next.               9         MS. GINAPP: Just go ahead and finish.
                    10                 (Exhibit 3 marked)                           10         THE WITNESS: -- "decline to watch the four
                    11    BY MS. BARRAZA:                                           11   videos which are part of employee orientation."
                    12       Q I've just handed you Exhibit 3, which I'll           12   BY MS. BARRAZA:
                    13    represent to you the Real Water's Responses to            13      Q Okay. Would you agree with me that the four
                    14    Plaintiff's First Set of Requests for Admission.          14   videos that are part of video orientation would be the
                    15          Are you familiar with Real Water's Request for      15   "Real Water," "Message to Garcia," "The Secret," and
                    16    Admission -- I mean -- with Plaintiff's Requests for      16   "The Way to Happiness"?
                    17    Admission?                                                17      A Sure, yes.
                    18       A I am somewhat familiar with this, yes.               18      Q So I just want to clarify exactly what
                    19       Q Okay. I'm going to point you to                      19   Real Water's position is, because there's some
                    20    Request No. 2. It asks which videos were required in      20   discrepancy in your testimony and what Real Water's
                    21    March of 2015. I see "Real Water Culture," "Message to    21   already disclosed.
                    22    Garcia," "The Secret," and "The Way to Happiness"         22         Were those four videos required to be
                    23    listed on there. Am I correct from your testimony         23   watched --
                    24    today, we need to add "Just Do It" to that list?          24      A No.
                    25       A I don't know if it should be added to this           25      Q -- by employees in 2015?

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                     1       A No, they were not required.                          1       A Filed in their employment file.
                     2       Q Is there any document that states that they          2       Q Is there any kind of grading system of the
                     3    were not required to be watched?                          3   reviews?
                     4          MS. GINAPP: Objection. Form.                        4       A No. The purpose of the review is solely to
                     5          THE WITNESS: I don't -- possibly, but it's          5   have the person actually somewhat engage with the
                     6    known that it's not a requirement. It's an option.        6   content of the video. There's no grading, or --
                     7    BY MS. BARRAZA:                                           7   usually they're not even reviewed after they're done by
                     8       Q Have any Real Water employees declined to            8   the human resources department, or anybody, for that
                     9    watch any of the four videos, being "Real Water           9   matter. It's just a way for the person to engage
                    10    Culture," "Message to Garcia," "The Secret," or "The     10   somewhat with the content of the video and think about
                    11    Way to Happiness"?                                       11   it, so they're not, you know, just not paying
                    12       A Not that I'm aware of.                              12   attention, or what have you. It's to goad them into
                    13       Q Okay. Did you have any input in responding to       13   engaging with it and actually thinking about the
                    14    that Request No. 9 that we just reviewed?                14   different ideas.
                    15       A Possibly. We've had -- I've had conversations       15       Q Am I correct that Grecia, when she finished
                    16    with my attorney.                                        16   filling out her video reviews, would have been
                    17          MS. GINAPP: Don't talk about any                   17   responsible for handing that review in to her HR
                    18    conversations with your attorney.                        18   supervisor?
                    19          THE WITNESS: That's what I was going to say.       19       A Sure, the person that was in charge of
                    20    BY MS. BARRAZA:                                          20   collecting the documents and filing them in the
                    21       Q Okay. Explain to me how these orientation           21   employment file.
                    22    videos were viewed back in 2015.                         22       Q Aside from having those review forms filed in
                    23          MS. GINAPP: Objection. Form.                       23   the employment file, does Real Water do anything else
                    24          THE WITNESS: How they were viewed?                 24   with the reviews, back in 2015?
                    25    /////                                                    25          MS. GINAPP: Objection. Form.
                                                                     Page 70                                                       Page 72
                     1    BY MS. BARRAZA:                                           1         THE WITNESS: No, generally.
                     2       Q Right. Is there any kind of special room that        2   BY MS. BARRAZA:
                     3    they're viewed in?                                        3      Q Are they sent out to any other entity?
                     4       A They watch them on the television screen in          4      A No.
                     5    reception.                                                5      Q Okay. Did Real Water in 2015 make a copy of
                     6       Q Okay. Is there any Real Water representative         6   the review forms before filing it in Grecia's file?
                     7    who is responsible -- and this is back in 2015 -- who     7         MS. GINAPP: Objection. Form. Foundation.
                     8    is responsible for watching over and making sure that     8         THE WITNESS: There's no procedure to do that.
                     9    the employees were actually watching the videos in        9   However, because I wasn't the person to administer the
                    10    reception?                                               10   forms and collect the forms, I can't say whether or not
                    11       A No.                                                 11   someone made a copy of it. But there's no procedure to
                    12       Q Okay.                                               12   do that, or reason.
                    13       A They would start the video and let the person       13   BY MS. BARRAZA:
                    14    watch it.                                                14      Q I'm assuming there's no procedure to have a
                    15       Q Is there any kind of paperwork that the             15   copy made of the completed review, and then hand it
                    16    employees are supposed to fill out with these            16   back to the employee who filled out the review?
                    17    orientation videos?                                      17      A No. But if they want one, they can keep it.
                    18       A There's reviews; correct.                           18   I don't see why there would be an issue with that.
                    19       Q Who at Real Water formed those review forms?        19         MS. BARRAZA: Let's start with this.
                    20       A Who wrote those?                                    20                (Exhibit 4 marked)
                    21       Q Yes.                                                21   BY MS. BARRAZA:
                    22       A I believe it was Brent Jones.                       22      Q I've just handed you Exhibit 4, which I'll
                    23       Q What does Real Water do with the review forms       23   represent to you is a "Message to Garcia" video review
                    24    that they get from the employees after they've watched   24   that Real Water has produced in this litigation. Do
                    25    the video and filled out the review forms?               25   you recognize this document?

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                                                                     Page 73                                                        Page 75
                     1       A Yes.                                                  1         MS. GINAPP: Objection. Incomplete
                     2       Q Let me start with just the video review form          2   hypothetical. Calls for speculation.
                     3    itself. Has the video review form for "Message to          3         THE WITNESS: They wouldn't watch it.
                     4    Garcia" ever changed throughout Real Water's history?      4   BY MS. BARRAZA:
                     5       A I don't believe so.                                   5      Q Would there be any kind of repercussions for
                     6       Q It looks like this document is dated March 11,        6   that?
                     7    2015; is that correct?                                     7      A Of course not.
                     8       A Looks so, yes.                                        8      Q Has anybody at Real Water ever indicated that
                     9       Q I want to point you briefly back to Exhibit 2,        9   they did not want to watch "Message to Garcia"?
                    10    the first employment agreement. If you look at the end    10      A Not familiar with anybody having any
                    11    of it, page RW-19, it looks like the first agreement      11   objections with watching any of the videos.
                    12    was signed on March 10, 2015. Is that what you're         12      Q Can you understand if some employees might
                    13    seeing?                                                   13   feel compelled to watch the videos?
                    14       A Looks like it.                                       14         MS. GINAPP: Objection. Calls for
                    15       Q Okay. So is it reasonable to assume that             15   speculation.
                    16    Grecia watched -- I'm sorry -- yeah -- that Grecia        16         THE WITNESS: Hypothetically, I can
                    17    watched the "Message to Garcia" video after she had       17   understand.
                    18    already signed the employment agreement?                  18   BY MS. BARRAZA:
                    19           MS. GINAPP: Objection. Form. Foundation.           19      Q Have you personally ever watched "Message to
                    20           THE WITNESS: If those dates are correct when       20   Garcia"?
                    21    they were signed, it looks that way.                      21      A More than once.
                    22    BY MS. BARRAZA:                                           22      Q When was the first time you watched it?
                    23       Q All right. You talked to me a little bit             23      A Three or four years ago maybe.
                    24    about what "Message to Garcia" is about. I want to        24      Q Fair to say, you were not required to watch
                    25    ask: Why specifically does Real Water have its            25   "Message to Garcia" prior to coming to work at
                                                                     Page 74                                                        Page 76
                      1   employees watch "Message to Garcia"?                       1   Real Water; is that correct?
                      2          MS. GINAPP: Objection. Asked and answered.          2         MS. GINAPP: Objection. Form.
                      3          THE WITNESS: Because it's a good story of an        3         THE WITNESS: No.
                      4   account of somebody going above and beyond what was        4   BY MS. BARRAZA:
                      5   required of them, and in front of insurmountable odds,     5      Q That's correct, yes?
                      6   and they achieved the goal that they set out to do.        6      A No, I was not required to.
                      7   BY MS. BARRAZA:                                            7      Q Okay. Got it.
                      8      Q How does the "Message to Garcia" video relate         8         Is there anything in Grecia's written review
                      9   to Grecia's responsibilities as a brand ambassador?        9   of "Message to Garcia" that Real Water took specific
                     10      A I can see how, because of that job's position,       10   notice of when they were reviewing her video review?
                     11   if you are in a store and you're explaining a product     11         MS. GINAPP: Objection. Foundation.
                     12   to somebody and they disagree with you in some regard     12         THE WITNESS: As we've already --
                     13   to what you're saying, or some difficulty comes up in     13         MS. GINAPP: Speculation. Sorry. Go ahead.
                     14   performing the job functions, that this video was, in     14         THE WITNESS: As we've already talked about,
                     15   her case, given to her to watch to encourage her to       15   there's no procedure or set policy for the review of
                     16   find solutions to problems that she might face, and       16   these.
                     17   still try to achieve the goal that she set out to do      17   BY MS. BARRAZA:
                     18   instead of give up or quit.                               18      Q All right. Would you agree with me that
                     19      Q Did Real Water have a policy of giving any           19   Grecia's written responses to her video reviews, which
                     20   kind of feedback to its employees after they had turned   20   includes any responses she made to "Message to Garcia,"
                     21   in their video reviews?                                   21   "The Secret," or "The Way to Happiness" had no bearing
                     22      A No.                                                  22   on her employment at Real Water?
                     23      Q What would happen if somebody in 2015                23      A Can you ask the question again?
                     24   indicated they did not want to watch "Message to          24      Q Would you agree with me that Grecia's written
                     25   Garcia"?                                                  25   responses, written reviews, regarding "Message to

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                     1    Garcia," "The Way to Happiness," and "The Secret" had      1      A Uh-huh.
                     2    no bearing on whether or not she would still be            2      Q Okay. Who did you -- did you turn that video
                     3    employed at Real Water?                                    3   review form into anybody?
                     4       A Because there's no set procedure on having the        4      A Human resources, it's probably in my file.
                     5    forms reviewed after they're filled out by the new         5      Q Have you personally reviewed any of the video
                     6    employee, there would be no judgments, disciplinary        6   reviews in the course of your employment at Real Water?
                     7    action, reward of any kind or any sort, because there's    7      A When I was actually over the human -- or,
                     8    no set procedure to actually look at this.                 8   doing some of the human resources functions, hiring
                     9       Q Okay. So there's no reward or punishment that         9   procedure, et cetera, I'm sure I looked at some of the
                    10    would be imposed based on the substance of an             10   reviews that were done basically just to make sure that
                    11    employee's reviews; is that correct?                      11   there was something written down on the paper and it
                    12       A Correct.                                             12   wasn't just left blank.
                    13         MS. GINAPP: Can we go off the record for a           13      Q Approximately when was that your
                    14    second?                                                   14   responsibility?
                    15         MS. BARRAZA: That's fine.                            15         MS. GINAPP: Objection. Form.
                    16             (Discussion off the record)                      16         THE WITNESS: Four or five years ago maybe.
                    17                (Lunch recess)                                17   BY MS. BARRAZA:
                    18         MS. BARRAZA: We're back on the record.               18      Q Now, the "Real Water Culture" video, am I
                    19    BY MS. BARRAZA:                                           19   correct in assuming that Real Water formed that video,
                    20       Q Before we broke last hour, we were just              20   created that video?
                    21    discussing "Message to Garcia." I'm going to move on      21      A Yep.
                    22    and discuss "The Way to Happiness." You've previously     22      Q What about the "Message to Garcia" video, did
                    23    given me a brief overview of what "The Way to             23   Real Water form that video?
                    24    Happiness" is about.                                      24         MS. GINAPP: Objection. Form.
                    25         I'm wondering what Real Water's position is as       25         THE WITNESS: No, it's a narration somebody.
                                                                     Page 78                                                        Page 80
                     1    far as what "The Way to Happiness" specifically has to     1   BY MS. BARRAZA:
                     2    do with a brand ambassador's duties.                       2      Q Where did Real Water get that video from?
                     3          MS. GINAPP: Objection. Form.                         3      A I'm not sure, because what we have is a clip
                     4          THE WITNESS: A brand ambassador deals with           4   of some other video. And I'm not sure where it came
                     5    people, numerous people on a daily, continuous basis       5   from, to be honest.
                     6    throughout their job, probably more so than any other      6      Q Are you saying that the "Message to Garcia"
                     7    position within the company. And some of the               7   video is a subpart of a larger video that Real Water
                     8    suggestions or guidelines, or what have you, that are      8   has?
                     9    contained in "The Way to Happiness" deal with              9      A No. I'm saying we don't have --
                    10    respecting others, deal with how to keep relations with   10      Q You don't have what?
                    11    other people on a friendly, happy level.                  11      A The larger video.
                    12    BY MS. BARRAZA:                                           12      Q Okay. Who at Real Water would be able to tell
                    13       Q How long has "The Way to Happiness" been an          13   me exactly where Real Water got the "Message to Garcia"
                    14    orientation video for Real Water?                         14   video from?
                    15       A Four or five years, maybe.                           15      A Probably nobody with some certainty because it
                    16       Q Have you personally viewed "The Way to               16   was a while ago, and it's -- yeah, probably nobody with
                    17    Happiness"?                                               17   certainty on this exact when we got it, who we got it
                    18       A Numerous times.                                      18   from, all that kind of thing.
                    19       Q Have you personally filled out any of                19      Q But to your knowledge, as a representative
                    20    Real Water's video reviews?                               20   here today, you don't know where Real Water got
                    21       A I think I might have done the "Culture" video        21   "Message to Garcia" from; correct?
                    22    reviews personally.                                       22      A No, I don't know if it was downloaded from
                    23       Q Okay. And just to clarify, you've actually           23   online, or where it was, because you can find it
                    24    watched the "Real Water Culture" video and then written   24   online.
                    25    down your feedback on a video review form?                25      Q You told me that the employees watched the

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                      1   videos on a TV in the lobby. Is it an actual VHS or is    1   there -- it was Melissa Nava at the beginning and then
                      2   it a DVD?                                                 2   Christian Pantelakis towards the end of that time
                      3      A It's a DVD.                                          3   period.
                      4      Q When all four -- when I say "four," I'm              4   BY MS. BARRAZA:
                      5   talking about "The Secret," "Message to Garcia," "The     5      Q All right. Is it Real Water's position that
                      6   Way to Happiness," and the "Culture" video -- are they    6   "The Way to Happiness" is a purely non-religious video?
                      7   all DVDs?                                                 7      A Correct, because per the federal law that
                      8      A Uh-huh.                                              8   dictates what a religion is, it does not go into the
                      9      Q "Yes"?                                               9   afterlife or address somebody as a spiritual being.
                     10      A Yes.                                                10      Q What federal law are you referring to?
                     11      Q Are these DVDs kept in the human resources          11      A I don't know the exact statute.
                     12   department?                                              12      Q Okay. Does Real Water have any document which
                     13      A Correct.                                            13   would reflect that they're following a certain federal
                     14              (Exhibit 5 marked)                            14   law as it pertains to any policies that can be related
                     15   BY MS. BARRAZA:                                          15   to religion?
                     16      Q Do you recognize what's been marked as              16          MS. GINAPP: Objection. Form.
                     17   Exhibit 5?                                               17          THE WITNESS: Ask it again.
                     18      A It is the video review for "The Way to              18   BY MS. BARRAZA:
                     19   Happiness," specifically, Grecia's.                      19      Q Does Real Water have any specific document
                     20      Q Have you previously read Grecia's video review      20   which would indicate exactly what federal law you're
                     21   for "The Way to Happiness"?                              21   talking about?
                     22      A I have previously read it, not anywhere near        22          MS. GINAPP: Same objection.
                     23   when she had written it or her time of employment. The   23          THE WITNESS: No, because that's held by The
                     24   only reason why I did go back and look at it was         24   Way to Happiness Foundation who was able to be deemed
                     25   because of this lawsuit, in preparation for my duties    25   as a secular foundation.
                                                                    Page 82                                                         Page 84
                     1    today.                                                    1   BY MS. BARRAZA:
                     2       Q So this document is dated March 11, 2015. If         2      Q Where did Real Water get "The Way to
                     3    you recall the "Message to Garcia" video review was       3   Happiness" video from?
                     4    also dated March 11, 2015. Is it normal for the           4      A We bought it some way from The Way to
                     5    employees to watch all these orientation videos on the    5   Happiness Foundation.
                     6    same day?                                                 6      Q Did Real Water purchase it online, or via the
                     7       A Yeah, fairly normal. Different circumstances         7   mail, or any other kind of way?
                     8    might be different for different people, depending on     8      A I don't recall exactly where or how we
                     9    the job position, their schedule. You know, sometimes     9   purchased it, but some way or fashion from The Way to
                    10    when people start a new job, they're not ready to be     10   Happiness Foundation, and it was probably mailed to us
                    11    the full-time employee. They still have another job,     11   because I don't think they have an office here in
                    12    or they're, you know, working part-time. Everybody's     12   Las Vegas, retail location.
                    13    situation is different. And so we usually try to cater   13      Q When did Real Water first start implementing
                    14    with them and we don't require them that they have to    14   "The Way to Happiness" into its orientation videos?
                    15    sit and watch these videos now. We cater to their        15      A Four or five years ago.
                    16    schedule. And if they can do it all in one fell sweep,   16      Q Does Real Water receive any kind of
                    17    great. If not, then we accommodate.                      17   compensation from any entity for showing its employees
                    18       Q In 2015, who was responsible for following up       18   any of these orientation videos?
                    19    with the employees and making sure they had completed    19      A No. It would be nice. No, we generally want
                    20    their video reviews?                                     20   to provide people with different thoughts and ideas to
                    21          MS. GINAPP: Objection. Asked and answered.         21   potentially help them and improve their lives. That's
                    22    Go ahead.                                                22   why we have them watch it, or have somebody watch it.
                    23          THE WITNESS: We already answered it. During        23      Q If I told you that one of the quotes from "The
                    24    the time period of March 2015 to -- it says on one of    24   Way to Happiness" was, "Men without faith are a pretty
                    25    these, whatever the final month when she was working     25   sorry lot," would you consider that in any way as

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                     1    imposing religion?                                         1     A     No.
                     2           MS. GINAPP: Objection. Form. Foundation.            2          MS. GINAPP: Objection. Calls for
                     3    Calls for a legal conclusion.                              3   speculation. Argumentative. Form. Foundation.
                     4           THE WITNESS: Personally, no, because I think        4          THE WITNESS: No, I don't, because it's their
                     5    everybody has some idea about what they believe in,        5   opinion, and everybody is entitled to their opinion.
                     6    faith, whether it be Christianity, Buddhism, Hinduism,     6   And there's no culture, or policy, or procedure to
                     7    Scientology, or an atheist. That's what they believe.      7   punish somebody for their opinion at Real Water.
                     8    That is what they put faith in. An atheist puts faith      8   BY MS. BARRAZA:
                     9    in that they -- there is no God, that they determine       9      Q Okay. Is it Real Water's position that any of
                    10    their future. And that's what they put their faith in.    10   the topics that are covered in "The Way to Happiness"
                    11    So the definition of faith is what they believe in.       11   could be considered as having some kind of religious
                    12    Everybody believes in something.                          12   undertones?
                    13    BY MS. BARRAZA:                                           13          MS. GINAPP: Objection. Form. Foundation.
                    14       Q Okay. So am I correct that Real Water                14          THE WITNESS: I don't believe so, no. I mean,
                    15    subscribes to the notion that, "Men without faith are a   15   honestly, I haven't watched the video in a few years.
                    16    pretty sorry lot"?                                        16   I've seen it a few times. I can't speak for every
                    17           MS. GINAPP: Objection. Form. Foundation.           17   single word that's said in the video because I don't
                    18           THE WITNESS: As a business entity, no, it          18   know it verbatim. But, no, I don't think it's
                    19    does not subscribe to a certain belief or thought. I      19   religious because, again, religion deals with
                    20    think that that statement is pretty benign, and it's      20   addressing somebody as a spiritual being or the
                    21    basically saying that people that don't believe in        21   afterlife.
                    22    anything aren't very happy. And I think if you            22   BY MS. BARRAZA:
                    23    actually took a look at it, you would agree.              23      Q Okay. Does Real Water believe it's necessary
                    24    BY MS. BARRAZA:                                           24   to show its employees a video which informs them that
                    25       Q Okay. I want to point you to the actual              25   they are not to murder, and that they are to stay
                                                                      Page 86                                                      Page 88
                     1    substance of Grecia's review of "The Way to Happiness."    1   clean?
                     2       A Sure.                                                 2         MS. GINAPP: Objection. Form. Foundation.
                     3       Q A lot of this you've actually testified about,        3         THE WITNESS: Can you repeat your question?
                     4    because it looks like a lot of the review is kind of a     4   BY MS. BARRAZA:
                     5    recap of what the video actually says. Is that also        5      Q Does Real Water believe that it's necessary to
                     6    your opinion?                                              6   show its employees a video which states notions like,
                     7          MS. GINAPP: Objection. Form.                         7   do not murder, do not harm others, things along that
                     8          THE WITNESS: Yeah.                                   8   nature?
                     9    BY MS. BARRAZA:                                            9         MS. GINAPP: Same objections.
                    10       Q Okay.                                                10         THE WITNESS: Do I think it's necessary? No,
                    11       A Also, her --                                         11   I don't think it's necessary. The reason why we do it
                    12          MS. GINAPP: Just wait until a question is           12   is because we hope that somebody might watch it or
                    13    asked.                                                    13   listen to it and it might improve their lives in some
                    14    BY MS. BARRAZA:                                           14   way.
                    15       Q What else besides kind of a recap of the video       15         I can give you a specific example. I had an
                    16    do you see Grecia put in for her review?                  16   ex-criminal, a felon, that served their own time. They
                    17          MS. GINAPP: Objection. Form.                        17   watched that video, and that actually made them change
                    18          THE WITNESS: Well, just a quote from what she       18   their viewpoint on that exact fact of, you shouldn't
                    19    said, "The video was actually great. I definitely         19   murder somebody. And they said, "Wow, you know, I
                    20    agree with it. Everything was good." So she obviously     20   actually changed my opinion on that." And so we have
                    21    enjoyed watching it.                                      21   people watch it because we want for them to have -- be
                    22    BY MS. BARRAZA:                                           22   able to look at a different idea, and possibly find
                    23       Q Okay. You understand that some employees             23   some happiness in that.
                    24    might feel compelled to give a positive review to a       24   BY MS. BARRAZA:
                    25    video that their employer is having them watch?           25      Q Does Real Water think it's appropriate to have

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                     1    its employees watch a video which states that people       1   document stating something on someone's behalf of
                     2    should not be promiscuous, and they should be faithful     2   something that was not optimum, or good, or generally
                     3    to their sexual partners?                                  3   accepted as what should be happening.
                     4           MS. GINAPP: Objection. Form.                        4      Q Who at Real Water in 2015 had the authority to
                     5           THE WITNESS: I think that's sort of a moral,        5   fill out a non-optimum report?
                     6    ethical idea personally that people shouldn't be           6      A Every single employee.
                     7    promiscuous and cheat on their significant others. And     7      Q How many non-optimum reports were written
                     8    I think if people really look at it, they'll see, by       8   regarding Grecia?
                     9    doing that, it usually doesn't lead to happiness or        9      A I think there was two, three maybe. I'm sure
                    10    good things happening in their life, and -- you know,     10   you have it there somewhere.
                    11    but it doesn't stop certain people from doing it. And,    11      Q Now, when these non-optimum reports were
                    12    again, do I think it's necessary? No. But the reason      12   filled out back in 2015, who was involved in that?
                    13    why we do it is because we want to possibly help          13      A Whoever wrote them and signed their name at
                    14    improve someone's life.                                   14   the bottom. I think Bonnie wrote some of them. Jeramy
                    15    BY MS. BARRAZA:                                           15   might have wrote some of them as well. I'm not sure.
                    16       Q Does it have anything to do with the                 16   I can't recall the exact reports.
                    17    employee's actual job duties?                             17      Q When a Real Water -- back in 2015, when a
                    18       A No. We're not a brothel.                             18   Real Water employee would write out a non-optimum
                    19       Q Okay. What is Real Water's position as to why        19   report, would that go up the chain to anybody else?
                    20    Grecia was terminated?                                    20      A It would usually go to that person's immediate
                    21       A Our position is that she was, in essence,            21   senior. And then they give it to the person. They
                    22    stealing from the company. She was reporting that she     22   have them sign it, and the HR department keeps it on
                    23    was on the job and performing her job duties at           23   file. But, again, it depends on the severity of what
                    24    specific retail locations when, in fact, it was checked   24   the person was doing. And 15 to 20 locations at a
                    25    upon she wasn't. I think if I remember, there was         25   minimum of two hours apiece -- so let's just say that's
                                                                     Page 90                                                        Page 92
                      1   about 10 or 15 different locations that were followed      1   40 hours of work times her wage -- that's how much
                      2   up with, or called, or visited, and found out that when    2   money was stolen, basically. That was found to be
                      3   she said she was there, she actually wasn't there. So      3   egregious enough for termination. But sometimes
                      4   instead of her going to perform her job functions, she     4   non-optimum reports are written on somebody and there's
                      5   went to the mall, or went home, or whatever she did,       5   nothing that happens of it other than the notification
                      6   but she wasn't where she said she was on the clock         6   of, "Hey, you shouldn't have done that."
                      7   doing what she was supposed to be doing. And it was        7               (Exhibit 6 marked)
                      8   the determination of Bonnie and Jeramy at the time that    8   BY MS. BARRAZA:
                      9   that was egregious enough for immediate termination.       9      Q I'll give you a second to look through what's
                     10   And so they made that decision.                           10   been marked as Exhibit 6. Let me know when you're
                     11      Q Explain to me, did Grecia have any kind of           11   done.
                     12   written notice as to that, what she was doing was not     12      A Okay.
                     13   in line with Real Water's policies?                       13      Q Okay. So I'm going to go through these
                     14      A Other than the general consensus that when you       14   reports, and we'll start with what's been marked as
                     15   say you're somewhere and you weren't, and you were        15   PLTF1. Looks like this report was dated October 8,
                     16   doing a job and you weren't, no. There were some          16   2015, and it was filled out by Bonnie. Is that
                     17   reports given to her saying, "Hey" -- backing up the      17   correct?
                     18   fact that that's kind of a generally accepted thing,      18      A Looks like it.
                     19   is, "Hey, you weren't doing what you said you were        19      Q Okay. In your review of this packet, is this
                     20   doing, your job duties, this is not okay."                20   the kind of natural order that you would put these
                     21      Q When you say "reports," are you talking about        21   documents in, or would you put them in a different
                     22   non-optimum reports?                                      22   order?
                     23      A Correct.                                             23          MS. GINAPP: Objection. Form. Foundation.
                     24      Q Explain to me what non-optimum reports are?          24          THE WITNESS: Chronologically, they seem to
                     25      A Exactly what it means. It's a report or a            25   fit. I mean, that's the basics of -- you know, these

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                     1    types of reports are put into someone's personnel file     1   termination.
                     2    because, again, it's a documentation of things that        2      Q Going into the next page marked as PLTF2, what
                     3    were done against the company's policies or procedures.    3   is this document indicating?
                     4    BY MS. BARRAZA:                                            4      A It looks like it was actually originally
                     5       Q It looks like, am I correct, that there are           5   written on the back side of the first page because it
                     6    four separate non-optimum reports?                         6   was too lengthy to fit into the box that was provided
                     7       A Looks like it, yep.                                   7   because there was a lot that she was doing wrong.
                     8       Q Okay. Now, what's Real Water's policy as far          8          But basically it's saying that Bonnie followed
                     9    as having the employee who had a non-optimum report        9   up with the different stores that Grecia was supposed
                    10    written about him or her actually review the              10   to be visiting. She listed the individual stores,
                    11    non-optimum report and sign off on it?                    11   their address, and even in some instances the manager,
                    12       A What's the procedure for that?                       12   different notes about each individual location, and
                    13       Q Right.                                               13   basically that she said she had either called or talked
                    14       A The person that writes it, writes it, signs it       14   to the manager or the appropriate person at that store
                    15    as the originator, either gives it to the person          15   that would have signed off on her demo report forms,
                    16    directly, depending on the situation, or has the human    16   and said that she was, in fact, there that were turned
                    17    resources person meet with that person, have them         17   in, that she actually wasn't there, and didn't do what
                    18    review it, sign it, and then it goes into their           18   she said she did as far as her job duties.
                    19    personnel file.                                           19      Q Now, did Grecia have a list of specific stores
                    20       Q So I'm looking at this first line from the           20   or locations that she was supposed to hit as part of
                    21    report that's marked as PLTF1. Who would you say          21   her duties as a brand ambassador?
                    22    signed off as the signature of originator on that?        22      A Yes, on a, you know, a running, evolving
                    23       A Bonnie.                                              23   basis. It really depends on what stores we're actually
                    24       Q We're talking about Bonnie Mercado?                  24   wanting to target, go after. If we have specials in
                    25       A Uh-huh.                                              25   certain stores, we'll target them more, if the special
                                                                     Page 94                                                        Page 96
                      1      Q Is there a reason why Grecia never signed this        1   isn't there, or what have you. But, again, that is
                      2   non-optimum report?                                        2   determined by Bonnie. And these stores were on her on
                      3      A I don't know of the specific reason, again,           3   schedule for when she was supposed to -- what she was
                      4   because I wasn't involved with these proceedings. So I     4   supposed to be doing on the given dates in that report,
                      5   couldn't say.                                              5   and that was her schedule.
                      6      Q Okay. Would Bonnie Mercado be the best person         6      Q Okay.
                      7   to ask about that?                                         7      A But over a time period of years, yeah, it can
                      8      A Possibly.                                             8   vary. We don't have somebody go to the same store for
                      9      Q So is it true that not in every instance that         9   multiple years on end.
                     10   a non-optimum report is filled out is it signed off on    10      Q Can you tell me approximately -- would
                     11   by the recipient of the non-optimum report?               11   somebody be going to the same stores for only a week at
                     12         MS. GINAPP: Objection. Form.                        12   a time, or a month at a time, or six months at a time?
                     13         THE WITNESS: Yeah, I mean, you can look and         13      A Depends on what type of store it is, and what
                     14   see here she signed some of them and acknowledged some    14   we're doing with that store. So if we're running a
                     15   of them as true, but she didn't sign the other ones.      15   special -- I mean, you go to a grocery store, I'm sure,
                     16   BY MS. BARRAZA:                                           16   and buy food -- sometimes you see our products on sale
                     17      Q Okay.                                                17   and some not on sale the next week. So that sale was
                     18      A But, again, this was -- what happened in this        18   only for that last week. Well, if our product is on
                     19   particular case was found to be so egregious, that she    19   sale, we want to promote that sale and get more people
                     20   was lying for such a long time, and stealing from the     20   to buy the product. And that's what that brand
                     21   company for such a long time, that there might not have   21   ambassador's job is to do.
                     22   been an opportunity for a formal meeting to be taken      22         Once it goes off sale, maybe there's another
                     23   where Grecia reviewed the non-optimum report, she         23   store that we're on sale with them. So we start
                     24   signed it, et cetera, because, again, the -- what she     24   shifting our focus to that week -- or -- to that store
                     25   did was so egregious, it warranted immediate              25   for that week, or what have you. It's, you know,

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                                                                     Page 97                                                        Page 99
                     1    dictated by what the marketing and sales strategy is at    1      A But I do know that the reports that she --
                     2    that time.                                                 2   every product demonstrator is required to fill out a
                     3       Q Who set up Grecia's schedule of stores that           3   report for the store that they visit, stating where it
                     4    she needed to hit while she was employed at Real Water?    4   was, when they were there, the stock on the shelves,
                     5       A So back to the beginning when I answered this         5   how many bottles they sold, the traffic in the store,
                     6    question already -- the overview of it was determined      6   even down to the weather, if it was a sunny or a rainy
                     7    by Jeramy, who was the director of sales. The              7   day, depending on, you know, that would affect the
                     8    nitty-gritty --                                            8   traffic in the store, and if the product was on sale,
                     9       Q Sorry, not to stop you. But when you say              9   and then have that manager of that store sign off on
                    10    "overview," can you tell me exactly what that means?      10   her visit, or his visit.
                    11       A So if we're going to be targeting, say,              11      Q Those forms that you're just talking about, do
                    12    Smith's grocery stores, because there were products on    12   they have a specific title at the top?
                    13    sale, that's an overview. It's not saying, "Go to this    13      A Demo report form, or something along those
                    14    Smith's at this location at this time." It's, "We need    14   lines.
                    15    to promote at Smith's for this month." That's kind of     15      Q Okay. For every location that brand
                    16    an overview.                                              16   ambassador went to in 2015, they would fill out those
                    17       Q Okay.                                                17   details you just testified about in a demo report form,
                    18       A Bonnie would go into the more detail of              18   and then hand it off to their supervisor; is that
                    19    saying, "Okay, you're going to go to this store, this     19   correct?
                    20    location, at this time, in the morning, and then stay     20      A Correct, so we could know how well they are
                    21    there for this many hours, and then in the afternoon,     21   performing their job, have proof -- supposed proof at
                    22    go to this store, this location for this amount of        22   least, in her case -- that she was doing the job. And
                    23    time, the next day" -- on and on.                         23   then we would also use those to calculate the hours
                    24       Q Am I correct that that information was written       24   that she worked so we could pay her appropriately.
                    25    down into a schedule?                                     25      Q I'm wondering, if the brand supervisor only
                                                                     Page 98                                                       Page 100
                     1       A It could have been written down into an actual        1   verbally tells the brand ambassador about which
                     2    calendar format, or it might have been in an e-mail, or    2   locations to go to, how is there any way to, you know,
                     3    it might have been spoken to. Things can -- you know,      3   verify that and follow up if there's any kind of
                     4    sometimes they were more organized than other times.       4   disagreement between the two about which locations were
                     5          For instance, like, when I used to go on demo        5   supposed to be hit?
                     6    trips, I would have my -- sometimes I would plan out a     6       A I didn't say what you said.
                     7    three-week trip, sometimes I would plan out a two-day      7       Q Okay, go on. What's wrong with what I just
                     8    trip. It just depends on what it is that you're trying     8   said?
                     9    to achieve.                                                9       A It's not Real Water's position that her
                    10       Q Okay. So what is Real Water's position as to         10   schedule was dictated to her verbally. I don't know.
                    11    how Grecia knew that all the locations listed on page     11   I wasn't the one that dictated it to her, and I wasn't
                    12    PLTF2, knew that she was supposed to be going to all      12   involved with her scheduling personally. I don't know
                    13    those locations?                                          13   if it was through an e-mail, through a text, through
                    14          MS. GINAPP: Objection. Form. Foundation.            14   a -- written on a calendar schedule, a Google calendar.
                    15          THE WITNESS: It's Real Water's opinion that         15   I don't know, however it was deemed by Bonnie at that
                    16    it was told by her supervisor, just like in any job and   16   time and/or Jeramy of what stores needed to be visited
                    17    position, you're told what to do by your supervisor and   17   and promoted.
                    18    you're expected to do it. And that dictates your job      18       Q So Real Water does not know exactly how or if
                    19    performance by how well, or that you do it.               19   Grecia was actually given a written list, or a text
                    20    BY MS. BARRAZA:                                           20   message, or an e-mail, or a verbal instruction about
                    21       Q Is it Real Water's position that it was              21   which stores to hit?
                    22    verbally told by her supervisor?                          22          MS. GINAPP: Objection. Misstates testimony.
                    23       A I can't say to that fact because I wasn't the        23   BY MS. BARRAZA:
                    24    one that did it. I wasn't there.                          24       Q Is that correct?
                    25       Q Okay.                                                25       A No, it has not been looked into. I did not

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                      1   prepare that information for today.                        1      A Luckily, she's writing it down now.
                      2      Q Okay. I want to get into this specific                2      Q Okay. And so moving on to the next page --
                      3   document. You mentioned that the first time you saw        3      A 3?
                      4   this was after the lawsuit had already been filed; is      4      Q Yes, looking at 3 and 4, am I correct that
                      5   that correct?                                              5   this is a different non-optimum report filled out by
                      6      A Correct.                                              6   Bonnie Mercado, dated the same day as the previous one,
                      7      Q Did anybody at Real Water -- was anybody at           7   October 8, 2015?
                      8   Real Water responsible for reviewing Bonnie's              8      A Correct.
                      9   filled-out non-optimum report and conducting any kind      9      Q Okay. What's the substance of this specific
                     10   of investigation as to whether or not the statements in   10   non-optimum report?
                     11   here are actually true?                                   11      A I think it's pretty self-explanatory. But it
                     12      A Depending on the severity of the -- you know,        12   looks like she confronted Grecia about the stores she
                     13   what happened on the report, depending on the severity    13   had reported that she had gone to to give her an
                     14   of it procedurally, if it's, say, somebody parked --      14   opportunity to come clean and say, "Well, I actually
                     15   double parked in the company parking lot not allowing     15   didn't go to those stores." But instead she said,
                     16   somebody else to park in a spot, there's a little bit     16   "Yeah, of course, I see these people every week. Of
                     17   of difference between that and actually stealing from     17   course I was there," or, "I knew them."
                     18   the company. So the general procedure is if it            18      Q Were there any demo report forms submitted by
                     19   warrants a further investigation, that investigation      19   Grecia as related to this time period that Bonnie is
                     20   needs to be done. And it's generally done by the human    20   referring to in her non-optimum reports?
                     21   resources division, or the area senior.                   21      A I would imagine so, because that's the correct
                     22      Q In this instance, did any kind of follow-up          22   procedure.
                     23   investigation happen with the HR department to            23      Q When demo reports were filled in and submitted
                     24   determine whether or not what Bonnie was saying in this   24   to -- I'm sorry -- did you say they were submitted to
                     25   document was actually true?                               25   the HR department?
                                                                    Page 102                                                       Page 104
                      1      A I don't have that information in front of me.         1      A No.
                      2   I think I do know that Jeramy did verify some of the       2      Q Who are they submitted to?
                      3   phone calls that were made.                                3      A The person's senior.
                      4      Q Is there any kind of document that would              4      Q So the demo forms are filled out and submitted
                      5   support that?                                              5   to the person's senior. What does the person's senior
                      6      A I don't have that information with me.                6   do with those?
                      7      Q Did Jeramy ever tell you that he followed up          7      A Evaluates it based on the person's job
                      8   and verified that, with some of these stores, that         8   performance. If you have somebody that, every time
                      9   Grecia indeed did not attend those stores?                 9   they go to the store, they only sell one bottle, and
                     10      A After the fact, after the lawsuit was filed,         10   you have somebody that goes into a store and they sell
                     11   and I asked him about what had happened at that time,     11   12 cases, one is doing better than the other.
                     12   he said, yes, he made some of the phone calls to          12      Q Does Real Water store these demo report forms?
                     13   verify.                                                   13      A Yes, there have been records kept on and off
                     14      Q That was a verbal discussion between you and         14   throughout the company's history. It's not something
                     15   Jeramy?                                                   15   that we keep as secure or, you know, that type of
                     16      A Yes.                                                 16   thing, like financial records, or employment files, or
                     17      Q Did you memorialize that discussion in any           17   things like that, because it's something that's not --
                     18   way?                                                      18   it's just not a type of record that's been given that
                     19      A Define "memorialize."                                19   importance. But we do have -- kept records in the
                     20      Q Did you write down the details of that               20   past.
                     21   discussion, or --                                         21      Q What other kind of record would verify the
                     22      A No.                                                  22   brand ambassador's actual hours besides the demo report
                     23      Q Okay. No?                                            23   forms?
                     24      A No.                                                  24      A The sheet that was submitted for her payroll,
                     25      Q Okay.                                                25   calculation of her hours.

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                      1     Q    Would Grecia herself fill that out?                 1   happened here. But makes it a little bit harder.
                      2     A    Uh-huh.                                             2      Q Okay. What is Real Water's policy back in
                      3         MS. GINAPP: Is that a "yes"?                         3   2015 as far as keeping a record of the demo report
                      4         THE WITNESS: Yes.                                    4   forms for employees who were terminated?
                      5   BY MS. BARRAZA:                                            5          MS. GINAPP: Objection. Form.
                      6      Q Does that form have a specific title?                 6          THE WITNESS: I don't think there was a
                      7      A Employee's hours, or something along those            7   specific policy that pertains to the demo report forms,
                      8   lines. I might be wrong.                                   8   or the merchandising report forms for employees,
                      9      Q Who is that form submitted to?                        9   keeping those records for employees who have been
                     10      A Treasury.                                            10   terminated. I don't think we have a specific policy.
                     11      Q Who would that be back in 2015?                      11   BY MS. BARRAZA:
                     12      A Actually, I take that back. It would have            12      Q Turning to the next non-optimum report, page
                     13   been submitted to Bonnie first, because the manager is    13   PLTF5, am I correct that this looks like another report
                     14   supposed to sign off on it. And then after that, it's     14   filled out by Bonnie, and it's also dated October 8,
                     15   submitted to treasury or accounting. And the person at    15   2015?
                     16   the time that was there, her name was Maria Cantoran,     16      A Looks like it, yeah.
                     17   C-A-N-T-O-R-A-N.                                          17      Q What is your understanding of what this report
                     18      Q In that employee's hours form, would that just       18   is about?
                     19   be a basic form where the employees would indicate what   19      A It looks like Bonnie was expecting to meet
                     20   time they started working, what time they stopped         20   Grecia at some point in time to go over what a
                     21   working?                                                  21   supervisor and a junior do. And Grecia told her that
                     22      A Generally, yes. However, there was -- there          22   she couldn't be there because she had a doctor's
                     23   was a time where we were using a different system for     23   appointment, and that she had been sick for the last
                     24   outside salespeople, brand ambassadors, that type of      24   two days, and hadn't been doing her job duties for
                     25   person, because of them actually being out of the         25   those two days.
                                                                    Page 106                                                       Page 108
                      1   office and not sitting in the office or under someone's    1         And, you know, it's totally fine for somebody
                      2   supervision to make sure they were actually there when     2   to be sick. It happens. But, you know, to find out
                      3   they said they were being there, where it would list a     3   two days after the fact that she wasn't where she was
                      4   location, hey, I was at this location for this many        4   supposed to be doing, what she was supposed to be
                      5   hours, I was at this location for this many hours, I       5   doing, it's kind of unfair to the company.
                      6   was at this location for that many hours. Was that         6      Q It looks like to me Grecia signed this
                      7   procedure being done when Grecia was working? I don't      7   non-optimum report. Is that your understanding?
                      8   have that information. I don't know that for yes or        8      A Looks like it.
                      9   no, either way. But I know that that was a procedure       9      Q Does Real Water have any explanation as to why
                     10   that we have used in the past.                            10   this non-optimum report was signed, but not the
                     11      Q On the employee's hours forms, would the             11   previous two that we've gone over?
                     12   employees fill out any kind of information aside from     12      A No official reasoning why. I could tell you
                     13   just the bare facts of the times they were working?       13   my personal opinion is from the text that's there, it
                     14      A Depends. If they were filling out the                14   looks like Bonnie was getting fairly upset and tired of
                     15   simplized version of just how many hours, or if we were   15   being lied to by Grecia, so she made it a point to
                     16   using the procedure of -- I was at this location for      16   actually get Grecia to sign this one.
                     17   this amount of time, this location for that amount of     17      Q Would all three of these non-optimum reports
                     18   time, this location for this amount of time. It           18   that are dated October 8, 2015, would they have all
                     19   depends. There was -- there's -- for the outside          19   been presented to Grecia at the same exact time?
                     20   personnel that we have to give some trust to, that        20      A Not necessarily.
                     21   they're going to be fulfilling their job duties. And      21      Q Is there any kind of policy that lays out any
                     22   we unfortunately usually have to take them on their       22   kind of repercussions that will happen if an employee
                     23   word. But we have them fill out a form to kind of give    23   doesn't sign off on a non-optimum report that they are
                     24   us an idea so it at least makes it harder for them to     24   the recipient of?
                     25   lie. It can't stop them from lying, as you see what       25      A No.

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                      1       Q Turning to the last report on page PLTF6, it         1   mentioned to Grecia that she needs to actually go to
                      2   looks like to me this is also filled out by Bonnie.        2   the stores verbally before when she wasn't going to the
                      3   It's dated the next day, October 9, 2015. Is that your     3   stores. So then the non-optimum reports were written.
                      4   understanding?                                             4   And then eventually she was terminated.
                      5       A Looks like it.                                       5      Q Was Real Water on any kind of notice that
                      6       Q What's this report about?                            6   Grecia and Bonnie did not get along?
                      7       A Looks like another example of some stores that       7         MS. GINAPP: Objection. Assumes facts not in
                      8   Grecia was supposed to go to, and she reported that she    8   evidence. Form. Foundation.
                      9   did go to and perform her job duties, that she, in         9         THE WITNESS: There was no verbal or written
                     10   fact, didn't, list out those stores, the manager or       10   reports at the time. And, again, the written reports
                     11   person in charge of the store, and actually               11   was the procedure that was put in place that Grecia
                     12   acknowledged by Grecia that she said she did go to        12   acknowledged that she would do should she have any
                     13   those stores, and she didn't.                             13   interpersonal disputes within the company.
                     14       Q When you say it was acknowledged by Grecia, in      14   BY MS. BARRAZA:
                     15   what form did she acknowledge that?                       15      Q Is it Real Water's position that a system of
                     16       A She signed it.                                      16   having three non-optimum reports filled out in the same
                     17       Q She signed the non-optimum report?                  17   day, and then one report the next day, and then a
                     18       A Looks like her signature to me.                     18   termination on the same day as the last report follows
                     19       Q Okay. So I'm wondering, is it in any way            19   its progressive disciplinary system?
                     20   abnormal to have these four consecutive non-optimum       20      A Repeat the question.
                     21   reports written about Grecia by Bonnie in a span of two   21      Q Okay. Is it Real Water's position that having
                     22   days?                                                     22   three non-optimum reports written by the same person,
                     23       A Abnormal?                                           23   followed by another non-optimum report written by the
                     24       Q Right.                                              24   same person, followed by a termination the same day as
                     25       A For the given circumstances, absolutely not.        25   the last non-optimum report, does that fall in line
                                                                    Page 110                                                       Page 112
                     1       Q How soon after these non-optimum reports were         1   with Real Water's progressive disciplinary structure?
                     2    filled out was Grecia terminated?                          2      A I can't speak of to when she was terminated,
                     3       A I don't have the exact date on the top of my          3   because, again, as I answered your question earlier, I
                     4    head, but I'm sure you have the exit paperwork in that     4   don't have that date in front of me. You probably do.
                     5    stack somewhere. We could look at the date on that.        5      Q If I represented to you that she was
                     6       Q Explain to me Real Water's -- does Real Water         6   terminated on October 9, which is the same day as the
                     7    have any kind of policy insofar as a progressive           7   last non-optimum report was written, would you say that
                     8    disciplinary policy?                                       8   that is still in the line with Real Water's progressive
                     9       A Absolutely.                                           9   disciplinary structure?
                    10       Q Explain to me what that is.                          10      A Forgive me if -- I would rather see the paper
                    11       A Generally, we -- the procedure is that if            11   instead of take your word.
                    12    someone does something that is not following along the    12      Q Okay. That's fine.
                    13    lines of the policies and procedures of the company, or   13          Has Real Water ever terminated anybody on the
                    14    is not what we expect an employee to do, or what a        14   same exact day that a non-optimum report was written
                    15    senior doesn't expect their junior to do, they are        15   about them?
                    16    verbally told, hey, don't do that, you know, you          16      A Probably. I could say that it's more than
                    17    can't -- you shouldn't do that, that's wrong, some        17   likely that it happened. Again, it all depends on the
                    18    fashion like that.                                        18   severity of what they did. In this particular case,
                    19           If they continue to do the same thing, a           19   she, you know, was saying she was working at a specific
                    20    written report is written on them. If they continue to    20   location when, in actual fact, and admitted by her, she
                    21    do it again, more written reports are written on them.    21   was not, and getting paid to do so. That's pretty
                    22    If they continue to do it even further, usually ends up   22   severe. I mean, if you were to steal money from your
                    23    in termination. But, again, it depends on the severity    23   employer, wouldn't they think it's a problem?
                    24    of what was being done.                                   24      Q I agree it's severe. And I'm wondering what
                    25           It looks like, per these reports, Bonnie had       25   kind of documentation Real Water has that proves that

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                                                                    Page 113                                                       Page 115
                     1    they actually followed up and confirmed that what          1   BY MS. BARRAZA:
                     2    Bonnie was saying in her non-optimum reports is            2      Q Okay. Let's go back and say that October 9th
                     3    actually what happened.                                    3   was the day of Grecia's termination, now that you have
                     4           MS. GINAPP: Objection. Form. Go ahead.              4   some confirmation of that. Is it still Real Water's
                     5           THE WITNESS: PLTF6 lists one, two, three --         5   position that having had these four non-optimum reports
                     6    four stores that Grecia admits she was supposed to go      6   in a row in a span of two days, and then terminating
                     7    to them, said they went to them. When it was checked,      7   Grecia on the day of the last non-optimum report is
                     8    she didn't.                                                8   still in line with its progressive disciplinary
                     9    BY MS. BARRAZA:                                            9   structure?
                    10       Q And the only way that Real Water is saying           10      A Yes, because as the reports dictate, she was
                    11    Grecia admits is because of the signature that's on the   11   verbally warned prior to these reports being issued to
                    12    bottom of the non-optimum report; is that correct?        12   not say she was going to stores and then not going to
                    13           MS. GINAPP: Objection. Form.                       13   the stores. And then the written reports were written
                    14           THE WITNESS: No, also trusting their               14   and issued, two of them acknowledged by Grecia. And
                    15    employees to do their jobs. I, unfortunately, am one      15   given the severity of what Grecia was actually doing,
                    16    person. I can't do 40 some-odd-peoples' jobs. I have      16   yes, falls in line with the progressive discipline
                    17    to entrust, as a business owner, that someone else is     17   policy.
                    18    going to perform those job duties for me, and I have to   18      Q What was Real Water's policy in 2015 insofar
                    19    trust that they're going to do that. And until they       19   as when supervisors would give out verbal warnings to
                    20    prove to me that they're not going to do that, or they    20   other workers? Is there any kind of documentation that
                    21    don't do that, I have to continue to trust them. I        21   they fill out informing the higher-ups that they gave
                    22    can't do 40 peoples' work in one day. It's impossible.    22   out a verbal warning?
                    23    Nobody can.                                               23      A No, because per the definition of a verbal
                    24           So when you have a company, and you have an        24   warning, it's verbal.
                    25    employer and an employee structure, the employer trusts   25      Q Exactly how is anybody above Bonnie supposed
                                                                    Page 114                                                       Page 116
                      1   that that employee is going to be doing their job. And     1   to know that she actually gave Grecia a verbal warning?
                      2   you're going to give them the benefit of the doubt,        2      A She talks about it in one of the reports where
                      3   just as we gave Grecia, and until it was proven wrong,     3   she says, this is the last straw that she's being lied
                      4   just as I give Bonnie and Jeramy that they actually        4   to by Grecia.
                      5   followed up, even more above Grecia's admission that       5      Q And you're saying Bonnie talked about it in
                      6   she didn't go to these stores, but that they followed      6   her own report that she wrote?
                      7   up to the different stores that they said, found that      7      A Correct.
                      8   she wasn't actually there.                                 8      Q Okay.
                      9   BY MS. BARRAZA:                                            9      A So when I read the report, that's my
                     10      Q Let me point you to -- going back to the             10   interpretation. And obviously, I'm also going off of
                     11   admissions I gave you earlier. That's Exhibit 2 --        11   Bonnie's written account -- or -- verbal account --
                     12      A I think it's 3.                                      12   excuse me -- that she verbally warned Grecia, "Hey,
                     13      Q Let's go to Admission No. 1, page 3.                 13   I'll give you a pass that you didn't go to the store
                     14         Am I correct that in Request for Admission          14   that you said you went to and stole from the company
                     15   No. 1 and the response, Real Water has admitted that      15   this time, but please don't do it again."
                     16   Grecia was indeed terminated on October 9, 2015?          16      Q Does Real Water have any knowledge of anybody
                     17      A That's what this document says. Again, I know        17   besides Bonnie submitting any non-optimum reports about
                     18   we have exit paperwork sitting in that stack somewhere.   18   Grecia?
                     19   So we could verify it, based on her signature.            19      A Not to my knowledge.
                     20      Q Do you have any reason to believe that               20      Q Were all of these non-optimum reports stored
                     21   Real Water would lie about when Grecia was terminated     21   in Grecia's file after they were submitted?
                     22   on its own responses to these admissions?                 22      A That's the proper procedure, yes.
                     23         MS. GINAPP: Objection. Argumentative.               23      Q Stored in her HR file?
                     24         THE WITNESS: I don't have any reason to             24      A In her employment file. That's the proper
                     25   believe that Kristol would have the date wrong, no.       25   procedure, yes.

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                                                                    Page 117                                                      Page 119
                      1      Q So exactly who made the decision that Grecia          1   word that is in charge of the human resources division,
                      2   was going to be terminated?                                2   or that person's immediate senior, or their senior
                      3      A From researching this after the fact of the           3   senior, depending on the situation and the condition.
                      4   lawsuit being filed, Bonnie -- that was Bonnie's           4   Generally, people sign the non-optimum reports. Why
                      5   recommendation, and Jeramy agreed.                         5   these two out of the four were not signed, I don't know
                      6      Q So Bonnie recommended to Jeramy that Grecia be        6   the specific circumstances. I wasn't in the room. I
                      7   terminated?                                                7   wasn't doing the procedures.
                      8      A Yes.                                                  8   BY MS. BARRAZA:
                      9      Q Did Jeramy have sole discretion to decide if          9       Q Okay. I want to know, who was in the room and
                     10   an employee was going to be terminated?                   10   who was doing the procedures?
                     11      A For the most part, yes. That's his area.             11       A Probably Bonnie, because she had signed --
                     12   He's the manager over that area, and he's given the       12   well, I can tell you this -- based on the procedure of
                     13   responsibility of making sure the people that are         13   how these reports are done -- again, they're written by
                     14   working underneath him are honest, ethical, producing     14   the originator -- then the originator either has the
                     15   employees.                                                15   option to give it directly to the person they're
                     16      Q Did Jeramy give any kind of notice to anybody        16   writing it on for them to sign and acknowledge it then,
                     17   higher up at Real Water that the decision had been made   17   then turns it into human resources division. Or they
                     18   to terminate Grecia?                                      18   can give it to the human resources division and have
                     19      A Not that I'm aware of.                               19   them actually confront the person, and have them sign
                     20      Q Would Jeramy have had a duty to do so?               20   it, and then it gets filed in their personnel file.
                     21      A No.                                                  21         So per the procedures -- again, I didn't
                     22      Q Do you know if in this instance Jeramy spoke         22   prepare and find this information out as far as the
                     23   to anybody else, got anybody else's opinion on whether    23   exact time, place, minute-by-minute play action of when
                     24   or not Grecia should be terminated besides Bonnie?        24   Grecia was terminated, who did it, and everything like
                     25      A I don't know, no.                                    25   that. I would imagine there was absolutely a person in
                                                                    Page 118                                                      Page 120
                      1      Q I want to know exactly the process of how             1   the room from HR, which I believe was Christian
                      2   Grecia was terminated. Was she called in to the office     2   Pantelakis, who signed her exit paperwork. I would
                      3   by somebody, how that went down?                           3   imagine probably Jeramy, and potentially Bonnie as
                      4      A Most likely -- again, I wasn't the one that           4   well.
                      5   performed the duties of actually terminating her           5      Q Okay. So topic number 16 on the list of
                      6   employment -- but the procedure is, yes, you have them     6   topics that we're here for today indicates that we're
                      7   come in; there's some documentation that needs to be       7   here to --
                      8   done, making sure that their final hours are calculated    8      A What exhibit are you referring to?
                      9   correctly; they acknowledge receipt of their final         9      Q Exhibit 1. It indicates that we're here to
                     10   paycheck, as well as given their final paycheck; and      10   determine Real Water's knowledge of the circumstances
                     11   then asked politely to leave the premises.                11   surrounding Plaintiff's termination from Real Water.
                     12      Q Did Real Water offer Grecia any opportunity to       12         So you listed out a few individuals --
                     13   write down her version of what occurred during the days   13   Christine Pantelakis, Jeramy, and Bonnie. Is it fair
                     14   that Bonnie alleged she was not following up on her job   14   to say that those individuals would have actual better
                     15   duties?                                                   15   knowledge of this to testify about that?
                     16      A Well, per the dates on the report, she had at        16         MS. GINAPP: Objection. Form. Foundation.
                     17   least a day to do that, at least somewhat of a full       17         THE WITNESS: Which point are you referring to
                     18   24-hour period or more.                                   18   again?
                     19      Q If an employee doesn't sign off on a                 19   BY MS. BARRAZA:
                     20   non-optimum report, I'm just wondering, how is anybody    20      Q Number 16. It's page 3 of Exhibit 1.
                     21   supposed to know that employee actually saw that          21         MS. GINAPP: I would also note for the record
                     22   non-optimum report?                                       22   that number 16 is vague and ambiguous.
                     23         MS. GINAPP: Objection. Form. Foundation.            23         THE WITNESS: So I do have knowledge of the
                     24         THE WITNESS: Obviously, there's not a proof         24   circumstances based on exit paperwork, which you can
                     25   of that, and you're having to go off of the person's      25   see that Christian Pantelakis signed that exit

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                                                                    Page 121                                                       Page 123
                     1    paperwork. Obviously, Grecia was there because she         1   word-for-word dictation of that.
                     2    signed it as well. And based on the procedures that we     2      Q Did you get any kind of information, let alone
                     3    have, I would imagine that Jeramy and/or Bonnie were       3   a word-for-word dictation?
                     4    present in the room as well to inform their junior why     4      A Yeah, I did. There's some text messages that
                     5    they were being terminated. And then at that time,         5   Grecia sent to Bonnie threatening -- physically
                     6    human resources department representative would take       6   threatening, threatening the company, different things.
                     7    over and then finish the paperwork and the giving of       7   So we have proof of that communication.
                     8    the final check for hours that she didn't earn because     8      Q When did you become aware of those text
                     9    she wasn't doing her job when she said she was, but we     9   messages?
                    10    paid her anyways, and asking her politely to leave.       10      A Upon review of this, after we were filed --
                    11    BY MS. BARRAZA:                                           11   after the lawsuit was filed.
                    12       Q In your preparation for this deposition, did         12      Q Okay. I just want to confirm that there's no
                    13    you actually go and ask Bonnie or Jeramy as to whether    13   document reflecting that the HR department or anyone
                    14    they were in the room when Grecia got terminated and      14   else reached out to Grecia to try to get her side of
                    15    whether they were part of actually terminating her and    15   the allegations that Bonnie made in the non-optimum
                    16    going through any kind of final paperwork with her?       16   reports; is that correct?
                    17       A I did not ask Jeramy or Bonnie if they were in       17      A There is no document specifically stating that
                    18    the room when Grecia was terminated. I did ask them       18   Grecia was informed again of her right to challenge the
                    19    about the investigation that they performed into why      19   reports. She admitted two of them -- admitted to two
                    20    they made the decision to terminate her. But I did not    20   of them by her signature. But she also did acknowledge
                    21    ask if they were in the room when she was terminated.     21   that if she felt like she was being mistreated in any
                    22       Q And you didn't ask about the specific details        22   way in the employment agreement, she would submit that
                    23    of any conversations that took place when Grecia was      23   in writing, which she did not do.
                    24    terminated; is that correct?                              24      Q I want to ask you: Back in 2015, after Grecia
                    25       A Ask the question again.                              25   signed her two employment agreements, was she given a

                                                                    Page 122                                                       Page 124
                      1      Q You didn't ask Bonnie or Jeramy about any             1   copy of those employment agreements for herself to have
                      2   specific details that took place as far as                 2   for her own records?
                      3   conversations that were had at the time Grecia was         3          MS. GINAPP: Objection. Form. Foundation.
                      4   terminated; is that correct?                               4          THE WITNESS: I can't speak to that. I don't
                      5      A Of course I asked specific details. I asked           5   know. But anybody is obviously welcome to have a copy
                      6   very specific details. I asked them about these            6   of the forms themselves.
                      7   reports that have extremely explicit, specific details     7   BY MS. BARRAZA:
                      8   of a store, the exact address, who the manager was that    8      Q Did Real Water have any kind of specific
                      9   said that they did not see her. Yes, I got specific        9   policy back in 2015 as far as making sure that the
                     10   details surrounding Grecia's termination.                 10   employees are given a copy of the employment agreements
                     11      Q I'm talking about specifically when she was          11   that they sign?
                     12   actually called and informed she was terminated, those    12          MS. GINAPP: Objection. Form.
                     13   kinds of specific details.                                13          THE WITNESS: There's no written policy or
                     14      A If they were in the room? No, I did not ask          14   procedure. But generally, if someone asks for it,
                     15   if they were in the room.                                 15   we'll make a copy for them, and they can keep it for
                     16      Q Or what kind of conversations took place at          16   their records.
                     17   that time?                                                17   BY MS. BARRAZA:
                     18      A Other than what's in these reports and what's        18      Q There is no written policy or procedure or
                     19   in the exit paperwork and the knowledge of the            19   verbal --
                     20   procedures and the policies of what's supposed to         20      A No --
                     21   happen when she was -- that were followed when she was    21          MS. GINAPP: Objection. Sorry. Go ahead. Go
                     22   terminated, I did do investigation into that, those       22   ahead and finish.
                     23   things. But did I ask for a dictation of the              23   BY MS. BARRAZA:
                     24   word-by-word conversation between human resources, her    24      Q -- or verbal policy or procedure to offer to
                     25   superior, and Grecia? No, I did not get a                 25   make them a copy of the employment agreements; is that

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                                                                    Page 125                                                       Page 127
                     1    correct?                                                   1   earning more money.
                     2           MS. GINAPP: Objection. Form.                        2   BY MS. BARRAZA:
                     3           THE WITNESS: No. It's not a policy and              3      Q What did Grecia start out earning when she
                     4    procedure that someone is to offer their employment        4   came to work at Real Water?
                     5    agreement. But if they are asked, they can absolutely      5      A I don't have the exact figure off the top of
                     6    give it to them. I can't recall anybody ever asking        6   my head, but I would knowledge somewhere between $10,
                     7    for it. Generally, people don't have a problem with        7   $15, somewhere in there. We don't actually pay anybody
                     8    it, and it is what it is, and they are excited about       8   minimum wage in our company. We pay a few dollars
                     9    actually doing their job.                                  9   over.
                    10    BY MS. BARRAZA:                                           10          MS. BARRAZA: Let's do this next.
                    11        Q Okay. So we've discussed the orientation            11               (Exhibit 7 marked)
                    12    videos, being "The Secret," "The Way to Happiness,"       12   BY MS. BARRAZA:
                    13    "Message to Garcia," the "Real Water Culture," and        13      Q I'll direct your attention just to the first
                    14    "Just Do It." Aside from those orientation videos, are    14   page in this packet of Exhibit 7, marked as page RW-60.
                    15    there any other kind of courses that the employees took   15          Do you recognize this document?
                    16    part in back in 2015?                                     16      A Uh-huh.
                    17           MS. GINAPP: Objection. Form.                       17      Q What is this document?
                    18           THE WITNESS: Yeah. There's the business            18      A It is a memo, office memo.
                    19    management courses that we offer to people to do which    19      Q What is this memo about?
                    20    go over things like statistics, measure of their          20      A The courses offered by Real Water.
                    21    production in their position, a filing system known as    21      Q Are these the optional courses that we were
                    22    Three In-Basket Filing System -- the top basket is        22   just talking about?
                    23    "in," middle basket is "pending," bottom is "out" --      23      A Yes. It says, "We are offering."
                    24    internal office communications, a way to request for a    24      Q Okay. This document, how was it distributed
                    25    new computer or something that you might want or need     25   to the employees?

                                                                    Page 126                                                       Page 128
                      1   to fulfill your job duties. These are just examples of     1      A It might have been hard copy or e-mail.
                      2   what is contained in the management policies and           2      Q Am I correct that this Real Water Course Memo
                      3   procedures in the courses.                                 3   would have been distributed to employees after they had
                      4   BY MS. BARRAZA:                                            4   already been hired?
                      5      Q Was the business management system a required         5      A It's not a continuous memo that goes out. It
                      6   course system, or was that optional?                       6   was probably issued at one point in time, and then kept
                      7      A It's optional for entry-level employees and           7   on file, which I don't know if behind these black lines
                      8   non-managerial. However, we do expect the managers to      8   there's the actual date which is potentially outside of
                      9   do some of the courses.                                    9   when Grecia was employed. I don't know.
                     10      Q As a brand ambassador, was it optional for           10      Q So does this Real Water Course Memo -- has the
                     11   Grecia to participate in these business management        11   list of courses changed over a period of time?
                     12   courses?                                                  12      A No. It's been the same.
                     13      A Was it optional?                                     13      Q Has Real Water ever implemented any different
                     14      Q Right.                                               14   version of the Real Water Course Memo?
                     15      A Yes, it was optional for her to do so. And I         15      A Not to my knowledge.
                     16   don't believe she ever took part in it.                   16      Q Are the employees given this Real Water Course
                     17      Q Is there any kind of reward system that              17   Memo with this list of courses at the time that they
                     18   Real Water offered for its employees who decided to       18   sign their employment agreements?
                     19   complete the optional courses?                            19      A It's not standard procedure, no. But if they
                     20         MS. GINAPP: Objection. Form.                        20   ask about it, this could be something that would be
                     21         THE WITNESS: Yes. If they completed a               21   offered to them.
                     22   course, we would give them a 25-cent-per-hour raise       22      Q Okay. I want to go over these courses. I
                     23   because we viewed them by learning those tools and        23   looks like there's 18 listed on here. Where did
                     24   techniques and procedures, that they would be a more      24   Real Water get these courses from?
                     25   effective and productive employee. Hence, worth           25      A Either through WISE or Hubbard College of

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                                                                         Page 129                                                 Page 131
                      1   Administration. Prior to a few years ago, WISE sold     1      BY MS. BARRAZA:
                      2   and licensed -- we buy the license to use these. So we  2         Q Okay. You pay a licensing fee.
                      3   don't pay -- somebody doesn't pay us to do it. We       3            Is that correlated in any way with any kind of
                      4   actually have to pay because we use their copyright.    4      membership that Real Water has or had with WISE?
                      5   So we pay WISE to have license to be able to use these  5         A Yeah, when you pay the money, you're
                      6   courses. And a few years, two or three years ago prior  6      considered to be a WISE member.
                      7   to that, we purchased the course materials, et cetera,  7         Q When did Real Water become a WISE member?
                      8   from WISE. But like I said, two or three years ago,     8         A I don't know the exact date, but I would
                      9   they switched over to where actually the Hubbard        9      imagine it's somewhere in between 10 and 15 years ago.
                     10   College of Administration sells the course materials.  10         Q Is there any kind of policy Real Water has of
                     11      Q What is WISE?                                     11      disclosing to its employees that it is a -- or was a
                     12     A WISE is an organization that offers the            12      WISE member?
                     13   Management Technology, Hubbard Management Technology, 13          A Other than what's in the employment agreement
                     14   and helps to get companies to utilize this type of     14      showing the difference between the Hubbard Management
                     15   policies, procedures, techniques to help increase that 15      Technology is a secular technology and the religion of
                     16   company's efficiency and overall success.              16      Scientology and how they are different, no.
                     17     Q Does WISE have any kind of connection to           17         Q So explain to me, now that Real Water gets the
                     18   Scientology?                                           18      courses from Hubbard College of Administration, is
                     19         MS. GINAPP: Objection. Foundation.               19      Real Water a member of that administration?
                     20         THE WITNESS: It's a separate entity.             20         A No.
                     21   BY MS. BARRAZA:                                        21         Q Is Real Water still a member of WISE?
                     22     Q What does "WISE" stand for?                        22         A Yes. WISE is a non-religious secular entity.
                     23         MS. GINAPP: Objection. Foundation.               23         Q Does Real Water pay any kind of dues, annual
                     24         THE WITNESS: I believe it stands for "World      24      dues, or monthly dues to WISE?
                     25   Institute of Scientology Enterprises."                 25         A Annual.

                                                                         Page 130                                                 Page 132
                      1   BY MS. BARRAZA:                                            1      Q What's the annual dues that it pays?
                      2      Q Is there anywhere on this course memo where           2      A I think it's somewhere in the realm of $1,000.
                      3   Real Water indicates that it gets the courses from         3   I can't -- there's different levels. And I don't know
                      4   WISE?                                                      4   the exact total off the top of my head. But it's
                      5          MS. GINAPP: Objection. The document speaks          5   somewhere in the realm of $1,000 a year.
                      6   for itself.                                                6      Q So am I correct that that membership paid for
                      7          THE WITNESS: I don't see somewhere, no.             7   the right to use the courses, or was there a separate
                      8   BY MS. BARRAZA:                                            8   fee that had to be paid?
                      9      Q Is there any reason that that's not included          9      A No. That membership gives you the licensing
                     10   on the Real Water Course Memo?                            10   rights to use the course materials.
                     11      A Irrelevancy.                                         11      Q How did the decision come to be made to start
                     12      Q Real Water doesn't find it relevant to inform        12   using WISE courses at Real Water?
                     13   its employees exactly where it got these courses? Is      13         MS. GINAPP: Objection. Asked and answered.
                     14   that what you're saying?                                  14         THE WITNESS: Going back to when you asked
                     15      A If they ask, it's more than -- we're more than       15   this before -- my father did some courses at the
                     16   willing to explain and tell them. But just like I         16   Hubbard College of Administration. He found that it
                     17   wouldn't tell you what I had for lunch today, it's just   17   would be useful in his company, in his business, and
                     18   something that -- unless somebody asks, we're not going   18   decided to incorporate it.
                     19   to, you know, say it.                                     19   BY MS. BARRAZA:
                     20      Q I think you mentioned a few years ago,               20      Q From the beginning, have these courses always
                     21   Real Water would buy the license to use the courses       21   been optional?
                     22   from WISE; is that correct?                               22      A As far as I know, yes.
                     23          MS. GINAPP: Objection. Misstates testimony.        23      Q From the beginning, have they always been
                     24          THE WITNESS: We pay licensing fee.                 24   correlated with a 25-cent raise?
                     25   /////                                                     25      A No, I'm not sure from the beginning of that

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                                                                   Page 133                                                      Page 135
                      1   offer to employees. I know we've given this for quite     1   no?
                      2   some years, 25 cents per course a person completes.       2     A Administered? Yes, if they took part in the
                      3   But I don't know if it was before or not, or for how      3   course, because this is a procedure of having somebody
                      4   long, if we did it before, I know when we weren't,        4   do the course, and then receive the raise.
                      5   et cetera.                                                5   Distributed? Probably not, because it looks like
                      6      Q How was the decision made about the 25-cent          6   somebody's personal notes on how to do their job.
                      7   raise specifically?                                       7     Q Do you know whose personal notes these are?
                      8      A We wanted to give people encouragement to do         8     A No, I don't know. Doesn't say.
                      9   the courses because we have certain procedures that we    9     Q Whose responsibility was it to ensure that
                     10   follow within the company. And if someone doesn't know   10   employees got their 25-cent raise if they completed an
                     11   those procedures, then they aren't able to work          11   optional Real Water course?
                     12   effectively and efficiently.                             12     A Well, there's a few people delineated in this
                     13         You know, if you don't know the rules of how       13   document in that procedure. The person that's in
                     14   to drive, you're not going to be a very good driver.     14   charge of administering the courses has them actually
                     15   So we wanted to incentivize people to take initiative    15   do the course. And then they compile what's called a
                     16   to, you know, do those courses. And so we came up with   16   Completed Staff Work, or a CSW, which basically is a
                     17   the decision to give them a 25-cent raise because if     17   form that's used for the request and approval, or just
                     18   they did the courses, they would be a more productive    18   approval of something, whether it be a raise, a new
                     19   employee. Hence, earning more wage. And we like to       19   computer for your workstation, days off, anything.
                     20   pay people more.                                         20   That would come to me, and I would review the course
                     21         MS. BARRAZA: Let's go off the record and take      21   that was done, make sure that the check sheet was
                     22   a break, five minutes.                                   22   completed, they signed off on every step, make sure
                     23         THE WITNESS: Okay.                                 23   that they, you know, did the different exercises, or
                     24                  (Recess)                                  24   essays, or written things that were asked of them. If
                     25   /////                                                    25   they did, then I would approve it, and it would go to
                                                                   Page 134                                                      Page 136
                     1    BY MS. BARRAZA:                                           1   treasury, who would then increase their pay rate. And
                     2       Q Before we left off, you were explaining some         2   then that would then go back to human resources and be
                     3    of the details regarding the 25-cent raise that           3   filed in their personnel file. So there's a few people
                     4    Real Water offers in return for the employees who         4   that are responsible for that procedure.
                     5    decide to participate in the optional Real Water          5      Q How long have you been responsible for your
                     6    courses. I'm wondering, is there any specific reason      6   portion of approving the documents that the employees
                     7    why 25 cents was selected as opposed to any other         7   submit in order to get their raises?
                     8    number?                                                   8      A A few years.
                     9       A We deemed it as a satisfactory advance.              9      Q Would you say going back to prior to 2015 at
                    10       Q Who was involved in that decision?                  10   least?
                    11       A Myself, Brent Jones.                                11      A Yes.
                    12       Q All right. So we've reviewed that, on the           12      Q Is this review that you do of the completed
                    13    Real Water Course Memo marked as Exhibit 7, there's no   13   course documents similar to the review that would take
                    14    indication that these courses are provided by WISE. Is   14   place for the orientation videos?
                    15    there any kind of verbal notification that's given to    15      A No. I would look a little bit more in depth
                    16    Real Water employees telling them that WISE has          16   in these. Again, I would make sure that the check
                    17    provided these courses to Real Water?                    17   sheet is signed off and they completed every step. I
                    18       A No, because we have the license rights to use       18   would go over some of the written practical assignments
                    19    them when we pay the membership.                         19   that were part of the course. Generally, I look at the
                    20       Q Let's go to the next page on Exhibit 7, marked      20   final one, because the final one is like -- the sort of
                    21    as RW-61. Have you ever seen this document?              21   overall general theme is, "Tell me what you learned in
                    22       A No. It looks like somebody's notes, or              22   this course." It's kind of an overview asking the
                    23    something.                                               23   person of the course. And I'll read through that. And
                    24       Q Does this look to you to be something that          24   as long as it seems like, you know, they have some
                    25    would be administered to the whole entire company, or    25   knowledge of what the course was about, that they

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                     1    actually did it, and they're not just filling out a        1   the packet, would you say that the remaining pages are
                     2    paper and saying they did it, I will approve it, and on    2   part of what you just described for the ProveIt!
                     3    it goes down the line.                                     3   system?
                     4        Q Understood.                                          4      A Yeah, it looks like this form is similar to
                     5          Have you personally read and gone through all        5   the other form except for you can order six tests at
                     6    of the 18 courses listed on the Real Water Course Memo?    6   once instead of one.
                     7        A At one time or another.                              7      Q You're talking about the form on page 63?
                     8        Q So you would be able to ascertain by reading         8      A Yes, comparing 63 to 62.
                     9    somebody's review whether or not they had actually         9      Q Okay. What about 64?
                    10    taken part in the course and they're not just making      10      A Looks like that's a copy of 62.
                    11    things up; is that correct?                               11      Q So do those ProveIt! documents have anything
                    12        A To a certain degree, because, you know, some        12   at all to do with the Real Water courses that it
                    13    people are artists at BS.                                 13   offers?
                    14        Q Okay.                                               14      A No.
                    15        A To me, that's the intention, is, I'm trying to      15      Q Okay. Did Real Water ever inform ADP that it
                    16    make sure that they actually did the course. And, you     16   was conducting this optional course program?
                    17    know, I'd like to see that they got something out of      17      A Yes.
                    18    it.                                                       18      Q When was that?
                    19        Q Have you ever reviewed somebody's course            19      A When we started their services.
                    20    documents and decided that you did not approve it and     20      Q What approximate date was that?
                    21    they would not be getting the raise?                      21      A Oh, shoot -- I know I looked that up. I think
                    22        A Yeah.                                               22   it was two and a half years ago, if I remember,
                    23        Q On how many occasions was that?                     23   somewhere in that line, two years ago.
                    24        A Over the years that I have done it -- I don't       24      Q How was ADP put on notice about the Real Water
                    25    know -- 20 or 30. But every single one of them then       25   courses?
                                                                    Page 138                                                      Page 140
                      1   went back and fixed the corrections that I gave them       1      A There's -- I don't want to call it an
                      2   and eventually finished it and got the raise.              2   interview process -- but there's like a, you know,
                      3      Q So would you write down the actual                    3   question-and-answer process when you start with their
                      4   corrections, write down what was wrong about it, and       4   services. And they go, "Okay, so tell us about your
                      5   then hand the documents back to them?                      5   business, how do you evaluate your employees?" Because
                      6      A Yes. There's a place on the form that they            6   every company is different, sometimes, you know,
                      7   file, and it says, "Approve," "Disapprove." If I check     7   companies have a very sort of structured employment
                      8   "Disapprove," below it says, "If disapproved, why," and    8   evaluation procedure where it's like every six months,
                      9   that's where I would write, you know, "The check sheet     9   we have the review, and this is what we do. Or it's,
                     10   Section 7A was blank, did you actually do this?" Or,      10   you know, wow, that person did an excellent job, I'm
                     11   you know, "There was no final essay," or things like      11   going to give them a raise. You know, every company is
                     12   that.                                                     12   different. So they kind of find out, "Okay, how do you
                     13      Q Okay. Going on to the next page, RW-62, what         13   do this, how do you do that?" And that type of thing.
                     14   is this document?                                         14      Q So the details of the Real Water Course Memo
                     15      A It looks like it is an efficiency, or some           15   would have been filled out in that questionnaire that
                     16   sort of grading test for candidates for a position        16   you just testified about; is that correct?
                     17   that's offered through ADP TotalSource. And it looks      17      A I don't know if that exact memo was issued to
                     18   like you fill this out, and it's an order or an           18   ADP. But the information that it pertains to, yes, was
                     19   acknowledgment that you want to have this test            19   given to ADP.
                     20   performed for this candidate to see if, you know,         20      Q Including that it was an optional program, and
                     21   they're proficient in typing, or managerial techniques,   21   that the employees received a 25-cent raise if they
                     22   or sales. Or some of the ones we do, because we deal      22   completed any of the courses?
                     23   in manufacturing, are mechanical aptitude. Things like    23      A I would imagine so, yes.
                     24   that.                                                     24      Q Did Real Water ever receive any kind of
                     25      Q Okay. Then looking through the remainder of          25   feedback or statement from ADP regarding the Real Water

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                      1   course program?                                            1   mention of a spiritual being, or addressing the person
                      2      A To what effect?                                       2   as a spiritual being, or the afterlife.
                      3      Q Just at all, stating this is a good idea, or          3   BY MS. BARRAZA:
                      4   this is bad? Anything? Any communications at all?          4      Q In any documents that were provided to the
                      5      A Not to my knowledge.                                  5   employees in 2015, did Real Water specifically give
                      6      Q Okay.                                                 6   that definition as to what "religious" means to its
                      7      A Oh, there's a few of them.                            7   employees?
                      8      Q Is it Real Water's position that no version of        8      A No. I think it's commonly understood.
                      9   the Real Water Course Memo ever identified that the        9      Q Let's go to the Basic Study Manual. It's
                     10   courses being offered were WISE courses?                  10   marked as number 1 on the Real Water Course Memo.
                     11          MS. GINAPP: Objection. Asked and answered.         11         Are you familiar with what the Basic Study
                     12          THE WITNESS: Was there ever an official            12   Manual is about?
                     13   document distributed saying these courses are from        13      A Yep. I did that course when I was nine years
                     14   WISE?                                                     14   old.
                     15   BY MS. BARRAZA:                                           15      Q Okay. What's it about?
                     16      Q Or anything to that effect, yes.                     16      A It gives you tools and techniques to study
                     17      A I believe we had at one time in one of our           17   better, be able to retain knowledge that you're trying
                     18   employment agreements, they talked about the Hubbard      18   to learn, and actually be able to apply it and use it
                     19   technology saying we get it from WISE, and that type of   19   instead of, you know, read something, and then five
                     20   thing. But because it didn't seem as pertinent            20   minutes later, forget -- "What did I just read?"
                     21   information when it was evaluated and reviewed and        21      Q In what ways does the Basic Study Manual
                     22   altered for whatever various reasons, depending on the    22   benefit people that were in Grecia's position,
                     23   different sections that are in the employment             23   specifically brand ambassadors?
                     24   agreement, that one was removed and that wording was      24      A So it benefits them -- well, first off, she
                     25   changed, or however, it got, you know, lost in            25   never did any of the courses. But if she was to, or
                                                                   Page 142                                                        Page 144
                     1    translation, so to speak.                                  1   why it's offered to them, is because our product is a
                     2       Q And that would have all taken place prior to          2   product that is a little bit different. It's not just
                     3    Grecia being hired; is that correct?                       3   a brand of something. It has some basis to it, or some
                     4       A Yes, because of the employment agreements             4   sort of scientific facts that go along with it. It's
                     5    that, you know, she has are on file.                       5   alkalized, negatively ionized, so there's a little bit
                     6       Q Okay. So is it Real Water's position that all         6   of science behind it. And someone needs to know and
                     7    18 of these optional courses are non-religious?            7   understand that to be able to communicate that to a
                     8       A Absolutely.                                           8   prospective customer.
                     9       Q How did Real Water form that position?                9         And like I said, I've done over 300 demos
                    10       A Because it comes from a secular entity. And          10   myself personally. And, believe me, you get some crazy
                    11    in none of these courses does it talk about someone as    11   questions. And sometimes, you know, I don't know what
                    12    a spiritual being or address the afterlife, which are     12   the answer of it is, and I'll go and say, "Hey, you
                    13    the requisites to be religious.                           13   know what, finish your grocery shopping, give me five
                    14       Q How was Real Water informed that WISE was a          14   minutes, I'm going to go research this on my phone, and
                    15    secular entity?                                           15   then I'll get back to you with an answer." And if you
                    16       A I'd imagine it's part of WISE's, you know,           16   don't know how to study and research and be able to
                    17    literature or their materials that they give out to       17   answer a question or retain knowledge about something,
                    18    inform the public about their services that they have     18   you're not going to be very good at explaining
                    19    and their products.                                       19   something to somebody.
                    20       Q Did Real Water ever perform any kind of its          20      Q Since, as you mentioned, Grecia didn't
                    21    own due diligence or investigation as to whether WISE     21   complete the Basic Study Manual, she, therefore, was
                    22    was actually a secular entity?                            22   not eligible for any compensation in the form of a
                    23          MS. GINAPP: Objection. Form.                        23   25-cent raise; is that correct?
                    24          THE WITNESS: Other than -- well, yes.               24         MS. GINAPP: Objection. Form. Foundation.
                    25    Courses were done, and it was seen that there was no      25   Go ahead.

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                     1          THE WITNESS: To my understanding, she never          1   litigation by Real Water.
                     2    started it --                                              2       A Yep.
                     3    BY MS. BARRAZA:                                            3          MS. GINAPP: I'm going to lodge a continuing
                     4       Q Okay.                                                 4   objection to the use of this exhibit as being
                     5       A -- which was totally fine. It wasn't an               5   incomplete.
                     6    issue.                                                     6   BY MS. BARRAZA:
                     7       Q Does Real Water management ever follow up with        7       Q Okay. Let's go over a few of these things. I
                     8    the employees to check on if they're completing the        8   want to start with -- let's just start with page 152.
                     9    Real Water courses?                                        9   Is this a form that the employees would actually have
                    10          MS. GINAPP: I'm going to object as to form.         10   to fill out, or no?
                    11          THE WITNESS: Well, we talked about before,          11       A The schedule?
                    12    there is a procedure for them to get their raises, and    12       Q Right.
                    13    it needs to be approved. I'm the manager of the           13       A It's encouraged that the people set a schedule
                    14    company, so --                                            14   throughout the work week. However, you know, things
                    15    BY MS. BARRAZA:                                           15   come up, people get busy, you know, sometimes it's hard
                    16       Q For an employee who decides that they don't          16   for people to make a schedule. But it's encouraged for
                    17    want to participate, they don't want to do any of the     17   people to make a schedule to go to the course room at
                    18    courses, is anybody ever following up with that           18   Real Water.
                    19    employee asking them, "Why don't you want to do these     19       Q Would this be something that's required to be
                    20    courses," or anything to that effect?                     20   filled out if the employee wants to get the 25-cent
                    21          MS. GINAPP: A non-managerial employee or a          21   raise?
                    22    managerial employee?                                      22       A No.
                    23    BY MS. BARRAZA:                                           23       Q Okay. Let's go to page 155. Am I correct in
                    24       Q For a non-managerial employee who decides they       24   assuming that the blank lines on the right-hand side of
                    25    don't want to complete the courses, is a managerial       25   this page and on the pages that follow means that
                                                                   Page 146                                                       Page 148
                      1   employee then ever following up and inquiring as to        1   that's where the employee would mark their initials
                      2   why?                                                       2   that they've actually read and completed those
                      3      A No, no one follows up with them. I mean, when         3   sections?
                      4   they say, "Hey, I don't want to do this," they might be    4      A Yes.
                      5   posed a question of, you know, "Why," or, "Do you have     5      Q Okay.
                      6   a problem with it," or, "Do you disagree with it in        6      A Looks like it.
                      7   some way," or you know, something along those lines,       7      Q So part of your duty would be to make sure
                      8   because, you know, maybe they have misinformation, or      8   that all of these lines have been initialed; is that
                      9   maybe there's a misunderstanding about something, or --    9   correct?
                     10   you know, that can be cleared up, and then, you know,     10      A Uh-huh.
                     11   both parties will be happy to proceed. But there's no,    11      Q "Yes"?
                     12   like, "Oh, six months, we're going to go back and talk    12      A Yes.
                     13   to that person." No, we don't do that, and there's no     13      Q Okay. Going to page 162, number 15,
                     14   procedure or policy to do that.                           14   Section A, it asks the reader to look up the word
                     15      Q Are any of these courses based on Scientology        15   "nonbeliever." Is it Real Water's position that that
                     16   teachings?                                                16   in any way imposes any kind of religious undertones to
                     17      A No.                                                  17   the employees?
                     18         MS. GINAPP: Objection. Form. Foundation.            18          MS. GINAPP: Objection. Form.
                     19         THE WITNESS: Absolutely not.                        19          THE WITNESS: No, because if you read the
                     20         MS. BARRAZA: This is next.                          20   section prior to that in the actual course book, and
                     21              (Exhibit 8 marked)                             21   you'll see that it's teaching a person that -- how to
                     22   BY MS. BARRAZA:                                           22   look up a prefix for a word, and then the root of the
                     23      Q I've just handed you what's been marked              23   word to find the meaning of the subsequent whole. It's
                     24   Exhibit 8, which is relevant pages from the Basic Study   24   simply a word that was used to demonstrate prefix and
                     25   Manual Course which was disclosed to us in this           25   root word.

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                     1    BY MS. BARRAZA:                                            1   any aspect of your life."
                     2       Q When you are reviewing these filled-out Basic         2      Q Okay. Now, explain to me how Real Water does
                     3    Study Manual Courses, what definition do you look for      3   not see that statement as an endorsement of
                     4    when somebody writes out their definition for              4   Scientology?
                     5    "nonbeliever"?                                             5          MS. GINAPP: Objection. Argumentative.
                     6       A I don't look at that. Generally, I don't.             6          THE WITNESS: It sees it that way because this
                     7       Q What is Real Water's position as to what the          7   isn't the course check sheet that's used.
                     8    definition for "nonbeliever" would be?                     8   BY MS. BARRAZA:
                     9            MS. GINAPP: Objection. Form. Foundation.           9      Q So you would agree with me that that statement
                    10            THE WITNESS: We generally go off of               10   actually does promote Scientology?
                    11    Merriam-Webster.                                          11          MS. GINAPP: Objection. Misstates testimony.
                    12    BY MS. BARRAZA:                                           12   Argumentative.
                    13       Q Okay. Does Real Water understand at all how          13          THE WITNESS: No.
                    14    some employees might see the word "nonbeliever" and       14   BY MS. BARRAZA:
                    15    take it to mean something religious related?              15      Q Okay. So --
                    16            MS. GINAPP: Objection. Form. Foundation.          16      A I don't think it applies because Grecia never
                    17            THE WITNESS: No. I think you're stretching        17   did this course, nor saw this document, or the one
                    18    it a little bit there.                                    18   that's actually in use.
                    19    BY MS. BARRAZA:                                           19      Q Now, let me ask you: When the employees first
                    20       Q Let's go to page 249. Can you read into the          20   start an optional course, is there any kind of system
                    21    record the second paragraph, what is marked as the "End   21   where they -- like, kind of a checking system, they're
                    22    Note" of the Basic Study Manual Course?                   22   checking out this course to mark down that they are
                    23       A And this check sheet is not the one that we          23   beginning a course?
                    24    use in the course room.                                   24      A Other than this check sheet? No.
                    25       Q I'm sorry. When you say "check sheet," what          25      Q So Real Water has no -- for example, if
                                                                    Page 150                                                       Page 152
                      1   are you talking about?                                     1   Grecia, hypothetically, had gone to HR and said she
                      2      A This is a check sheet, because you go through         2   wants to start the Basic Study Manual Course, at that
                      3   and you check off the different things that you've         3   time when she was given the course, is there any kind
                      4   done.                                                      4   of memorialization that Grecia was given the course?
                      5      Q Okay.                                                 5      A No.
                      6      A It's a check sheet that accompanies the               6      Q So I'm asking: How does Real Water know
                      7   course.                                                    7   that -- even though Grecia never completed the Basic
                      8      Q Okay.                                                 8   Study Manual Course, how does Real Water know that she
                      9      A This isn't the check sheet that we actually           9   never read that statement in the Basic Study Manual
                     10   use. It was erroneously submitted by an employee that     10   Course?
                     11   doesn't have the experience nor responsibility over the   11      A Because there's none of these that she had
                     12   area, unfortunately. And it's not the correct check       12   started, that she started the course.
                     13   sheet.                                                    13          MS. GINAPP: You need to be more specific
                     14         MS. GINAPP: Go ahead and answer the question,       14   about what "these" are.
                     15   if she still wants you to.                                15          THE WITNESS: Check sheet. Sorry.
                     16   BY MS. BARRAZA:                                           16          There's no check sheet, Basic Study Manual
                     17      Q Yes. Do you want me to repeat it?                    17   check sheet, that was started by Grecia proving that
                     18      A You just want me to read that, right? It's           18   she actually started the course.
                     19   not a question. You're asking me to do something.         19   BY MS. BARRAZA:
                     20      Q I'm asking you to do something as a question.        20      Q Okay. So it's possible she could have been
                     21   Go ahead.                                                 21   given the course, and she just never filled out any of
                     22      A "There's a further Scientology service               22   the check sheet? Is that true, or no?
                     23   available which you should now do which is designed to    23          MS. GINAPP: Objection. Calls for
                     24   bring you greater success and happiness in your work,     24   speculation.
                     25   your social life, your relationships with others, or      25          THE WITNESS: It's possible.

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                      1   BY MS. BARRAZA:                                            1   BY MS. BARRAZA:
                      2       Q Okay. So explain to me how the second                2      Q Okay. So there's no document that would
                      3   paragraph that you read into the record on page RW-249     3   verify Real Water is to only use a certain version of
                      4   is not an endorsement of Scientology.                      4   the Basic Study Manual?
                      5           MS. GINAPP: Objection. Form. Foundation.           5         MS. GINAPP: Objection. Form.
                      6           THE WITNESS: This document that is not in use      6         THE WITNESS: It's generally understood that
                      7   is obviously suggesting somebody to do the next course     7   we use the Hubbard College of Administration and the
                      8   that's there.                                              8   WISE course materials.
                      9   BY MS. BARRAZA:                                            9   BY MS. BARRAZA:
                     10       Q And would that be a Scientology course?             10      Q How is it generally understood if --
                     11           MS. GINAPP: Objection. Form. Go ahead.            11      A Because that's the membership we hold.
                     12           THE WITNESS: Per this document that's not in      12      Q Do you tell the employees that you hold a WISE
                     13   use, yes.                                                 13   membership, that Real Water holds a WISE membership?
                     14   BY MS. BARRAZA:                                           14         MS. GINAPP: Objection. Asked and answered.
                     15       Q Let's go over how it's not in use. Explain to       15         THE WITNESS: If they ask, yes.
                     16   me how this document got produced to us from Real Water   16   BY MS. BARRAZA:
                     17   if it's not in use.                                       17      Q If I told you that Frank Consiglio testified
                     18           MS. GINAPP: Objection. To the extent it           18   that he's not a Scientologist, and he doesn't believe
                     19   calls for you to disclose attorney/client privilege       19   Scientology is a real religion, why would he have a
                     20   information, I direct you not to answer that. But         20   different version of the Basic Study Manual Course
                     21   otherwise, anything that's not protected as               21   which talks about Scientology?
                     22   attorney/client communications, you can answer.           22         MS. GINAPP: Objection. Calls for
                     23           THE WITNESS: Frank Consiglio, who is not over     23   speculation.
                     24   human resources, nor does he have any responsibility in   24         THE WITNESS: I'm not sure. I don't know
                     25   the course room or knowledge of the operations of, I      25   where he got this.
                                                                    Page 154                                                       Page 156
                     1    believe he had this course. It was his. And he             1   BY MS. BARRAZA:
                     2    submitted it because, I think, I was out of town at the    2      Q So would you agree with me that this version
                     3    time.                                                      3   of the Basic Study Manual Course that we're currently
                     4    BY MS. BARRAZA:                                            4   looking at as Exhibit 8 is a non-secular document?
                     5       Q So it's Real Water's testimony today that the         5         MS. GINAPP: Objection. Form. Foundation.
                     6    Basic Study Manual Course in front of you as Exhibit 8     6         THE WITNESS: Yes, I would agree that --
                     7    was not given to any employees? Is that what you're        7   actually, no, because it doesn't address spiritual
                     8    saying?                                                    8   being or the afterlife. I mean, it says the word
                     9       A Yeah, this isn't the one that was in use.             9   "Scientology."
                    10    There's different versions of this course. So we use      10   BY MS. BARRAZA:
                    11    the one that's secular. However, there is a version       11      Q It says that you should now do the further
                    12    that does, as you see here, mentions Scientology. It      12   Scientology service; is that correct?
                    13    doesn't go into any aspects of Scientology other than     13      A So, I know what you have the objection to, is
                    14    to saying the word "Scientology." So there's different    14   the word "Scientology," which is what I addressed.
                    15    versions of the check sheet. This version is not the      15   Just because there's a word in something -- I mean,
                    16    one we use, but it is one that Frank had, for whatever    16   people say "God" in their diction on an everyday basis.
                    17    reason.                                                   17   It doesn't mean that they're discriminating against
                    18       Q Is there any kind of document that                   18   people that aren't Christian.
                    19    specifically verifies what you're saying, that there's    19      Q Am I correct that paragraph two is saying,
                    20    a certain Basic Study Manual Course that Real Water       20   "There is a further Scientology service which you
                    21    does use?                                                 21   should now do"?
                    22          MS. GINAPP: Objection. Form.                        22         MS. GINAPP: Objection. Asked and answered.
                    23          THE WITNESS: Other than the one that we have        23   The document speaks for itself. Argumentative.
                    24    on file.                                                  24         THE WITNESS: That's what it says right there.
                    25    /////                                                     25   /////

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                                                                    Page 157                                                      Page 159
                     1    BY MS. BARRAZA:                                            1      Q How do you respond?
                     2       Q Okay. Just to clarify, there's no actual              2      A It's applied religious philosophy that deals
                     3    document which can verify your testimony today that        3   with different aspects of life and allows you to be
                     4    none of the Real Water employees have ever been given      4   happier and live a better life.
                     5    this version of the Basic Study Manual Course which        5          MS. GINAPP: I'm going to object to this
                     6    includes this end note?                                    6   general line of questions on the grounds that it's
                     7          MS. GINAPP: Objection. Form. Foundation.             7   outside the scope of the Rule 30(b)(6) notice.
                     8          THE WITNESS: Not present here.                       8   BY MS. BARRAZA:
                     9    BY MS. BARRAZA:                                            9      Q Is Real Water familiar with any Real Water
                    10       Q Are you aware of any document that exists?           10   employees who have converted to Scientology during
                    11       A I can't speak to whether or not there is or          11   their time of employment at Real Water?
                    12    not one because I would need to investigate.              12          MS. GINAPP: Objection. Form.
                    13       Q Okay. Well, I'll ask you to investigate that         13          THE WITNESS: It's not something we keep track
                    14    and supplement it if you do find any document.            14   of, nor pay attention to.
                    15       A Uh-huh.                                              15   BY MS. BARRAZA:
                    16       Q Let's go on to the next page of this packet --       16      Q So are you aware of any Real Water employees
                    17    sorry -- page 251. All right. I'll give you a minute      17   who have converted to Scientology?
                    18    to read through that to yourself. Let me know when        18          MS. GINAPP: Are you asking him as the
                    19    you're done.                                              19   corporate representative or personally?
                    20       A I'm somewhat familiar with it.                       20   BY MS. BARRAZA:
                    21       Q Okay. Explain to me how this specific                21      Q I'm asking you personally.
                    22    document is not an endorsement of Scientology.            22          MS. GINAPP: Okay. Then I'll object as to
                    23          MS. GINAPP: Objection. Form. Foundation.            23   this binding the company.
                    24          THE WITNESS: This document that's not the one       24          THE WITNESS: Not that I'm aware of.
                    25    in use in the Real Water course room speaks for itself.   25   /////
                                                                    Page 158                                                      Page 160
                     1    BY MS. BARRAZA:                                            1   BY MS. BARRAZA:
                     2       Q I'm asking you: What is Real Water's position         2      Q So assuming that this Exhibit 8, the Basic
                     3    as to this document? Does this document endorse            3   Study Manual Course, is not in use, as you've just
                     4    Scientology in any way?                                    4   testified today, if this packet, if this course,
                     5           MS. GINAPP: Objection. Form. Foundation.            5   specific course, were in use, would Real Water see fit
                     6           THE WITNESS: Is there something wrong with          6   that page RW-251 would be included?
                     7    people having their own set of beliefs? Because I feel     7          MS. GINAPP: Objection. Calls for
                     8    persecuted for my set of beliefs. I feel like you, in      8   speculation. Incomplete hypothetical.
                     9    particular, are upset that I have a different set of       9          THE WITNESS: It's not in use because we don't
                    10    beliefs. I don't get upset with any of my employees.      10   think it should be.
                    11    We don't push the religion on anybody. Nor, do we         11   BY MS. BARRAZA:
                    12    promote it. This whole thing is -- this whole line of     12      Q You don't think what should be in use?
                    13    questioning that you're doing is, you're trying to        13      A This course check sheet.
                    14    vilify me for my beliefs.                                 14      Q You're talking about, in general, this whole
                    15    BY MS. BARRAZA:                                           15   version of the Basic Study Manual Course?
                    16       Q Are you personally a Scientologist?                  16          MS. GINAPP: Objection. This isn't the whole
                    17       A I am.                                                17   version of the Basic Study Manual Course.
                    18       Q Do you personally talk about Scientology at          18   BY MS. BARRAZA:
                    19    all at work?                                              19      Q Okay.
                    20       A Not unless someone asks me about it.                 20      A It's not the whole version of the Basic Study
                    21       Q Has anyone ever asked you about it?                  21   Manual Course.
                    22       A Over the many years that I have worked there,        22      Q Why doesn't Real Water think this version of
                    23    yes, people have asked me about it.                       23   the Basic Study Manual Course is not appropriate to be
                    24       Q What kind of things do they ask you about?           24   used?
                    25       A "What is it?"                                        25      A Because we respect the religious beliefs of

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                                                                    Page 161                                                       Page 163
                     1    others, and we don't want to enforce any other             1   document?
                     2    religious -- our religious beliefs on anybody. And so      2       A I think it speaks for itself. So that's what
                     3    there shouldn't be -- people should feel comfortable in    3   it looks like.
                     4    the workplace.                                             4       Q What's Real Water's position on this list of
                     5          You know, I've met people that dislike others        5   Scientology churches and organizations?
                     6    solely on the basis of religion, not just Scientology,     6          MS. GINAPP: Objection. Form.
                     7    but Christianity -- and, you know, Muslim is a big one     7          THE WITNESS: As an entity, I think it -- you
                     8    in the national stage today. And the workplace should      8   know, obviously, like I said, this is not the one
                     9    be a place where people feel that they don't have their    9   that's in use in the course room. So it's not one that
                    10    personal beliefs in question, or it's just not a place    10   we have in the office. Personally, I think it's pretty
                    11    for it.                                                   11   benign because, just because it's a list of where a
                    12          So based on those viewpoints and those              12   church is doesn't reflect any effort to discriminate
                    13    beliefs, that's why we use the other version instead of   13   against, trying to convert, promote, you know, that
                    14    this version.                                             14   they believe a certain belief, or anything like that.
                    15       Q Let's go to the next page, starting on 252.          15   BY MS. BARRAZA:
                    16    I'm let you skim through 252 through 264 just briefly.    16       Q Is it Real Water's position that this list in
                    17          Is it Real Water's understanding that those         17   no way promotes Scientology at all?
                    18    pages reflect a list of what's been identified as         18          MS. GINAPP: Objection. Argumentative.
                    19    "Basic Scientology Books"?                                19          THE WITNESS: It obviously in some way tells
                    20       A Looks like it.                                       20   people where a church is.
                    21       Q Does Real Water have any issue with this list        21   BY MS. BARRAZA:
                    22    of "Basic Scientology Books" being potentially shown to   22       Q A Scientology church; correct?
                    23    Real Water employees?                                     23       A Yes.
                    24          MS. GINAPP: Objection. Form.                        24       Q I know you just testified that this Exhibit 8
                    25          THE WITNESS: Honestly, I feel like if this          25   version of the Basic Study Manual Course is not in your
                                                                    Page 162                                                       Page 164
                     1    was shown to an employee, it wouldn't be that big of a     1   office, meaning in Real Water's office. But I just
                     2    deal. If someone had a problem with it, you know, we       2   want to clarify where this came from, if not the
                     3    wouldn't have it in their work area. I have a Bible on     3   Real Water's office?
                     4    my bookshelf in my office, you know, and I have            4          MS. GINAPP: Objection. Asked and answered.
                     5    meetings in my office where I bring people in, and I       5   Also misstates testimony.
                     6    have to go over their job performance, or what have        6          THE WITNESS: I'll have to further investigate
                     7    you. If someone said, "Hey, I don't like coming into       7   to find out exactly where Frank got this one and sent
                     8    your office because there's a Bible," I probably would     8   it in. I have a feeling it might have came from my
                     9    remove the Bible. You know what I mean? But just           9   personal bookshelf or my father's personal bookshelf.
                    10    because this is something that has something to do with   10   But I have to clarify that with him.
                    11    a religion, we're not trying to convert people and        11   BY MS. BARRAZA:
                    12    discriminate against their own religious beliefs.         12       Q Do any of these Real Water courses listed on
                    13    That's not a policy or procedure or effort that we're     13   Exhibit 7 talk about suppressive persons?
                    14    making.                                                   14       A I can't say -- I know there's -- most of the
                    15    BY MS. BARRAZA:                                           15   vast majority of these courses do not. However, I know
                    16       Q Okay. So on the version of the Basic Study           16   there's one that I don't know if it uses that term or
                    17    Manual Course that you contend is distributed to          17   that set of words to describe the concept in that
                    18    employees, is there a list of Scientology books in that   18   course.
                    19    version?                                                  19       Q What does a "suppressive person" mean?
                    20       A No.                                                  20          MS. GINAPP: Objection. Form. Foundation.
                    21       Q Okay. Let's go to the next section starting          21          THE WITNESS: Per the dictionary, "suppress,"
                    22    on page 265.                                              22   to put down or make less of. "Person" is an
                    23          This looks to be a list of Scientology              23   individual. So someone that -- putting them
                    24    churches and organizations. Is that Real Water's          24   together -- someone that has bad intentions for
                    25    understanding of the pages that go to the end of this     25   somebody else, or something along those lines.

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                                                                    Page 165                                                       Page 167
                     1    BY MS. BARRAZA:                                            1                (Exhibit 9 marked)
                     2      Q Where did you personally first hear the term           2   BY MS. BARRAZA:
                     3    "suppressive person"?                                      3      Q I just handed you what's been marked as
                     4          MS. GINAPP: Objection. Form.                         4   Exhibit 9. I'll represent this is relevant pages from
                     5          THE WITNESS: Personally?                             5   what's been disclosed in this litigation from
                     6          MS. GINAPP: And I would also object that it's        6   Real Water as the "Formulas for Business Success"
                     7    outside the scope of the deposition notice.                7   course document.
                     8          THE WITNESS: I don't recall where I first            8      A Correct. Looks like that to me.
                     9    personally heard it.                                       9         MS. GINAPP: I'm going to lodge a continuing
                    10    BY MS. BARRAZA:                                           10   objection to this exhibit on the basis that it's
                    11      Q Have you ever heard that term used in a               11   incomplete.
                    12    Scientology setting?                                      12   BY MS. BARRAZA:
                    13      A Yeah.                                                 13      Q So this, if I'm correct, is on the list of
                    14      Q In what way do Scientologists use that term?          14   Real Water courses, on the list of optional Real Water
                    15          MS. GINAPP: Objection. It's outside the             15   courses as number 4. Is that also your understanding
                    16    scope of the deposition notice.                           16   that this is part of the optional Real Water courses?
                    17          THE WITNESS: They use it to describe somebody       17      A It is an optional course, yeah.
                    18    that has malicious intent towards another person or       18      Q Okay.
                    19    group.                                                    19      A I don't know what number it is -- here it is.
                    20    BY MS. BARRAZA:                                           20   Yep, sure looks like number 4.
                    21      Q Is it Real Water's position that the term             21      Q Okay. Briefly explain to me what "Formulas
                    22    "suppressive person" has no religious undertones          22   for Business Success" is all about.
                    23    whatsoever?                                               23      A It kind of goes over the ideas, first, of --
                    24          MS. GINAPP: Objection. Outside the scope of         24   it kind of gives some examples of some larger-scale
                    25    the deposition notice. Sorry. Also form, in general.      25   events in our history, governments, companies, and the
                                                                    Page 166                                                       Page 168
                     1          THE WITNESS: I don't know where this is              1   different time periods or conditions that they went
                     2    coming from because we don't have any documentation,       2   through that ultimately either led to their success or
                     3    and we don't promote the term "suppressive person" to      3   failure. And gives kind of an explanation of the
                     4    any of our employees. I think you probably looked          4   different types of times or conditions that they were
                     5    something up online and thought it might be an avenue      5   operating in. And it kind of gives an idea of that.
                     6    to investigate.                                            6         And then it goes into actually putting names
                     7          But as in any religion, you use language to          7   to those types of conditions that an entity, or a
                     8    portray ideas. So just because a certain grouping or a     8   government, or a person, or what have you, can be in.
                     9    word is in the Bible, or the Koran, or Vedic's, doesn't    9         And then it gives you certain steps that,
                    10    mean that it has to be and come from that, or it's        10   based upon the identification of the specific condition
                    11    religious.                                                11   that you're in, to improve that condition, and
                    12          So, yes, that term, those two words are used        12   basically do better at whatever that is, whether it's
                    13    in Scientology to describe an idea so it can be           13   your personal life, the business, the government,
                    14    communicated and understood to somebody else.             14   the -- whatever.
                    15    BY MS. BARRAZA:                                           15      Q Does it talk about communism in this document?
                    16       Q Can Real Water understand how, if an employee        16         MS. GINAPP: Objection. Form. Foundation.
                    17    sees the term "suppressive person" or hears the term      17         THE WITNESS: I know in the first couple
                    18    "suppressive person" used at Real Water, they could       18   pages, it talks about socialism.
                    19    potentially associate it with Scientology?                19   BY MS. BARRAZA:
                    20          MS. GINAPP: Objection. Speculation.                 20      Q What does it say about socialism?
                    21    Incomplete hypothetical. Form. Foundation.                21      A "Socialism fails, and it always fails, because
                    22          THE WITNESS: Yeah, I think it's -- I don't          22   of two factors: The government seeks to run the
                    23    think the common person knows or believes that that's a   23   individual, and; socialism unmocks companies."
                    24    Scientology term.                                         24      Q Do you think that's appropriate to have a
                    25          MS. BARRAZA: Okay. Let's do this next, 9.           25   document given to employees which talks about socialism

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                                                                    Page 169                                                      Page 171
                     1    or communism and whether or not those are good notions     1   didn't understand what the term was, and so it's kind
                     2    to live by?                                                2   of just a misunderstanding. And I'd be surprised
                     3           MS. GINAPP: Objection. Outside the scope of         3   because it's never really came up. And just because
                     4    the Rule 30(b)(6) deposition notice. Form.                 4   two words are used within a religious, you know, text
                     5    Foundation.                                                5   or work, it doesn't mean that that, those two words
                     6           THE WITNESS: It obviously clearly doesn't say       6   solely only mean this religion.
                     7    that socialism and communism are goods ways to live by.    7   BY MS. BARRAZA:
                     8    So your question was a little bit incorrect there.         8       Q Does Real Water understand how some employees
                     9    However, with that correction, I don't feel that it's      9   might be hesitant to actually complain about some of
                    10    not inappropriate. If someone did have an issue with      10   the text that's in documents that they need to review
                    11    it, however -- you know, again, these courses are         11   if they want to get their 25-cent raise?
                    12    optional. They don't have to do them. They can skip       12         MS. GINAPP: Objection. Asked and answered.
                    13    this one and go on to the next one, or not do them at     13   Calls for speculation. Incomplete hypothetical. Form.
                    14    all, or whatever.                                         14   Foundation.
                    15           But, you know, I think the general populous        15         THE WITNESS: I truly believe that the culture
                    16    here in America thinks that communism and socialism --    16   we have at our company is one that encourages, if
                    17    well, we've kind of got an increase in the popularity     17   someone has an issue or a problem, that they are
                    18    of socialism and communism recently. But a lot of         18   welcome to bring it up and have it be addressed in a
                    19    people don't think that they're very good ways to         19   way that they'll feel good about.
                    20    govern.                                                   20         I take offense to when people are mistreating
                    21    BY MS. BARRAZA:                                           21   other employees. You know, just the other week, there
                    22        Q Let me point to page RW-1110 in this packet.        22   was an issue between two employees. And one was -- you
                    23    You'll see towards the bottom of this document the term   23   know, not to get all into it -- doing -- you know,
                    24    "suppressive person" is defined. So I didn't just pull    24   making fun of the other one, for whatever reasons, and
                    25    that term out of nowhere. It actually came from           25   the other one didn't like it, and what have you. And
                                                                    Page 170                                                      Page 172
                      1   Real Water's documents that they disclosed to us.          1   so we made sure that it got addressed, and the person
                      2      A There we go. Good. We found it.                       2   that was doing the insults was corrected. And, you
                      3      Q Is it Real Water's position that there's no           3   know, I personally talked to the person that was being
                      4   problem with the term "suppressive person" being in a      4   insulted, and I said, "Look, we don't want you to feel
                      5   document that it implements in part of an optional         5   unwelcome here, you need to feel welcome, it's very
                      6   course?                                                    6   important that you feel that way."
                      7      A No. Again, it's optional. There's no mention          7         So, you know, I honestly don't think that
                      8   of anything religious. It doesn't address somebody as      8   people would feel hindered to bring up an objection,
                      9   a spiritual being or in the afterlife. And it's solely     9   because I've been around this company for a long time
                     10   used in the glossary to explain an idea or a concept.     10   I've dealt with interpersonal disputes more than I'd
                     11   I mean, if you even just take a minute and think --       11   like to, because it usually comes down to something
                     12   have you ever been encountered with somebody that just    12   stupid. And I don't want people to feel that way. And
                     13   really had it out for you? How did you feel when you      13   I think that my employees, or our employees don't.
                     14   were around them? Not very good; right?                   14   BY MS. BARRAZA:
                     15      Q All right. Moving on: Would Real Water be            15      Q Is there another version of the "Formulas for
                     16   surprised if an employee indicated that they were         16   Business Success" that's out there that --
                     17   offended by seeing the term "suppressive person"          17      A I'm not sure.
                     18   because they associate that with Scientology?             18      Q So is Real Water prepared to testify today
                     19         MS. GINAPP: Objection. Form. Foundation.            19   that this version marked as Exhibit 9 is actually part
                     20         THE WITNESS: Me, personally? I would --             20   of the Real Water course and given to employees who
                     21   yeah, I'd probably be surprised because, one, I've        21   want to do that course?
                     22   never heard it as an issue or a problem before from       22      A Yes.
                     23   anybody. And generally, when I have heard it outside      23      Q Okay. Has anybody ever complained to
                     24   of the workplace said to me in a derogatory,              24   Real Water about any of the 18 courses listed on the
                     25   discriminative way towards my beliefs, the person         25   course list?

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                                                                    Page 173                                                      Page 175
                     1          MS. GINAPP: Objection. Form.                         1   that.
                     2          THE WITNESS: Not that I'm aware of. I don't          2      Q Let's go to page RW-1113 in Exhibit 9. Looks
                     3    know of any written complaints to where it's gone to       3   like this is an "About the Author" section. Is that
                     4    that degree where they were that offended, or that         4   your understanding of it?
                     5    upset, or what have you. But I can't say for any           5      A Uh-huh.
                     6    verbal objections or, you know, misunderstandings, or      6      Q Does Real Water have any kind of objection
                     7    what have you. But, again, they're optional. So, you       7   with giving its employees a document which talks about
                     8    know, it's not like -- if someone says they don't want     8   L. Ron Hubbard, the founder of Scientology, at all?
                     9    to do it, it's not like, well, we go, "Well, why don't     9      A No.
                    10    you want to do it?" We just go, "Okay."                   10      Q Read for me into the record the second
                    11    BY MS. BARRAZA:                                           11   sentence in the fourth paragraph of that page you're
                    12       Q Was Real Water ever put on notice that Grecia        12   on, 1113.
                    13    had any objection to either the orientation videos or     13      A "Having traveled wildly through Asia as a
                    14    any of the optional Real Water courses because she felt   14   youth" -- or -- "widely" -- excuse me -- "through Asia
                    15    they were Scientology related?                            15   as a youth, he realized that neither East nor West
                    16       A At the time of her employment, no. The first         16   contained the full answer to the problems of
                    17    instance of knowledge of her being upset with it was      17   existence."
                    18    when the lawsuit was filed.                               18      Q Does Real Water understand how some employees
                    19       Q In your preparation for today's testimony, did       19   could read that and interpret that in a religious way?
                    20    you talk to Bonnie Mercado and ask her if Grecia ever     20      A No.
                    21    talked to Bonnie about this and indicated she had         21          MS. GINAPP: Objection. Form. Foundation.
                    22    problems with any of the orientation videos or the        22          THE WITNESS: It doesn't have anything to do
                    23    optional courses?                                         23   with religion, spiritual being, or addressing the
                    24       A Yeah, I've talked to her about that. And she         24   afterlife.
                    25    said that that didn't come up as a major objection or     25   /////
                                                                    Page 174                                                      Page 176
                      1   something that was an issue or a problem that Grecia       1   BY MS. BARRAZA:
                      2   ever lodged.                                               2      Q You don't think the "problems of existence"
                      3      Q What about as a minor objection?                      3   has anything to do with religion at all?
                      4      A No.                                                   4      A No.
                      5      Q Okay.                                                 5         MS. GINAPP: Objection. Form.
                      6      A I mean, she never even did any of the courses.        6   BY MS. BARRAZA:
                      7   She didn't do it. She watched the videos, and her          7      Q Okay.
                      8   reviews were, you know, glowing. She said she loved        8      A When you take courses in philosophy in
                      9   it. But a year and a half later during a political         9   college, are they considered religious courses?
                     10   cycle --                                                  10         MS. BARRAZA: Let's go to my next exhibit.
                     11      Q All right. Did Real Water ever conduct any           11   This is 10.
                     12   investigation after receiving notice of this lawsuit to   12               (Exhibit 10 marked)
                     13   determine whether or not Bonnie Mercado's side of the     13   BY MS. BARRAZA:
                     14   story is right, that Grecia indeed never did complain     14      Q This document marked as Exhibit 10, I'll
                     15   at all about any of the videos or any of the courses?     15   represent to you is relevant pages from what has been
                     16      A Other than -- yes -- reviewing the                   16   disclosed from Real Water as the "Speaking from
                     17   documentation within Grecia's personnel file, which       17   Experience" course.
                     18   we've already discussed and gone over; having the         18         MS. GINAPP: I'm going to lodge a continuing
                     19   conversations with Bonnie and Jeramy, which we've         19   objection to this exhibit as incomplete.
                     20   discussed and gone over; and the non-optimum reports,     20   BY MS. BARRAZA:
                     21   reviewed those. You know, it's kind of too late to        21      Q Okay. Do you recognize the "Speaking from
                     22   call those stores again a year and a half later. That     22   Experience" course?
                     23   wouldn't have been much use. I reviewed her movie         23      A This book, yes.
                     24   reviews and the different things, the text messages       24      Q What briefly is this book about?
                     25   that she sent Bonnie that were threatening, and all       25      A This book is a very concise overview of the

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                                                                    Page 177                                                       Page 179
                      1   management, Hubbard Management Technology. Somebody        1      A "Just Do It" is done by a Christian. I think
                      2   decided to compile certain parts of this technology and    2   he's -- I can't remember if he's a Priest, or a Pastor,
                      3   put it into this book format to introduce people to        3   or a Father, or whatever his term is, or what have
                      4   that style of company administration, and policies, and    4   you -- but, Art Williams -- you can look him up. He's
                      5   procedures, and -- et cetera.                              5   got a Wikipedia page, and you can probably get it
                      6       Q Is it Real Water's opinion that participating        6   pretty quick.
                      7   in this "Speaking from Experience" course will help a      7      Q Is it Real Water's position that the contents
                      8   brand ambassador in his or her duties?                     8   of the "Just Do It" video promotes any kind of
                      9       A Yeah. It goes over one of the policies and           9   religion?
                     10   procedures that we use as far as evaluating persons'      10      A No.
                     11   job performance, which is statistics. We actually have    11      Q Is it Real Water's position that the contents
                     12   them count how many bottles that are sold whether         12   of "Just Do It" mentions any kind of religion?
                     13   they're in a store, et cetera. And then we use that       13      A No.
                     14   value for that time, compare it to other times, whether   14      Q Let's review -- just so I can get Real Water's
                     15   it be for the week, for that specific store. So maybe     15   testimony the "Speaking from Experience" document --
                     16   when they went to that store on the beginning of          16   are there any other versions of the "Speaking from
                     17   March -- let's say, as an example -- and then when they   17   Experience" document out there that Real Water uses?
                     18   returned to that store at the end of March. Did they      18      A Not -- that Real Water uses? No. I'm sure
                     19   do better at that store? Did they do worse at that        19   there's other editions of the book. And if I was to
                     20   store? That's one example of how the information          20   look over the whole time that we've ever had a copy of
                     21   contained in this book could help a brand ambassador.     21   "Speaking from Experience" on the premise of
                     22       Q Okay. Let's go to page 1312 of Exhibit 10.          22   Real Water, there might have been a different
                     23   I'll have you read the last sentence -- I mean -- the     23   copyrighted version, because, you know, when books are
                     24   first sentence of the last paragraph of that document.    24   released and they're sold on a continuous basis,
                     25       A "Mr. Hubbard was a man of amazing                   25   there's little things that are changed, and updated,
                                                                    Page 178                                                       Page 180
                     1    accomplishment."                                           1   and what have you. But, no, this looks like the
                     2       Q Sorry. Continue on to the next sentence.              2   version that we have on our premises.
                     3       A "Although many of his years were spent in the         3      Q So it's only the Basic Study Manual which had
                     4    development of Scientology, it was only one facet of       4   the list of the Scientology churches, and which
                     5    his incredible contribution to mankind."                   5   indicate you should now participate in Scientology that
                     6       Q Does Real Water have any objection with this          6   Real Water is testifying was not part of the course?
                     7    document being in part of the Real Water course that it    7          MS. GINAPP: Objection. Form.
                     8    distributes to its employees for the optional raises?      8          THE WITNESS: Yeah, that check sheet is the
                     9       A No.                                                   9   only one out of the three that we just reviewed that is
                    10       Q Does Real Water understand how a document            10   not in use at Real Water.
                    11    which indicates Scientology as an "incredible             11   BY MS. BARRAZA:
                    12    contribution to mankind" can be seen as imposing          12      Q Okay. Was it ever in use?
                    13    religion on to its employees?                             13          MS. GINAPP: Objection. Asked and answered.
                    14       A No.                                                  14          THE WITNESS: I think I just realized where it
                    15          MS. GINAPP: Objection. Calls for                    15   came from.
                    16    speculation. Form. Foundation.                            16          MS. GINAPP: Okay.
                    17          THE WITNESS: I mean, if you follow that logic       17   BY MS. BARRAZA:
                    18    that you just put across, you're basically agreeing       18      Q Go ahead. Where do you think it came from?
                    19    that we -- that one religion should eradicate the other   19      A Well, I'd rather verify it before I put it on
                    20    religion. That's not how I feel. I feel you should        20   the record. But I think I just realized where it came
                    21    respect the other religious beliefs of someone else.      21   from.
                    22    BY MS. BARRAZA:                                           22          Sorry. Ask your question again.
                    23       Q Now, does Real Water have any kind of                23      Q Was the version that I produced to you as
                    24    documents that it distributes to its employees that       24   Exhibit 8 ever, ever used as part of the courses?
                    25    mentions other religions besides Scientology?             25      A No, not offered through the course room or

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                                                                    Page 181                                                       Page 183
                      1   that program that's in Real Water.                         1   author.
                      2      Q All right. I'll ask you to supplement your            2         And, you know, on the practical side, a
                      3   Real Water's written discovery with any kind of            3   company -- it would behoove that company to have their
                      4   accurate information that comes about as to which Basic    4   employees producing more effectively. So if they were
                      5   Study Manual was implemented.                              5   able to produce more effectively by reading this, it's
                      6      A Sure, no problem.                                     6   good for the company. So it should be good for the
                      7      Q Okay. Did Real Water offer its employees the          7   employee. They should be compensated and rewarded for
                      8   opportunity to read "The 10X Club"?                        8   that.
                      9      A It's a book called "The 10X Rule."                    9      Q Now, are any non-manager Real Water employees
                     10      Q Okay.                                                10   allowed to participate in The 10X Club and read The 10X
                     11      A We have a term that we use. It's "The 10X            11   Rule in order to get the compensation for it?
                     12   Club." And when someone has read the book, they're in     12      A If someone wants to read a book, I am not
                     13   The 10X Club.                                             13   going to stop them from reading a book.
                     14      Q When did that program begin?                         14      Q Would Real Water then, in turn, compensate the
                     15      A A year ago, something like that.                     15   employee if they completed it within the one week, the
                     16      Q Would it have been before or after October of        16   two weeks, or the three weeks?
                     17   2015?                                                     17      A Uh-huh.
                     18      A I don't know the exact date. I was trying to         18         MS. GINAPP: The manager employee?
                     19   think of that, actually, earlier today. And I would       19         MS. BARRAZA: The non-manager employee.
                     20   have to verify when it was, if it was before, or prior    20         MS. GINAPP: Oh, the non-manager employee.
                     21   to Grecia working at Real Water.                          21   Oh, okay.
                     22         MS. BARRAZA: Okay. Let's mark this.                 22         THE WITNESS: Yeah.
                     23         THE WITNESS: But if you have something that         23   BY MS. BARRAZA:
                     24   says, great.                                              24      Q Okay. It indicates here at the bottom, "Brent
                     25              (Exhibit 11 marked)                            25   just orders more copies of the book." I assume that's

                                                                    Page 182                                                       Page 184
                     1          THE WITNESS: Hey, there we go, October 1st.          1   referring to Brent Jones; is that correct?
                     2    Look at that.                                              2      A Yeah. I believe there's a typo. I think it
                     3    BY MS. BARRAZA:                                            3   was supposed to be, "Just ordered," not "orders," but,
                     4       Q Can I assume that the date at the top, October        4   "Ordered more copies of the book."
                     5    1st, 2015, corresponds with the date that this document    5      Q Okay. Where did Brent Jones order copies of
                     6    was actually created or distributed?                       6   the book from?
                     7       A Yeah, somewhere, I'm sure it was around that          7      A We usually get them off of Amazon. They sell
                     8    time.                                                      8   a lot of books.
                     9       Q Now, explain to me -- it says on here, if you         9      Q Now, we went over how Real Water pays WISE in
                    10    read "The 10X Rule" within one week, you get $150;        10   order to get the documents for the optional Real Water
                    11    within two weeks, you get $100; within three weeks you    11   courses; is that correct?
                    12    get $50. Is that your understanding?                      12      A Yes.
                    13       A Yes.                                                 13      Q Okay.
                    14       Q Okay. Why was that system put into place?            14      A And the ability to do so.
                    15       A Well, first, I'd like the record to indicate         15      Q Okay. Now, does Real Water receive any kind
                    16    that this was for managers, which it explicitly says in   16   of compensation whatsoever from WISE?
                    17    the title of, "New Game, All Managers" --                 17         MS. GINAPP: Objection. Asked and answered.
                    18       Q Okay.                                                18         THE WITNESS: No.
                    19       A -- which didn't apply to Grecia because she          19   BY MS. BARRAZA:
                    20    was an entry-level employee.                              20      Q When employees fill out the corresponding
                    21          However, we did this because Grant Cardone is       21   documents for the optional Real Water courses, does
                    22    gaining a lot of fame as a motivational speaker, and      22   Real Water send any of those documents back to WISE?
                    23    being able to give people tools, or viewpoints, or what   23      A No.
                    24    have you, to sell better, or live a better life, or       24      Q Does Real Water do anything with those
                    25    achieve things. He's a motivational speaker and           25   documents aside from storing them in the employee's

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                      1   employment file?                                           1                  (Recess)
                      2      A No.                                                   2   BY MS. BARRAZA:
                      3         MS. GINAPP: Objection. Asked and answered.           3      Q I've just handed you Exhibit 12. Have you
                      4   BY MS. BARRAZA:                                            4   ever seen this document?
                      5      Q Okay.                                                 5      A I think -- yeah, I think I've seen it before.
                      6      A There's no conspiracy going on.                       6      Q When was the first time that you saw it?
                      7      Q Is it Real Water's position that "The 10X             7      A In preparation for this, maybe within a last
                      8   Rule" book is a purely secular book?                       8   month or so.
                      9      A Yes.                                                  9      Q It looks like this document is filled out by
                     10      Q When did Real Water first become aware that          10   Grecia. Is that your understanding?
                     11   Grecia had filed a Charge of Discrimination?              11      A Looks like it, yeah, because she signed it at
                     12      A When somebody from your office probably              12   the bottom.
                     13   notified the local press and they showed up at our        13      Q Looks like it's dated December 15, 2015. Is
                     14   office, and it was on local news, and national            14   that your understanding?
                     15   headlines, and newspapers.                                15      A Looks like it.
                     16      Q So you're telling me local press showed up at        16      Q It states within, "The Particulars: I had to
                     17   Real Water's business? Is that what you're saying?        17   watch videos during orientation and then take a test
                     18      A Yeah. My father and I were running for               18   afterwards. However, the videos I had to watch were
                     19   election here in Nevada, elected offices. And it was      19   based upon L. Ron Hubbard and Scientology."
                     20   three weeks before the election. And someone probably     20         Now, does Real Water agree or disagree with
                     21   thought it would be bad press for our election for this   21   that statement?
                     22   to be coming up.                                          22      A Disagree.
                     23      Q Approximately when was this?                         23      Q Okay.
                     24         THE WITNESS: What was the date it was filed?        24      A Because in order for it to be a test, there is
                     25         MS. GINAPP: Just you have to answer to the          25   some grading system involved. It was solely a review
                                                                    Page 186                                                       Page 188
                      1   best of your recollection, if you recall.                  1   that was not graded, so it could not be or understood
                      2         THE WITNESS: We didn't look at the original          2   as a test. And the videos and mention, which we've
                      3   Complaint, did we, or filing -- deposition --              3   gone over today, are secular and don't have anything to
                      4         MS. GINAPP: It's not in there.                       4   do with Scientology. Some of them don't even have
                      5   BY MS. BARRAZA:                                            5   anything to do with L. Ron Hubbard.
                      6      Q Would you say it would have been earlier this         6      Q What about her statement that she had to watch
                      7   year of 2016? Would it have been last year, 2015?          7   the videos? Does Real Water agree or disagree with
                      8      A It was earlier this year. And it was, I               8   that?
                      9   believe, the day that it was filed, because we hadn't      9      A Well, I'm glad you brought that up because,
                     10   even been served before the news van showed up at our     10   obviously, it's -- the hiring procedure is presented in
                     11   office.                                                   11   a fashion of steps to do. For instance, have the
                     12      Q Okay. Now --                                         12   person fill out an application. You know, make sure
                     13         MS. GINAPP: Just to clarify for the record,         13   it's correct, et cetera. Do the employment agreement.
                     14   they were never served with the Charge of                 14   Do other employment forms. Have them watch this video.
                     15   Discrimination.                                           15   Have them watch that video. Take them around the
                     16         MS. BARRAZA: Okay. Got it.                          16   office to introduce them to the people in their work
                     17         THE WITNESS: Oh.                                    17   areas. You know, et cetera, step-by-step procedure.
                     18   BY MS. BARRAZA:                                           18          So the person administering the checklist will
                     19      Q Has Real Water ever seen the Charge of               19   basically go through and administer the checklist, and
                     20   Discrimination that Grecia filled out with the Nevada     20   approach the individual, the new hire, and say, "Okay,
                     21   Equal Rights Commission?                                  21   the next thing we're going to do is watch this video."
                     22      A I believe somebody has reviewed that, yes.           22   If they object -- which I can't think of a time anybody
                     23         MS. BARRAZA: We'll mark this Exhibit 12.            23   did object, you know, and really didn't want to watch
                     24              (Exhibit 12 marked)                            24   them -- then it would be fine. But it's by no means
                     25            (Discussion off the record)                      25   enforced, or made, or pushed on someone that they have

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                      1   to watch them.                                             1   done.
                      2      Q Does Real Water have any kind of policy               2      Q Does Real Water have any reason to believe
                      3   insofar as making sure that its supervisors are writing    3   that Grecia's statement that she complained to
                      4   down any instance or reporting any instance where an       4   Ms. Mercado on more than one occasion about the courses
                      5   employee does indicate that he or she doesn't want to      5   is inaccurate?
                      6   watch any of the orientation videos or participate in      6         MS. GINAPP: Objection. Form.
                      7   any of the optional courses?                               7         THE WITNESS: Ask that again, please.
                      8      A Did you ask if there's a written policy or            8   BY MS. BARRAZA:
                      9   procedure?                                                 9      Q Does Real Water have any reason to believe
                     10      Q Right. Is there a written policy or                  10   that when Grecia states that she complained to
                     11   procedure?                                                11   Ms. Mercado on more than one occasion about the
                     12      A I don't believe we have one. But as a general        12   Real Water courses, that that statement is not the
                     13   sort of understanding, you know, the employee files       13   truth?
                     14   there is a documented record of that person's             14      A Yes and no. Yes, because based on, of how she
                     15   employment history. And if someone did, then I could      15   acknowledged in the employment agreement, the proper
                     16   see how someone would interpret that purpose of those     16   procedure for lodging a complaint is to put it in
                     17   employment files that they would write a note saying      17   writing. No document was -- has been found to that
                     18   they didn't want to watch this, or what have you, maybe   18   nature. However, I don't personally know Grecia, so I
                     19   on the checklist itself and say, oh, they refused to      19   couldn't be a good judge of her character.
                     20   watch this.                                               20      Q Okay. Just to clarify: Real Water never
                     21      Q Have you ever seen any of those notations            21   received notice of this Exhibit 12 until when?
                     22   being made?                                               22      A I don't know the exact date when we received
                     23      A No.                                                  23   this. I would imagine, because I'm -- at least from my
                     24      Q Let's go to the next page of this exhibit. At        24   experience in the past, when something is filed with a
                     25   the top, it says, "In order to get a 25-cent raise, I     25   government agency, it's then mailed out after its
                                                                    Page 190                                                       Page 192
                      1   had to read a Scientology book and answer questions to     1   processing to the person it's being filed against, that
                      2   Clare."                                                    2   we did get a copy, and then sent it to the TotalSource,
                      3          It goes on: "I never felt comfortable reading       3   which dealt with our employment insurance, et cetera.
                      4   books pertaining to religion in order to get a raise.      4      Q Does Real Water have any knowledge of
                      5   However, Brand Ambassador Bonnie Mercado was persistent    5   TotalSource conducting any kind of investigation into
                      6   that I read these books pertaining to Scientology. I       6   the allegations of this charge?
                      7   complained to Ms. Mercado on more than one occasion        7      A Yeah, I believe that they did.
                      8   that I did not see the purpose of religion being the       8      Q What were their findings?
                      9   primary reason I do and/or do not get a raise."            9      A That she had prior instances of Workers' Comp
                     10          Now, does Real Water agree or disagree with        10   claims, et cetera, et cetera, and different things, and
                     11   those statements?                                         11   that this is something that they would cover with the
                     12          MS. GINAPP: Objection. Form. Foundation.           12   insurance.
                     13          THE WITNESS: I was unable to find any proof        13      Q Now, I want to go back to when you mentioned
                     14   that she actually did one of the courses.                 14   that approximately earlier this year the press showed
                     15   BY MS. BARRAZA:                                           15   up at Real Water's building and started asking
                     16      Q You're talking about the optional courses?           16   questions about this lawsuit; is that correct?
                     17      A Correct, regarding to the 25-cent raise.             17      A Uh-huh.
                     18          I was never able to find any documentation         18      Q At that point, did anybody from Real Water
                     19   proving that she did do any of those courses. So I        19   speak to the press?
                     20   object to that based on the -- you know, that there's     20      A I don't think so.
                     21   no documentation showing that. And she's not              21      Q Has anybody from Real Water ever spoken to the
                     22   required -- was never required to do it, even if she      22   press about this lawsuit?
                     23   did. And as she acknowledged in the employment            23      A Yeah. They reached out to us to comment, of
                     24   agreement, the proper procedure, if she did have a        24   course. And we set up an interview with Channel 13, I
                     25   complaint, was to put it in writing, which was never      25   think it was. And an interview of Brent Jones was

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                     1    conducted at our office by Channel 13.                     1   company vehicle?
                     2       Q What knowledge of this case did Brent Jones           2         MS. GINAPP: I'm going to object to this line
                     3    talk about at the interview?                               3   of questioning as being outside the scope of the Rule
                     4          MS. GINAPP: I'll object. Outside the scope           4   30(b)(6) notice.
                     5    of the Rule 30(b)(6) deposition notice.                    5         THE WITNESS: I don't recall the specific
                     6          THE WITNESS: His belief of the reasoning why         6   date, but I believe it was a month or two after she had
                     7    it was filed and made sensationalized.                     7   started, somewhere in that range. But I could be
                     8    BY MS. BARRAZA:                                            8   wrong, but somewhere in the first half of her
                     9       Q Did Brent Jones do any other interviews, aside        9   employment.
                    10    from that Channel 13 interview you just mentioned,        10   BY MS. BARRAZA:
                    11    regarding this lawsuit?                                   11      Q Is it Real Water's position that Grecia's
                    12       A I'm sure he -- I can't speak specifically. I         12   accidents and her subsequent Workers' Compensation
                    13    don't know if he did or not. I can't recall if he did     13   claims had anything to do with her termination?
                    14    or not other than that one.                               14      A No. We actually adopted a new position for
                    15       Q Okay. Was that one -- would that be                  15   her because of her requests to not have to drive as
                    16    considered an interview on behalf of Real Water or on     16   much as she -- as the position entailed when she was
                    17    behalf of himself?                                        17   originally hired and agreed to. Originally, she was
                    18       A Both.                                                18   hired and agreed to the position of traveling out of
                    19       Q What about any other interviews he's                 19   town by means of car. And she, you know, after the
                    20    potentially done, would that be both on behalf of         20   accident, said she didn't want to do that anymore. And
                    21    himself and Real Water?                                   21   we said, "Okay, we will change the position structure
                    22       A I can't speak to those interviews because I          22   to meet your needs."
                    23    don't know the record of them.                            23      Q When did that change in Grecia's position take
                    24       Q Besides Brent Jones doing the Channel 13             24   place?
                    25    interview, have you personally done any interviews with   25      A Well, she got into the accident, and then she
                                                                    Page 194                                                       Page 196
                     1    the press regarding this lawsuit?                          1   had some time off, if I remember correctly, medical
                     2       A No.                                                   2   leave, what have you. And then when she came back to
                     3       Q What about any other individuals?                     3   work -- I think she was gone for -- I don't remember if
                     4       A Interviews?                                           4   it was two, four weeks, or something. I'm not sure.
                     5       Q Interviews, or anything of this sort that             5      Q Do you know approximately what month that
                     6    would be a communication with the press?                   6   would have been in 2015?
                     7       A No.                                                   7      A The first half of her employment, somewhere in
                     8       Q What about Bonnie Mercado?                            8   that range.
                     9       A She did, I believe -- oh, no -- we -- I don't         9      Q Okay. Is Real Water aware of any other kind
                    10    believe she did. I don't believe she did. We offered      10   of medical conditions whatsoever that Grecia had aside
                    11    Channel 13 if they wanted to interview her, and I don't   11   from any kind of injury she might have incurred?
                    12    think they did, if I remember correctly. At least, it     12      A Of course not. It's not a policy that we ask
                    13    wasn't aired.                                             13   people about their personal medical history.
                    14       Q Now, what knowledge does Real Water have, did        14      Q Now, does Real Water have a policy insofar as
                    15    Real Water have back in 2015, about Grecia's medical      15   talking to the media about an employee or a former
                    16    situation?                                                16   employee's medical condition?
                    17          MS. GINAPP: Objection. Form. Foundation.            17         MS. GINAPP: I'm going to object. Outside the
                    18          THE WITNESS: The only knowledge we have was         18   scope of the Rule 30(b)(6) deposition notice.
                    19    the results of, obviously, the accident that she got      19         THE WITNESS: Ask the question again.
                    20    herself into in a company vehicle twice; and then         20   BY MS. BARRAZA:
                    21    subsequent doctor's reports, et cetera, et cetera; and    21      Q Does Real Water have a policy about employees
                    22    the ongoing investigation to the validity of her          22   talking to the media about a former Real Water employee
                    23    continued condition with the Workers' Comp claim.         23   or a current Real Water employee's medical condition?
                    24    BY MS. BARRAZA:                                           24         MS. GINAPP: Same objection.
                    25       Q So when was her first accident with the              25         THE WITNESS: No, there's no written policy or

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                                                                    Page 197                                                       Page 199
                     1    procedure about an employee talking to the press about     1      A Actually, I take that back. There is one now
                     2    an ex-employee or current employee's medical history.      2   currently. At the time, no, but one now. Tony Hart is
                     3    BY MS. BARRAZA:                                            3   his name. He's a salesman in California.
                     4       Q Would that be considered appropriate behavior         4      Q We just talked about people responsible for
                     5    by Real Water?                                             5   ensuring employees follow policies and procedures
                     6           MS. GINAPP: Objection. Calls for                    6   regarding religious discrimination. What steps does
                     7    speculation.                                               7   Real Water take as a company to ensure that those
                     8           THE WITNESS: Not necessarily, no. I mean, I         8   policies and procedures are being followed? Is there
                     9    think it would kind of depend on the medical problem,      9   any kind of special training courses that take place?
                    10    or what have you. But I don't see how that ever really    10      A They're educated as far as the policy and
                    11    come up very much. I mean, we're not a huge company       11   procedure of handling any instance where they feel
                    12    that people want to know why the CEO -- whatever -- you   12   they're religiously discriminated against when they
                    13    know what I mean? But, generally, no, it's not            13   review and sign their employment agreement. It's very
                    14    something that, you know, we would go talking about to    14   clear on the procedure. And then we have in the past
                    15    individuals about someone's personal information or       15   had our human resources individuals do seminars, or
                    16    history.                                                  16   different types of things, in not just specifically
                    17    BY MS. BARRAZA:                                           17   religious discrimination, but HR topics in general,
                    18       Q All right. Is it Real Water's position that          18   which I'm sure religious discrimination is one that has
                    19    all of the policies and procedures regarding religious    19   come up, as well as sexual, and racial, and all the
                    20    discrimination were properly followed in this case?       20   other types.
                    21       A As far as I can see, yes, because there was          21      Q Are there any kind of group training
                    22    never an official complaint per the policy and            22   activities that take place?
                    23    procedure that Grecia said she would follow, and if she   23      A We've done some, not as, like, a standard,
                    24    was to encounter any sort of discrimination, religious    24   like, we do this every year at this date. But we've
                    25    or other kind. And, you know, so we weren't aware of      25   done some. I've administered some. And it kind of
                                                                    Page 198                                                       Page 200
                      1   any of these feelings if she had them at the time,         1   just depends, you know, if there's a trouble area, if
                      2   until now.                                                 2   we have some people complaining about a certain aspect,
                      3      Q Who was responsible in 2015 for ensuring that         3   not religious discrimination specifically, but, you
                      4   employees follow all the policies and procedures as it     4   know, people not getting along, or people saying
                      5   relates to religious discrimination?                       5   they're not getting along with this person, or
                      6      A The first line would be the individual                6   whatever. You know, I've pulled some people aside in a
                      7   employees themselves, of course. And then the next         7   given area and say, "Hey, look, you know, we're all on
                      8   person that would potentially get involved would be        8   the same team" -- et cetera, et cetera -- "We need to
                      9   their seniors of that specific employee in a specific      9   all get along and treat each other with respect." So
                     10   instance, or human resources division. And then           10   we've done that time and time as needed when a
                     11   ultimately, you know, it flows up the corporate           11   situation arises.
                     12   structure from there.                                     12      Q Can you think of a specific instance of
                     13      Q Would it go all the way to the top, to Brent         13   training involving religious discrimination
                     14   Jones?                                                    14   specifically from 2015?
                     15      A Of course, because it encompasses the entire         15      A No --
                     16   company. And it's everybody's responsibility to make      16      Q Okay.
                     17   sure that they're not discriminating or being             17      A -- not of the one we discussed, other than the
                     18   discriminated against.                                    18   training that goes involved with the procedure that
                     19      Q How many employees did Real Water have? Would        19   they acknowledge to follow in the employment agreement.
                     20   you say it was less than 50 in 2015?                      20      Q Now, in addition to the employment agreement,
                     21      A Yes.                                                 21   is there also an employee handbook?
                     22      Q Does that include -- are there any employees         22      A Yes.
                     23   outside of Las Vegas, Nevada?                             23      Q Is that also given out and reviewed upon hire?
                     24      A No, not at Affinitylifestyles.com, Inc.              24      A Yes.
                     25      Q Okay.                                                25      Q Are employees given a copy of that employee

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                     1    handbook?                                                 1      A "Reports."
                     2       A Yes.                                                 2      Q So it's Real Water's contention that the word
                     3       Q For them to keep for their own records?              3   "reports" necessarily means that it needs to be in
                     4       A If they wish to keep it, yes.                        4   writing?
                     5       Q Okay.                                                5      A I think generally. But there is obviously a
                     6       A More often, people don't really care, and they       6   bit of ambiguity to that term that it could be verbal.
                     7    throw it away, unfortunately. But I can't force people    7   But that's why we explain it more -- better in the
                     8    to do something that they don't want to do.               8   employment agreement.
                     9          MS. BARRAZA: Let's mark this last exhibit.          9      Q So if a Real Water employee were to give a
                    10                 (Exhibit 13 marked)                         10   verbal complaint to a manager, that manager would still
                    11    BY MS. BARRAZA:                                          11   be required to respond to that; right?
                    12       Q I have just handed you certain pages from what      12      A Absolutely.
                    13    has been produced by Real Water as the employee          13      Q They wouldn't say, "Well, you didn't put this
                    14    handbook.                                                14   in writing, so I'm not going to even address this"?
                    15       A Uh-huh.                                             15      A No.
                    16       Q Okay. Let go to page RW-127.                        16      Q Okay.
                    17       A Okay.                                               17      A If it was egregious enough, and if the person
                    18       Q You'll see there's Section 3.1 on                   18   was upset enough, they would probably be encouraged to
                    19    non-discrimination. Am I correct that it does mention    19   put it in writing so it could actually be acted upon.
                    20    religion in here?                                        20   Because, you know, when things are brought up casually
                    21       A I see "religion" in the paragraph; correct.         21   in a verbal setting, it's not always organized,
                    22       Q Now, there's no mention in this section about       22   remembered, thought of, taken care of to the best of a
                    23    L. Ron Hubbard and his teachings; is that correct?       23   person's ability, or what have you. So that's the
                    24       A In this specific section right here, I do not       24   whole purpose of having it in writing, so we have, you
                    25    see it, no --                                            25   know, proof that people are going to be held
                                                                   Page 202                                                       Page 204
                     1       Q   Okay.                                              1   accountable to make sure that something is investigated
                     2       A   -- because --                                      2   properly and resolved.
                     3          MS. GINAPP: Just answer the question she            3      Q Now, what is Real Water's knowledge of any
                     4    asked.                                                    4   prior claims of religious discrimination that has been
                     5          THE WITNESS: Yeah.                                  5   made against Real Water?
                     6    BY MS. BARRAZA:                                           6      A Can you define "claim"? Because that could be
                     7       Q If I told you that Real Water has not produced       7   someone saying something, it could be something filed
                     8    a signed version of the employee handbook signed by       8   like this.
                     9    Grecia, would that be out of the ordinary?                9      Q Okay. Let's just say any kind of complaint at
                    10       A No.                                                 10   all, even if it's not a formal lawsuit, any kind of
                    11       Q Do employees have to sign off on the employee       11   complaint that was made about religious discrimination
                    12    handbook?                                                12   taking place at Real Water.
                    13       A No.                                                 13      A I'm not aware of one.
                    14       Q Are they just given a copy for their own            14      Q Okay. Is Real Water aware of any other former
                    15    records?                                                 15   lawsuits?
                    16       A Yes.                                                16      A There's, you know, been threats made by other
                    17       Q Looking at this section on non-discrimination,      17   people and demands for payment.
                    18    if you look at the last paragraph, it says:              18      Q Who else has made threats to Real Water?
                    19          "Employees with questions or concerns about        19      A Lisa Marie Bailey and Matthew Nappi.
                    20    discrimination in the workplace are to bring these       20      Q Is Real Water aware of any kind of religious
                    21    issues to the attention of the personnel department.     21   discrimination that took place regarding those two
                    22    Employees can raise concerns and make reports without    22   individuals?
                    23    fear of reprisal."                                       23          MS. GINAPP: I'm going to just enter an
                    24          Now, where in there does it clarify that these     24   objection right now that, of course, we can't stop you
                    25    concerns need to be raised in writing?                   25   from asking questions about those lawsuits. But please

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                     1    be aware that, to the extent that you ask in-depth         1   procedure of what someone does and goes through to hire
                     2    questions about it, we will seek a protective order        2   an employee -- it's in the paperwork, and then
                     3    against further questioning of my client regarding         3   obviously the videos. So it's not proposed to the
                     4    those matters and subsequent litigation.                   4   individual as, "Here's this video, you have the option
                     5          THE WITNESS: I'm not aware of any claims,            5   to watch it or not." It's, "Okay, the next thing we're
                     6    written or verbal, brought up at the time of those two     6   going to do is we're going to watch these videos." And
                     7    employees' employment.                                     7   they sit down, and they watch them, or they -- if they
                     8    BY MS. BARRAZA:                                            8   really have an issue -- which I can't recall a time
                     9       Q What about besides Lisa Marie Bailey and              9   that anybody ever has -- they say, "No, I don't want to
                    10    Matthew Nappi, anybody else make any threats to           10   watch this, I really don't want to watch this," okay,
                    11    Real Water?                                               11   then it's not going to -- we're not going to force them
                    12       A I'm not aware of it.                                 12   into the chair and hold their eyelids open to watch the
                    13       Q What about subsequent to Grecia's termination,       13   video.
                    14    have there been any subsequent complaints about           14      Q Then why hasn't Real Water ever put anything
                    15    religious discrimination at Real Water?                   15   in writing, you know, telling the employees, "Hey,
                    16       A Nothing that we haven't already addressed.           16   these orientation videos aren't required, required,"
                    17       Q Now, that employee handbook we've been looking       17   meaning you're not going to get fired if you don't want
                    18    at --                                                     18   to do these videos?
                    19          MS. GINAPP: Exhibit 13?                             19         MS. GINAPP: Objection. Argumentative.
                    20    BY MS. BARRAZA:                                           20         THE WITNESS: It's never been an issue. No
                    21       Q -- Exhibit 13, has that been given to ADP?           21   one has ever objected to it.
                    22    Are they aware of that employee handbook?                 22   BY MS. BARRAZA:
                    23       A I believe so, yes.                                   23      Q Okay. After we go off the record after your
                    24       Q Okay. Did ADP ever provide any kind of               24   counsel has gone over any of her questions, I'm going
                    25    feedback, or want Real Water to make any kind of          25   to ask you to provide --

                                                                   Page 206                                                       Page 208
                      1   changes to its employee handbook?                          1         THE WITNESS: Now I have to answer your
                      2      A There was -- obviously, something like this           2   questions?
                      3   can go through revisions as laws change, state and         3   BY MS. BARRAZA:
                      4   federal. You know, we do live in a fluid society in        4     Q -- I'm going to ask you to provide me with the
                      5   that regard, so there are revisions that are made.         5   contact information you have in your phone for Melissa
                      6   This specific exact one, I can't tell you if there's       6   Nava, Christian Pantelakis, and Clare LaHara.
                      7   ever been any changes made without going through and       7         MS. GINAPP: I'm sorry. Did you testify that
                      8   reviewing, you know, all of them.                          8   you have their information in your phone?
                      9      Q Okay.                                                 9         THE WITNESS: I don't think I do, no.
                     10      A But I do know that this was, you know, sent          10   BY MS. BARRAZA:
                     11   over to ADP TotalSource, and I'm sure they reviewed it.   11     Q Okay. You do have their contact information?
                     12   And nothing is perfect, so I'm sure they had some         12     A I have what was on file when they were
                     13   suggestions on certain things, or what have you. But      13   employed.
                     14   for the most part, there was nothing that bad with it,    14     Q Okay. So I'll ask you to look through that
                     15   if I remember correctly.                                  15   and produce that information to us in our discovery
                     16      Q Let me just make sure, as we're beginning to         16   process.
                     17   wrap up, is there anything that we've covered that you    17         MS. BARRAZA: I'll pass the witness.
                     18   think you need to clarify for the record?                 18         MS. GINAPP: Okay. Would you mark that?
                     19      A The only thing, which we kind of already             19              (Exhibit 14 marked)
                     20   touched on it a bit, but we can just go over it again,    20                 EXAMINATION
                     21   is, the requirement or option to view the videos. You     21   BY MS. GINAPP:
                     22   know, my definition of "require" would mean that if a     22     Q Will you please take a look at what has been
                     23   person doesn't choose to watch the videos, then they're   23   marked as Exhibit 14? When you're ready to answers
                     24   fired immediately. We don't do that. If -- again,         24   questions about it, let me know.
                     25   it's in the hiring checklist as a step-by-step            25     A Okay.

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                      1      Q Okay. Do you recognize this document?                1    A Yeah, exactly, at least part of it because
                      2      A Yes.                                                 2 it's not full.
                      3      Q What do you recognize it to be?                      3       MS. GINAPP: Okay. Those are all the
                      4      A The Basic Study Manual Course check sheet and        4 questions I have.
                      5   pages to write the answers to the different questions,    5       MS. BARRAZA: I don't have anything.
                      6   and what have you, throughout the course, and the one     6 (Thereupon, the deposition concluded at 5:00 p.m.)
                      7   that we use at Real Water.                                7
                      8      Q The one that you use at Real Water?                  8
                      9      A Yes.                                                 9
                     10      Q The one that you use with your employees for        10
                     11   the coursework?                                          11
                     12      A Correct.                                            12
                     13      Q How do you know that this document is that?         13
                     14      A Because it's been secularized. There's no           14
                     15   mention of Scientology. There's none of that.            15
                     16      Q Are you familiar with the copy that you use --      16
                     17      A Yes.                                                17
                     18      Q -- that Real Water uses?                            18
                     19      A Yes.                                                19
                     20      Q Is this a copy of that document that                20
                     21   Real Water uses for its employees?                       21
                     22      A Yes.                                                22
                     23      Q Is it a complete copy of that document that         23
                     24   Real Water uses for its employees?                       24
                     25      A Seems to be.                                        25
                                                                   Page 210                                                      Page 212
                      1      Q What do you base that belief upon?                   1              CERTIFICATE OF WITNESS
                      2      A It's got the check sheet form. It's got all          2   PAGE LINE CHANGE                              REASON
                      3   these other pages for the essays, and that type of        3   _______________________________________________________
                      4   thing. And then it has the final essay question at the    4   _______________________________________________________
                                                                                    5   _______________________________________________________
                      5   end, which is the one I generally look at when I'm
                                                                                    6   _______________________________________________________
                      6   reviewing these types of courses.
                                                                                    7   _______________________________________________________
                      7      Q All right. That's all the questions I have on        8   _______________________________________________________
                      8   that.                                                     9   _______________________________________________________
                      9         Real quick, regarding handbooks, was               10   _______________________________________________________
                     10   Real Water provided with a handbook from ADP?            11   _______________________________________________________
                     11      A They gave us some suggestions and things to be      12   _______________________________________________________
                     12   able to, you know, have an adequate handbook. And we     13   _______________________________________________________
                     13   together came up with the final version of it. But       14   _______________________________________________________
                     14   they did provide us with, you know, one that they kind   15   _______________________________________________________
                     15   of used as a template for other companies, and that      16   _______________________________________________________
                     16   type of thing.                                           17   _______________________________________________________
                                                                                   18                   *****
                     17      Q Have you ever used it -- handed out that
                                                                                   19             I, BLAIN JONES, witness herein, do
                     18   handbook to your employees?
                                                                                        hereby certify and declare under penalty of perjury the
                     19      A The final version that we kind of together
                                                                                   20   within and foregoing transcription to be my deposition
                     20   came to consensus of, yes.                                    in said action; that I have read, corrected and do
                     21      Q Is Exhibit 13 at least portions of the final        21   hereby affix my signature to said deposition.
                     22   version that you handed out?                             22
                     23      A Yeah, it looks like it's at least some of it.       23   ___________________________________________
                     24   Again, I don't know these handbooks word-for-word.       24           BLAIN JONES DATE
                     25      Q Okay. But it looks like the one that you --         25


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                      1               CERTIFICATE OF REPORTER
                      2   STATE OF NEVADA )
                                       ) ss:
                      3   COUNTY OF CLARK )
                      4              I, Mary Cox Daniel, a Certified Court
                          Reporter licensed by the State of Nevada, do hereby
                      5   certify:
                      6              That I reported the deposition of BLAIN
                          JONES, commencing on Thursday, October 20, 2016, at
                      7   9:58 a.m.
                      8              That prior to being examined, the
                          witness first duly swore or affirmed to testify to the
                      9   truth, the whole truth, and nothing but the truth; that
                          I thereafter transcribed my said shorthand notes into
                     10   typewriting and that the typewritten transcript is a
                          complete, true and accurate record of testimony
                     11   provided by the witness at said time.
                     12              I further certify (1) that I am not a
                          relative or employee of an attorney or counsel of any
                     13   of the parties, nor a relative or employee of any
                          attorney or counsel involved in said action, nor a
                     14   person financially interested in the action, and (2)
                          that pursuant to Rule 30(e), transcript review by the
                     15   witness was requested.
                     16              IN WITNESS WHEREOF, I have hereunto set
                          my hand in my office in the County of Clark, State of
                     17   Nevada, this 26th day of October, 2016.
                     18
                     19       _____________________________________________
                     20         MARY COX DANIEL, CCR 710, FAPR, RDR, CRR
                     21
                     22
                     23
                     24
                     25




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